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              EXHIBIT 5
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                            UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA




IN RE: ROUNDUP PRODUCTS                       MDL No. 2741
LIABILITY LITIGATION                          Case No. 16-md-02741-VC


This document relates to:
ALL ACTIONS




               EXPERT REPORT OF DR. CHRISTOPHER J. PORTIER

                       IN SUPPORT OF GENERAL CAUSATION

                              ON BEHALF OF PLAINTIFFS
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                                    Expert Report
                             Christopher J. Portier, Ph.D.


Charge
Glyphosate acid is a colorless, odorless, crystalline solid. Glyphosate is the term used to
describe the salt that is formulated by combining the deprotonated glyphosate acid and
a cation (isopropylamine, ammonium, or sodium). This expert report is intended to
review the available scientific evidence relating to the potential of glyphosate and
glyphosate-based formulations (GBFs), including Roundup®, to cause Non-Hodgkin’s
Lymphoma (NHL) in humans.

Qualifications
I received an undergraduate degree in mathematics in 1977 from Nicholls State
University and a Master’s degree and Ph.D. in biostatistics from the University of North
Carolina School of Public Health in 1979 and 1981 respectively. My Ph.D. thesis
addressed the optimal way to design a two-year rodent carcinogenicity study to assess
the ability of a chemical to cause cancer[1, 2]; the optimal dosing pattern from my thesis
is still used by most researchers. My first employment following my doctoral degree
was a joint appointment at the National Institute of Environmental Health Sciences
(NIEHS) and the National Toxicology Program (NTP) to conduct research on the design
and analysis of experiments generally employed in toxicology. After 5 years with
NIEHS/NTP, I developed my own research group which eventually became the
Laboratory of Quantitative and Computational Biology and then the Laboratory of
Computational Biology and Risk Assessment (LCBRA). One highlight during this period
was the development of the Poly-3 Test for survival adjustment of data from two-year
carcinogenicity studies in rodents[3, 4]; this test is used as the main method of analysis of
these studies by the NTP and many others. We also did a complete analysis of the
historical controls animals from the NTP studies[5, 6]. The LCBRA focused on the
application of computational tools to identify chemicals that are toxic to humans, to
develop tools for understanding the mechanisms underlying those toxicities and to
quantify the risks to humans associated with these toxicities. The main toxicological
focus of the LCBRA was cancer and my laboratory developed many methods for applying
multistage models to animal cancer data and implemented the use of these models in
several experimental settings[7-19]. In my last few years at the NIEHS/NTP, my research
focus expanded to the development of tools for evaluating the response of complex
experimental and human systems to chemicals[20-24] and the name of the laboratory
shifted to Environmental Systems Biology.
Over my 32 years with the NIEHS/NTP, I was involved in numerous national priority
issues that went beyond my individual research activities. After Congress asked NIEHS
to work with the Vietnamese government to address the hazards associated with Agent
Orange use during the Vietnamese War, I was given the responsibility of working with
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my counterparts in Vietnam to build a research program in this area[25]. Congress also
tasked NIEHS with developing a research program (EMF-RAPID) to address concerns
about the risks to humans from exposure to power lines and to report back to Congress
on what we found. I was in charge of evaluating all research developed under this
program and was responsible for the final recommendations to Congress on this issue[26-
28]
    .
While at the NIEHS/NTP, I also had administrative positions that relate to my
qualifications. From 2000 to 2006 I was the Director of the Environmental Toxicology
Program (ETP) at NIEHS. The ETP included all of the toxicology research laboratories
within the NIEHS Intramural Research Program. It was my responsibility to ensure the
research being done was pertinent to the mission of the NIEHS, addressing high priority
concerns about toxic substances and human health and that the NIEHS had adequate
resources to complete this research.
During this time I was also Associate Director of the NTP, a position in which I was the
scientific and administrative director of the NTP (The Director of the NTP was also the
NIEHS Director and gave me complete autonomy in the management and science of the
NTP). These two positions were historically always combined at the NIEHS and the NTP
so that one person was in charge of all toxicological research at the NIEHS/NTP. The
NTP is the world’s largest toxicology program, routinely having 15 to 25 active two-year
carcinogenicity studies, numerous genetic toxicology studies and many other
toxicological studies being conducted at any given time. The NTP two-year
carcinogenicity studies and their technical reports are also considered the “gold
standard” of cancer studies due to their extreme high quality, their tremendous utility in
evaluating human health hazards and the rigor and transparency they bring to the
evaluation of the data. All data from NTP two-year cancer studies are publicly available
including data on individual animals and images from the pathology review of each
animal. The NTP is also home to the Report on Carcinogens, the US Department of
Health and Human Services official list of what is known or reasonably anticipated to be
carcinogenic to humans. It was my responsibility to decide what items eventually went
onto this list while I was Associate Director of the NTP. In 2006, I became an Associate
Director of the NIEHS, a senior advisor to the director and the director of the Office of
Risk Assessment Research (ORAR). ORAR focused on stimulating new research areas on
the evaluation of health risks from the environment and addressed major risk
assessment issues on behalf of the NIEHS/NTP. For example, in this capacity, I lead a
multiagency effort to understand the health risks to humans from climate change and to
develop a research program in this area[29].
I left the NIEHS/NTP in 2010 to become the Director of the National Center for
Environmental Health (NCEH) at the Centers for Disease Control and Prevention and
simultaneously Director of the Agency for Toxic Substances and Disease Registry
(ATSDR). NCEH does research and supports activities aimed at reducing the impact of
environmental hazards on public health. One well-respected research effort of the
NCEH is the National Biomonitoring Program. This program tests for the presence of
hundreds of chemicals in human blood and urine in a national sample of people in the


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United States. ATSDR advices the Environmental Protection Agency (EPA) and
communities on the potential health impacts from toxic waste dump sites (superfund
sites). ATSDR is required by law to produce ToxProfiles. These are comprehensive
reviews of the scientific literature for specific chemicals generally found at superfund
sites. They also provide an assessment of the safety of these chemicals. As part of my
activities at ATSDR, I began a modernization of the ToxProfiles to use systematic review
methods in their assessments; this effort was linked to a similar effort that I had helped
to implement at the NIEHS/NTP.
Aside from my official duties in my various federal jobs, I also served on numerous
national and international science advisory panels. Most notable, for my qualifications
for this statement, are my serving as Chair from 2005 to 2010 of the Subcommittee on
Toxics and Risk of the President’s National Science and Technology Council, member and
chair of EPA’S Science Advisory Panel from 1998 to 2003 (focused specifically on
advising their pesticides program) and chair of the International Agency for Research on
Cancer (IARC) advisory group that updated and improved its rules for reviewing
scientific data to ensure that conclusions on the carcinogenicity of human exposures are
the best possible (Preamble)[30]. As part of my work on science advisory panels, I have
served on EPA’s Science Advisory Board, as an advisor to the Australian Health Council
on risk assessment methods, as an advisor to the Korean Food and Drug Administration
on toxicological methods, and served on several World Health Organization (WHO)
International Program on Chemical Safety scientific panels dealing with risk assessment.
Besides the guidelines for evaluating cancer hazards used by the IARC, I have either
chaired or served as a member of scientific panels developing guidance documents for
other organizations including the EPA.
 I have received numerous awards, most notably the Outstanding Practitioner Award
from the International Society for Risk Analysis and the Paper of the Year Award (twice)
from the Society of Toxicology Risk Assessment Specialty Section. I am a fellow of the
American Statistical Association, the International Statistical Institute, the World
Innovation Foundation and the Ramazinni Institute. I have published over 250 peer-
reviewed scientific papers, book chapters and technical documents on topics in
toxicology and risk assessment.
Finally, I have served on numerous national and international committees tasked with
evaluating the risk and/or hazard of specific environmental chemicals, including
glyphosate. For example, I have contributed to risk assessments for EPA, the Food and
Drug Administration, the Centers for Disease Control and Prevention, the National
Institutes of Health, the WHO and IARC.

Reliance List
During the course of my preparation for this report, I have reviewed the following
materials:
          a. All epidemiological data relating to the ability of glyphosate formulations
             to cause NHL in humans.


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          b. Scientific papers on the cellular origins of NHL
          c. Peer-reviewed scientific data relating to the carcinogenicity, genotoxicity
             and oxidative stress caused by glyphosate
          d. Technical reports relating to the carcinogenicity of glyphosate provided by
             the defendant to the lawyers for the plaintiff
          e. The USEPA, the European Food Safety Authority (EFSA), the German
             Federal Institute for Risk Assessment, the European Chemical Agency, the
             IARC and the WHO/Food and Agriculture Organization Joint Meeting on
             Pesticide Residues reviews of the scientific literature relating to the
             potential for glyphosate to cause cancer.
          f. Technical documents available from EFSA regarding animal carcinogenicity
             data on glyphosate prepared by organizations other than the defendant
          g. Various other documents produced in the litigation

A complete list of my reliance materials is at the end of this report.

Methodology for Causality Evaluation
The evaluation of whether glyphosate and/or GBFs can cause NHL in humans requires
the review and synthesis of scientific evidence from studies of human populations
(epidemiology), animal cancer studies, and studies investigating the mechanisms
through which chemicals cause cancer. Many different approaches[31, 32] are used to
synthesize these three areas of science to answer the question “Does this chemical
cause cancer in humans?” In any of these three science areas, the quality of the
individual studies has to be assessed and summarized to make certain the studies
included in the overall assessment are done appropriately. Once the quality of the
individual studies has been assessed, a judgment needs to be made concerning the
degree to which the studies support a finding of cancer in humans. To do this, the EPA,
IARC, the European Chemical Agency (EChA), the US Report on Carcinogens, and many
others use guidelines[30, 33-35] that rely upon aspects of the criteria for causality
developed by Hill (1965)[36].
Hill listed nine (9) aspects of epidemiological studies and the related science that one
should consider in assessing causality. The presence or absence of any of these aspects
is neither sufficient nor necessary for drawing inferences of causality. Instead, the nine
aspects serve as means to answer the question of whether other explanations are more
credible than a causal inference. As noted by Hill:

          “None of my nine viewpoints can bring indisputable evidence for or
         against the cause-and-effect hypothesis and none can be required as a
           sine qua non. What they can do, with greater or less strength, is to
         help us to make up our minds on the fundamental question — is there
           any other way of explaining the set of facts before us, is there any
              other answer equally, or more, likely than cause and effect?”
The nine aspects cited by Hill include consistency of the observed association, strength


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of the observed association, biological plausibility, biological gradient, temporal
relationship of the observed association, specificity of the observed association,
coherence, evidence from human experimentation and analogy. These are briefly
described below.
An inference of causality is strengthened when several of the studies show a consistent
positive association between cancer and the exposure. This addresses the key issue of
replication of studies which is critical in most scientific debates. If studies are
discordant, differences in study quality, potential confounding, potential bias and
statistical power are considered to better understand that discordance.
An inference of causality is strengthened when the strength of the observed association
in several studies are large and precise. These large, precise associations lessen the
possibility that the observed associations are due to chance or bias. A small increase in
risk of getting cancer does not preclude a causal inference since issues such as potency
and exposure level may reduce the ability of a study to identify larger risks. Meta-
analyses provide an objective evaluation of the strength of the observed association
across several studies with modest risks to help clarify strength of the observed
associations.
An inference of causality is strengthened when there is data supporting biological
plausibility demonstrated through experimental evidence. Animal carcinogenicity
studies, in which tumor incidence is evaluated in experimental animals exposed to pure
glyphosate, play a major role in establishing biological plausibility. There are numerous
types of mechanisms that can lead to cancer[37], most of which can be demonstrated
through experimental studies in animals, human cells, animal cells, and/or other
experimental systems. Occasionally, occupational, accidental or unintended exposures
to humans allow researchers to evaluate mechanisms using direct human evidence.
An inference of causality is strengthened when there is a biological gradient showing a
reasonable pattern of changing risk with changes in exposure (e.g. risk increases with
increasing exposure or with longer exposure). In many epidemiological studies, this
aspect cannot be examined due to limitations in the study design or due to a lack of
clarity in the presentation of the results. When a study does address an exposure-
response relationship, failure to find a relationship can be due to a small range of
exposures, insufficient sample size or a changing exposure magnitude over time that has
not been accounted for.
An inference of causality is strengthened when there is a temporal relationship in which
the exposure comes before the cancer. This aspect is necessary to show causality; if it is
not present, a causal inference is not plausible. Because the latency period for cancers
can be long (years), evaluation of studies should consider whether the exposure
occurred sufficiently long ago to be associated with cancer development.
An inference of causality is strengthened when the exposure is specific for a given
cancer. This would mean that the disease endpoint being studied is only due to the
cause being assessed. This issue is seldom applicable and, since NHL has other causes,
specificity is not applicable to the determination of causality for glyphosate.


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An inference of causality is strengthened when other lines of experimental evidence are
coherent with a causal interpretation of the association seen in the epidemiological
evidence. To evaluate coherence, information from animal carcinogenicity studies,
mechanistic investigations and information on the metabolism of the chemical being
studied would be considered.
An inference of causality is strengthened when there is experimental evidence in
humans supporting a causal interpretation. Seldom is this type of information available
when addressing the toxicity of chemicals. However, experiments in which an individual
reduces or limits exposures and the risk of cancer is reduced would carry considerable
weight in the evaluation (e.g. studies evaluating the cancer risks of people who stop
cigarette smoking compared with continuing smoking have demonstrated reduced lung
cancer risks). No such data are available for glyphosate.
Finally, an inference of causality is strengthened when there are other chemical agents
with analogous structures showing similar effects in humans and/or animals and/or
showing similar biological impacts in mechanistic studies. No such data are available for
glyphosate.
The most logical approach to developing an inference of causality is to step through
each of the aspects of causality developed by Hill (1965)[36] and apply them to the
available data for glyphosate and for glyphosate formulations. This is done in the
sections that follow.

Consistency of the Associations seen in Human Epidemiological
Studies
Relevant Epidemiology Studies
In their meta-analysis, Chang and Delzell (2016)[38] performed a systematic literature
search of all scientific literature up to June, 2015, to identify all epidemiological studies
that were pertinent to evaluating an association between glyphosate and NHL. They
identified 12 relevant epidemiology studies[39-50]. Their search agrees with all current
reviews of glyphosate and I will use their findings from the literature up until 2015. To
cover from June 2015 to the present (April 1, 2017), I used their searching algorithm and
identified 117 additional published studies, none of which were new epidemiology
studies. These same 12 studies will be considered for use in this evaluation. Other
experts will be discussing the studies as well as their strengths and their weaknesses; I
will focus on using the results of these studies in evaluating causality so I will only briefly
describe each study.
Cantor et al. (1992)[39] did an in-person interview study comparing 622 white men,
newly diagnosed with NHL, to 1245 population-based controls in Iowa and Minnesota.
They originally identified 780 cases, of which 694 (89%) were interviewed. After
pathology review, only 622 were found to have NHL, the remaining cases having
leukemia or other diseases. Three different sources of controls were used, random digit
dialing (76.7% response rate), Health Care Financing Administration rolls (79% response


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rate) and deceased controls with eligible proxies (77% response rate). Both cases and
controls were questioned regarding their use of agricultural products including
Roundup® and any other glyphosate-based formulations. For deceased or incompetent
controls (184) and cases (number not given), proxy interviews were done with a close
relative. When cases in farmers were compared to cases in non-farmer controls, 26
cases (out of 266) and 49 controls (out of 547) had handled herbicides containing
glyphosate yielding an odds ratio1 (OR) of 1.1 (95% confidence interval 0.7-1.9). This
analysis controlled for vital status, age, state, cigarette smoking status, family history of
lymphopoietic cancer, high-risk occupations and high-risk exposures in a logistic
analysis. The authors noted there was “minimal evidence for confounding of results for
any single pesticide by exposure to pesticides belonging to other chemical families.”
Because the exposure is determined based on interviews in cases and controls, this
study has the potential for recall bias2. However, the authors note that the bias could
both increase or decrease the OR because of non-differential exposure misclassification3
because of difficulties in accurate recall of past pesticide exposures for both controls
and treated individuals. This study will not be included separately into the evaluation
since it overlaps with De Roos et al. (2003)[43]
Two additional studies conducted by Zahm et al. (1990)[51] in Nebraska and Hoar et al.
(1986)[52] in Kansas collected information on pesticide and herbicide use, but did not
report specifically on the effects of glyphosate. De Roos et al. (2003)[43] pooled the data
from these two studies with the data from Cantor et al. (1992)[39] to examine pesticide
exposure to glyphosate in farming as risk factors for NHL. The three case-control
studies[39, 51, 52] had slightly different designs. The design for the Minnesota study[39] is

1
  The odds ratio (OR) is calculated as the proportion of exposed cases with disease to
exposed controls divided by the proportion of non-exposed cases to non-exposed
controls. For rare diseases, this value approximates the population risk ratio (PRR)
which is the probability of having the disease in exposed individuals divided by the
probability of having the disease in non-exposed individuals. If the PRR is 1, then there is
no difference in the probability of having the disease regardless of your exposure.
Values of PRR greater than 1 imply the risk is higher in the exposed population. Because
the OR is an estimate of the PRR for rare diseases, it is usually accompanied by a 95%
confidence interval that describes the probable range of the estimate. If the OR is
greater than 1, then the exposure is associated with the disease. If the lower 95%
confidence bound for the OR is greater than 1, this is typically used to say the
association is statistically significant.
2
  Recall bias occurs when cases are more likely to say they are exposed to glyphosate
than controls or when controls are more likely to say they are exposed to glyphosate
than cases. The recall must be different for the cases than the controls for this to cause
a bias; errors in recalling past exposures that happen for both cases and controls would
not be recall bias.
3
  Non-differential exposure misclassification occurs when the probability of an error in
determining whether an individual is exposed or not is the same for both cases and
controls.


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provided directly above. In Nebraska[51], the cases were identified through the Nebraska
Lymphoma Study Group and area hospitals for 66 counties and included all white men
and women diagnosed with NHL between July 1, 1983 and June 30, 1986. Controls were
obtained by random-digit dialing, Medicare records or state mortality files depending
upon age and vital status. All study participants were over age 21 and even though this
study included a few women, they were excluded from the De Roos et al. (2003)
analysis. The response rates for cases and controls were 91% and 87% respectively. In
Kansas[52], cases were randomly sampled from a registry at the University of Kansas of
white men, over age 21, diagnosed between 1979 and 1981. The response rates for
cases and controls were 96% and 94% respectively. Controls were population-based
matched on age and vital status. As for the Nebraska study, controls for live cases were
obtained from Medicare records for cases 65+ and by random-digit dialing for cases <65
years; controls for deceased patients came from state mortality records. The resulting
pooled case-control study had 870 cases and 2569 controls (for analyzing the
relationship between glyphosate and NHL, there were only 650 cases and 1933 controls
following exclusion of subjects with missing data). For any glyphosate exposure, there
were 36 exposed cases and 61 exposed controls with an OR (95% confidence interval) of
2.1 (1.1-4.0) in a logistic regression analysis controlling for all other pesticides reported,
age and study site. The authors also analyzed the data using a Bayesian hierarchical
regression analysis yielding an OR (95% confidence interval) of 1.6 (0.9-2.8) controlling
for the same parameters as the logistic regression. They also conducted an analysis of
“potentially carcinogenic” pesticides which included glyphosate. When just one of these
pesticides was used by subjects, the logistic regression OR was 1.6 (0.8-3.1), two to four
pesticides yielded an OR of 2.7 (0.7 to 10.8) and when more than five were used, the OR
was 25.9 (1.5-450.2) in the logistic regression analysis and 1.1 (0.8-1.7), 1.3 (0.7-2.3) and
2.0 (0.8-5.2) respectively for the Bayesian analysis. Removing glyphosate from the list of
“potentially carcinogenic” pesticides yielded equivalent ORs of 1.2 for one pesticide, 1.2
for two to four pesticides and 1.1 for five or more pesticides. The authors note that the
positive results seen in their study are not likely due to recall bias since there were few
associations seen over the 47 pesticides they studied. Also, although some of the
positive results could be due to chance, the use of the hierarchical regression analysis
theoretically decreases the chance of false positive findings. In the Kansas study[52],
suppliers for 110 subjects with farming experience were identified and provided
information on the subjects’ crops and pesticide purchases. In general, the suppliers
reported less pesticide use than the subjects of the study with no consistent differences
in agreement rates between cases and controls. The agreement between suppliers and
subjects improved when pesticide use during the last 10 years was considered. This
supports a reduced role of recall bias in these studies and a possible role of non-
differential exposure misclassification. The reduced ORs when using the Bayesian
analysis as compared to the logistic regression is not surprising because the authors
used a non-informative prior rather than a less conservative prior. In addition,
adjustment for 47 pesticides is also likely to reduce the significance of the observed ORs
for pesticides that are associated with NHL as demonstrated by the analysis of
“potentially carcinogenic” pesticides (this model is possibly over-parameterized since it



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includes over 47 dependent variables for only 36 exposed cases; this can significantly
reduce the ORs and increase the confidence bounds). This pooled case-control study is
the strongest study with sufficient power (3.8% of subjects exposed) and will be
included in the evaluation of causation.
Lee et al. (2004)[44] pooled data from Zahm et al. (1990)[51] and Cantor et al. (1992)[39]
(previously described) to evaluate whether asthma acts as an effect modifier of the
association between glyphosate exposure and NHL. Women were included in this
analysis whereas De Roos et al. (2003)[43] excluded women. The final study published by
Lee included 872 cases and 2336 controls of which 45 cases and 132 controls had been
told by their doctors they had asthma. The OR of association between glyphosate and
NHL in non-asthmatics was 1.4 (0.98-2.1) and 1.2 (0.4-3.3) in asthmatics when
controlling for age, vital status and state (geographical location). This study completely
overlaps with the study by De Roos et al. (2003)[43] with the exception of the inclusion of
the few women in the study by Zahm et al. (1990)[51]. Since this study only looks at
effect modification due to asthma, it does not contribute to the overall evaluation of
causality and it will be excluded from further evaluations.
Nordstrom et al. (1998)[40] conducted a population-based case-control study of hairy
cell leukemia (HCL); a subtype of B-cell NHL) in Sweden that included an evaluation of
exposures to glyphosate. The study included 111 men with NHL reported to the
Swedish Cancer Registry between 1987 and 1992 (with one patient from 1993
accidentally included). Controls (400 in total) were drawn from the National Population
Registry matched for age and county with the cases. The response rates were 91% for
cases (10 refused to participate out of the original 121) and 83% (84 controls refused to
participate out of 484 selected). Almost all questionnaires were answered by the
subject of the study (4 cases and 5 controls were answered by proxies). The study
reported an OR for glyphosate exposure and HCL of 3.1 (0.8-12) controlling only for age.
This study had very limited power for detecting an association because there were only
four cases and five controls with glyphosate exposure (1.8% of the total study
population). In addition, because they failed to adjust for other exposures, the potential
for confounding in this study is greater than those presented previously. The authors
noted that they attempted to minimize recall bias by only using living cases in the
analysis. Also, even though matching was performed to identify the controls, this
matching was not used in the final analysis. This study was later used in a pooled
analysis of HCL and NHL[42] and will not be considered independently in the evaluation
for causation but will be used in the context of the pooled analysis.
Hardell and Eriksson (1999)[41] conducted a population-based case-control study of all
male patients older than 25 years diagnosed with NHL between 1987 and 1990 in the
four most northern counties of Sweden. After excluding misdiagnosed cases, they
included 442 cases of which 404 answered their questionnaire (most by proxy) for a
response rate of 91%; 192 of these cases were deceased. For each living case, two male
matched controls were chosen from the National Population Registry and matched on
age and county. For each deceased case, two male controls were chosen from the
National Registry for Causes of Death, matched for age and year of death. The response


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rate for the controls was 84% (741 out of 884 identified). Study subjects were sent a
detailed questionnaire and, in most cases, this was supplemented with a phone
interview. A complete working history was obtained with questions regarding exposure
to numerous chemicals to avoid a focus on pesticides and organic solvents, the focus of
the study. Exposure was defined as at least one full day of exposure more than one year
before diagnosis. For glyphosate exposure, the authors identified four cases and three
controls with exposures and a univariate OR of 2.3 (0.4-13). A multivariate analysis of
both glyphosate and phenoxy herbicides produced an OR of 5.8 (0.6-54). The study has
limited power for detecting an effect because the exposure frequency is very low (0.6%
exposed). This study was later used in a pooled analysis of HCL and NHL[42] and will not
be considered independently in the evaluation for causation but will be used in the
context of the pooled analysis.

Hardell et al. (2002)[42] conducted a pooled analysis of NHL and HCL by combining the
studies of Nordstrom et al. (1998)[40] and Hardell and Eriksson (1999)[41]. This study fully
overlaps with the previous two studies. The analysis controlling for age, study, county
and vital status yielded an OR of 3.04 (1.08-8.52) based on eight exposed cases and
eight exposed controls. A more extensive analysis additionally controlled for other
pesticides and yielded a smaller OR of 1.85 (0.55-6.20). As for the study by De Roos et
al. (2003), the analysis may be over-parameterized (more than eight dependent
variables with only eight exposed cases) which could lead to a reduction in the ORs and
larger confidence bounds. Even with the pooled data, Hardell et al. (2002) had limited
power to detect an effect because the exposure frequency for cases and controls was
very low (1% exposed). This study is a valid case-control study and will be used in the
evaluation of causality.
In a later study, Eriksson et al. (2008)[46] conducted a population-based case-control
study where cases were identified as NHL patients aged 18-74 years diagnosed in four
major hospitals in Sweden from December 1, 1999 until April 30, 2002. In total, 995
cases were identified as matching the study parameters with 910 (91%) answering the
questionnaire shortly after diagnosis. All cases were classified into subgroups with 810
B-cell, 53 T-cell, and 38 unspecified lymphomas. Controls (1,108) were randomly
selected from the population registry and matched on health service, region, sex and
age and interviewed in several periods during the conduct of the study; 1,016 controls
responded to the questionnaire (92% response rate). Study subjects were sent a
detailed questionnaire and, in many cases, a phone interview followed. Exposure was
defined as at least one full day of exposure more than one year before diagnosis. The
univariate analysis, adjusting for age, sex and year of diagnosis (cases) or enrollment
(control) yielded an OR of 2.02 (1.10-3.71) based on 29 exposed cases and 18 exposed
controls. When cases and controls were divided into those with ≤10 days per year
exposure and those with >10 days per year exposure, the ORs were 1.69 (0.70-4.07) and
2.36 (1.04-5.37) respectively. When diagnoses were grouped into various subtypes of
NHL, the results did not change dramatically except for small lymphocytic lymphoma
and chronic lymphocytic lymphoma which showed an increased OR of 3.35 (1.42-7.89).
A multivariate analysis of glyphosate controlling for other agents with statistically


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increased odds ratios and/or odds ratios greater than 1.5 yielded an OR of 1.51 (0.77-
2.94). In a similar analysis to the multivariate analysis, latency periods of one to ten
years showed an OR of 1.11 (0.24-5.08) and >10 years had an OR of 2.26 (1.16-4.40).
This study was much larger than the previous Swedish studies (2.3% exposed) and,
although there may have been confounding from other pesticides, this was addressed in
the multivariate analysis and the latency analysis. This study is a valid case-control study
and will be used in the evaluation of causality.
McDuffie et al. (2001)[50] recruited incidence cases of NHL in men 19 years or older from
six Canadian provinces with a first diagnosis between September 1, 1991 and December
31, 1994. Each provincial Cancer Registry or, in the case of Quebec, hospital, had a
target number of cases and ended recruitment when the case number was reached.
Controls were men 19 years or older selected at random from provincial health
insurance records, computerized telephone listings or voter registration lists, depending
upon the province. Cases and controls were sent questionnaires with surrogates
ineligible to answer the questionnaires for deceased cases or controls. Each subject who
reported 10 hours per year or more of pesticide exposure and a random sample of 15%
who reported less exposure were interviewed by telephone to obtain details on
pesticide use. A pilot study was conducted to obtain an improved version of the
telephone interview questionnaire used by Hoar et al. (1986)[52] and Zahm et al.
(1990)[51] that would provide accurate pesticide exposure assessment in the form of a
screening questionnaire and a telephone interview questionnaire. This was followed by
a validation study (27 farmers) where the final questionnaires used to screen and
include potential cases and controls were administered and the answers regarding
pesticide usage showed excellent concordance with purchases through their local
agrochemical supplier. The screening questionnaire was returned by 517 cases of NHL
(67.1% response rate) and 1506 controls (48% response rate). Following analysis of the
screening questionnaire, the telephone interview was administered to 179 cases and
456 controls to obtain more detailed exposure information. The OR for glyphosate
exposure and NHL was 1.26 (0.87-1.80) stratified by age group and province of
residence and the OR was 1.20 (0.83-1.74) when the analysis also controlled for
significant medical variables (51 exposed cases and 133 exposed controls). An
exposure-response evaluation was performed where the OR for exposure between zero
to two days per year was 1.0 (0.63-1.57) and for greater than two days per year was
2.12 (1.20-3.73) with the latter group having 23 exposed cases and 36 exposed controls.
This study had excellent sample size and power (8.1% of subjects exposed), but a low
response rate to the screening questionnaire. Also, by adjusting for significant medical
variables, this study ruled out many confounders but did not adjust for other pesticide
exposures. The effort to validate the recall of pesticide usage for farmers supports a
lack of recall bias in the study. This study is a valid case-control study and will be used in
the evaluation of causality.
Hohenadel et al. (2011)[48] re-analyzed the data of McDuffie et al. (2001)[50] to
specifically investigate the impact of exposure to multiple pesticides on NHL. Four cases
of NHL were excluded from this evaluation following a pathology review. They reported
associations with the use of glyphosate with and without malathion but not with


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glyphosate overall. The OR for glyphosate (ever used) without malathion (ever used)
was 0.92 (0.54-1.55) and the OR for glyphosate (ever used) with malathion (ever used)
was 2.1 (1.31-3.37). Chang and Delzell (2016)[38] combined the ORs from the glyphosate
only analysis with the glyphosate and malathion analyses using random-effects meta-
analysis to get a combined OR for glyphosate of 1.4 (0.62-3.15). This study was
specifically targeted to interactions of various pesticides and does not substantively
contribute to an evaluation of glyphosate. Since it is a refined analysis of McDuffie et al.
(2001)[50], it will be included in the evaluation of causation only in the context of the
combined analysis provided by Chang and Delzell (2016).
Orsi et al. (2009)[47] conducted a hospital-based case-control study of men and women
diagnosed with lymphoid neoplasms in five hospitals in France between 2000 and 2004
who were aged 20-75 years (the abstract gives the age range as 18-75 years). All
diagnoses were cytologically or histologically confirmed. The evaluation only included
men and questionnaires/interviews were completed by 491 cases (95.7% response rate)
which included 244 cases with NHL. Controls were patients in the same hospital (mostly
orthopedic or rheumatological patients) with no prior history of lymphoid neoplasms
and excluding patients admitted to the hospital for cancer or a disease directly related
to occupation, smoking or alcohol abuse. The controls were matched to cases by
hospital and age. Of the 501 candidate controls, 456 participated (91% response).
Exposure was evaluated differently for subjects who had non-occupational exposures
from those who had occupational exposures. For both, the subjects had to fill out a
questionnaire/interview on occupations and home gardening pesticide exposures. For
those who had worked professionally as farmers or gardeners for at least 6 months, a
specific agricultural occupational questionnaire/interview was administered and
exposure was determined on the basis of this extra data. The OR for occupational use of
glyphosate and NHL was 1.0 (0.5-2.2) with 12 exposed cases and 24 exposed controls
stratified by age and center category. A further analysis was done by individual
subtypes of NHL with an OR of 1.0 (0.3-2.7) for diffuse large cell lymphoma, 1.4 (0.4-5.2)
for follicular lymphoma, 0.4 (0.1-1.8) for chronic lymphocytic leukemia (CLL) and 1.8
(0.3-9.3) for HCL. No separate analysis of non-occupational use of glyphosate was
provided, nor does it seem specific data on glyphosate usage was ascertained for
subjects who were not professional farmers or gardeners. This could lead to non-
differential misclassification of exposure which could reduce the ORs of the study.
Barring this, the sample size was sufficient to detect an effect (5.3% with occupational
exposure) and this study will be included in the evaluation of causality.
Cocco et al. (2013)[49] evaluated data from a multi-center case-control study of lymphoid
neoplasms in six European countries from 1998 to 2004. Cases included only adult
patients diagnosed with lymphoma during the study period drawn from participating
centers. Controls were either selected by sampling from the general population on sex,
age group, and residence area (Germany, Italy), or from hospital controls matched to
the patient excluding patients with cancer, infectious diseases, and immunodeficiency
diseases (Czech Republic, France, Ireland, Spain). The study included 2348 lymphoma
cases (88% participation) and 2462 controls (81% response rate in hospital-based
controls and 52% in population-based controls). Exposures were derived using an


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occupational exposure matrix developed by industrial hygienists and occupational
experts from the research centers. Only 35 individuals (cases and controls not broken
out) in the study were exposed to carbamates (glyphosate was grouped with the
carbamates). No results were provided for NHL and the only OR provided for
glyphosate was for B-cell lymphoma where the OR was 3.1 (0.6-17.1) based on four
exposed cases and two exposed controls. No information was provided on the total
number of cases for each type of lymphoma evaluated. This study has very limited
power to evaluate an association between NHL and glyphosate and provides only
information on B-cell lymphomas with very few exposed cases and controls. As has
been done by most researchers evaluating these data, this study will receive very little
weight in the evaluation of causality.
De Roos et al. (2005)[45] reported results on the association of glyphosate and cancer
incidence from the Agricultural Health Study (AHS), a prospective cohort study in Iowa
and North Carolina, which included 57,311 private and commercial applicators who
were licensed to apply restricted-use pesticides at the time of enrollment. Recruitment
occurred between 1993 and 1997 and cohort members were matched to cancer registry
files to identify cases and the National Death Index (1999) to ascertain vital status.
Incident cancers were identified from the date on enrollment until 31 December, 2001,
with the average follow-up time being 6.7 years. Comprehensive use data was obtained
by self-administered questionnaire for 22 pesticides, ever/never use for 28 additional
pesticides, and general information on work practices. Applicators were given a second
self-administered questionnaire on occupational exposures and lifestyle factors. They
used three exposure metrics in their analyses: a) ever personally mixed or applied
pesticides containing glyphosate; b) cumulative exposure days of use of glyphosate
(years of use times days per year); and c) intensity weighted cumulative exposure days
(years of use times days per year times intensity of use). Persons whose first primary
tumor occurred before the time of enrollment (1074) were excluded from the analysis
as were those who were lost to follow-up (298), did not provide age information (7) or
information on glyphosate use (1678) leaving 54,315 subjects for inclusion. There were
92 cohort members with a diagnosis of NHL during the study period of which 77.2% had
ever used glyphosate resulting in a rate ratio4 (RR) of 1.2 (0.7-1.9) when controlling for
age and an RR of 1.1 (0.7-1.9) when controlling for age, lifestyle factors, demographics
and five other pesticides for which cumulative-exposure-day variables were most highly
associated with glyphosate cumulative-exposure-days (2,4-D, alachlor, atrazine,
metalochlor, and trifluralin) or, for chemicals with only ever/never exposure information
that were most highly associated with glyphosate ever/never use (benomyl, maneb,
paraquat, carbaryl and diazinon). When cumulative exposure days in exposed
individuals are divided into tertiles and RRs examined using the lowest exposed tertile as

4
 The rate ratio (RR) is estimated as the incidence in the exposed population divided by
the incidence in the unexposed population. Incidence is calculated as the number of
events in a fixed period of time divided by the person years at risk. Unlike the OR, the
RR does not require the assumption of a rare disease to serve as a good estimate of the
population risk ratio (PRR).


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the reference group, the RRs drop with values of 0.7 (0.4-1.4) and 0.9 (0.5-1.6) for
tertiles 2 and 3 respectively controlling for demographic and lifestyle factors and other
pesticides (30,699 subjects). When intensity-weighted exposure days are examined
again using exposed tertile 1 as the reference group, the RRs drop with values of 0.6
(0.3-1.1) and 0.8 (0.5-1.4) for tertiles 2 and 3 intensity-weighted exposure days
respectively controlling for demographic and lifestyle factors and other pesticides
(30,699 subjects). Analyses are not shown for the evaluation of the exposed tertiles
against never exposed because the authors felt that never exposed and exposed
subjects differed in terms of socio-economic factors and other exposures like
smoking[45].
This is a typical cohort study, but has some limitations in terms of its interpretation. The
majority (75.5%) of subjects in the cohort reported having ever personally mixed or
applied products containing glyphosate and was composed primarily of male, middle-
aged, private applicators. For glyphosate, reliability of the answers by subjects on the
use of glyphosate between the first and second questionnaire were evaluated in the
AHS[53]: 82% agreement for whether they had ever mixed or applied glyphosate, 53%
agreement on years mixed or applied, and 62% agreement on days per year mixed or
applied and 62% agreement on decade first applied. They saw no differences in over
versus under reporting between the two questionnaires suggesting this could lead to
non-differential exposure bias and reduce the RRs in this study. Another weakness,
noted by the authors, is that the small number of incident cases during follow-up period
hindered precise effect estimates. Also, the high frequency of exposure to many
pesticides (e.g. 73.8% were exposed to 2,4-D) means subjects unexposed to glyphosate
were likely to be exposed to other agents that may also induce NHL, reducing the RRs.
Also, as noted by the EPA’s FIFRA Science Advisory Panel (SAP)[54] in their review of the
EPA’s issue paper on the carcinogenicity of glyphosate and as noted in a critique[55] of
the European Food Safety Agency’s risk assessment for glyphosate, the follow-up time in
this cohort study may not be long enough to produce a sufficient sample size for
evaluation of the association between NHL and glyphosate. Like other studies, this
study has few exposed cases and controls, but the authors adjust their analysis for many
other pesticides which could reduce ORs and increase confidence bounds limiting the
ability of the study to show positive results. This study could also suffer from a survival
bias because pesticide applicators were recruited as case participants after their
exposure had begun and those with a cancer prior to enrollment were excluded.
This study will be included in the evaluation of causality.

Consistency of Associations
Hill (1965)[36] defines consistency as the answer “yes” to the question “Has it repeatedly
been observed by different persons, in different places, circumstances and times?” For
these studies, the answer is indeed yes.
If the population relative risk (PRR) for an association of glyphosate with NHL were
equal to 1 (no effect), then one would expect very few statistically significant results in
multiple studies and that about half of the studies would have ORs or RRs below one


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and half above one. As noted by both the IARC Monograph 112 (2015)[56] and by Chang
and Delzell (2016)[38], when comparing studies, the most reasonable comparison is to
use the most-fully-adjusted risk estimates. I will mostly limit my comments to these
most-fully-adjusted risk estimates.
Consistency of the associations across several epidemiology studies is not simply a
matter of seeing how many were statistically significant and how many were not but
must also address the consistency of the direction of the responses. Figure 1 shows a
forest plot of all ORs and RRs from the epidemiology studies discussed previously. Each
horizontal line in the forest plot shows the mean estimate of the OR/RR as a black
square and the 95% confidence interval around this estimate as whiskers extending left
and right from the black square.
The first obvious conclusion to be drawn from Figure 1 is that all of the mean OR/RR
estimates (black squares) are consistently ≥1. This implies that all of the studies are
pointing in the same direction toward a positive effect. In their meta-analyses, Schinasi
and Leon (2014)[57], IARC (2015)[56] and Chang and Delzell (2016)[38] all identified 6
papers (highlighted in red in Figure 1) as being the most reliable for evaluation of the
ability for glyphosate to induce NHL in people: McDuffie et al. (2001)[50], Hardell et al.
(2002)[42], De Roos et al. (2003)[43] and (2005)[45], Eriksson et al. (2008)[46] and Orsi et al.
(2009)[47]. I will refer to these papers as the six core epidemiology studies. As noted
above, if the true underlying risk ratio was 1 (no effect), you would expect about half of
the findings to be below 1 and half to be equal to 1 or greater. Using only the results
from the 6 core studies, you can see that all are ≥1; the probability of this happening is
(0.5)6 or 0.016, strongly suggesting the studies do not agree with an underlying PRR=1
and that they consistently support a positive effect.
A second way in which consistency can be evaluated is to combine the individual studies
using meta-analysis to obtain a combined analysis using both the ORs and the RR (CRR)
and test for heterogeneity in the studies. The meta-analysis done by Chang and Delzell
(2016) includes the same analysis as that done by the IARC (2015) and is an
improvement over Schinasi and Leon (2014), so I will focus my comments on using the
Chang and Delzell (2016) meta-analysis. Chang and Delzell (2016) did four separate
meta-analyses on the glyphosate epidemiology studies using two different methods
(random-effects and fixed-effects models). In their first analysis (model 1)5, they
combined the most-fully-adjusted risk estimates from the six core studies to yield a CRR
of 1.27 (1.01-1.59) for both random-effects and fixed-effects models supporting an
association between NHL and glyphosate exposure in these studies. In a second analysis
(model 2), they replace the results of the Bayesian analysis in De Roos et al. (2003) with
the results of the logistic regression analysis and get the same CRR of 1.30 (1.03-1.64)
for both random-effects and fixed-effects models. In a third analysis (model 3), they
replace from model 1 the McDuffie et al. (2001) results in with a combined meta-

5
 Chang and Delzell (2016) provided only one significant digit to the right of the decimal
point in their confidence bounds; the EPA SAP (2017) re-calculated models 1-4 of Chang
and Delzell (2016) to provide two significant digits – these are presented here.


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analytic result they derived from analyses by Hohenadel et al. (2011) (this study
reanalyzed the same data as McDuffie et al. (2001), splitting results between asthmatics
and non-asthmatics) resulting in a CRR of 1.32 (1.00-1.73) for both random-effects and
fixed-effects models. Finally, in a fourth analysis (model 4), they use model 3 but
replaced the Bayesian analysis in De Roos et al. (2003) with the logistic regression
analysis yielding a CRR of 1.37 (1.04-1.82) for both random-effects and fixed-effects
models. In essence, none of the different meta-analyses rejected the notion of a
combined, statistically significant positive effect.
Figure 1: Odds Ratios and Rate Ratios from the most-fully-adjusted risk estimates from
selected epidemiology studies and from the meta-analyses of Chang and Delzell
(2016)[38]. “RR” refers to the OR or RR from the study, “Lower” refers to the 95% lower
bound, “Upper” to the 95% upper bound and “Weight” refers to the weight applied to
that specific study in Model 1 of the meta-analysis (Table 3 in Chang and Delzell). For De
Roos et al. (2003), the first row is for the Bayesian model analysis and the second row,
labelled “logistic regression” is from the logistic model analysis.




As stated above, another way to evaluate consistency in the epidemiological data would
be to evaluate the heterogeneity in the studies. Heterogeneity may be due to
differences in participants, outcomes, exposure metrics, methods for questioning study
subjects, sex of the subjects, etc. Chang and Delzell (2016) formally tested for
heterogeneity of the responses from the six core studies using Cochran’s Q statistic and
the I2 statistic[58]. For models 1 to 4, the p-values from Cochran’s Q test are 0.84, 0.59,
0.85, and 0.63 respectively (typically you reject the concept of homogenous studies in
favor of heterogeneous studies if p<0.10). The I2 statistic for all four models are 0.0%
(values for I2 can range from 0-100% with concern for heterogeneity above 50%). The
fact that the fixed-effects models and random-effects models gave the same results also
supports a lack of heterogeneity in the data. There is no indication of heterogeneity in
these six core studies. Lack of heterogeneity supports the interpretation of the meta-
analyses as showing a positive association and strong consistency of the findings across
the six core studies.



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Chang and Delzell (2016) also evaluated the association between subtypes of NHL and
glyphosate exposure where possible. For B-cell lymphomas, they combined the results
of Eriksson et al. (2008)[46]with those of Cocco et al. (2013)[49] and saw a CRR (random-
effects and fixed-effects) of 2.0 (1.1-3.6) with an I2 of 0 and a Cochran’s Q test p-value of
0.58. For diffuse large B-cell lymphomas, they combined the results of Eriksson et al.
(2008)[46] with those of Orsi et al. (2009)[47] and saw a CRR (random-effects and fixed-
effects) of 1.1 (0.5-2.3) with an I2 of 0 and a Cochran’s Q test p-value of 0.79. For
combined chronic lymphocytic leukemia and small lymphocytic lymphoma, they
combined the results of Eriksson et al. (2008)[46] with those of Orsi et al. (2009)[47] and
saw a CRR using the random-effects model of 1.3 (0.2-10) and for the fixed effects
model 1.9 (0.9-4.0) with an I2 of 83.7% and a Cochran’s Q test p-value of 0.01. For
follicular lymphomas, they combined the results of Eriksson et al. (2008)[46]with those of
Orsi et al. (2009)[47] and saw a CRR (random-effects and fixed-effects) of 1.7 (0.7-3.9)
with an I2 of 0 and a Cochran’s Q test p-value of 0.73. And finally, for HCL, they
combined the results of Nordstrom et al. (1998)[40] with those of Orsi et al. (2009)[47]
and saw a CRR (random-effects and fixed-effects) of 2.5 (0.9-7.3) with an I2 of 0 and a
Cochran’s Q test p-value of 0.63. These subtype analyses are based upon small numbers
of cases and only two studies making them unreliable, when considered individually, to
address the question of consistency in the data. However, when they are combined
with the results for the meta-analyses of the core studies of NHL, these studies add
support to the conclusion that these data are consistent.
Chang and Delzell (2016) also performed a sensitivity analysis by only doing meta-
analyses on studies with similar characteristics. Using only the five case-control studies,
the CRR was 1.3 (1.0-1.7). Breaking them into the type of control used, there were four
studies using population controls with a CRR of 1.4 (1.0-1.8). There were four studies
with males only with a CRR of 1.3 (1.0-1.7) and two studies with males and females with
a CRR of 1.2 (0.8-1.8). Three studies were done in North America with a CRR of 1.2 (1.0-
1.6), three in Europe with a CRR of 1.3 (0.8-2.1); two of the three studies were in
Sweden with a CRR of 1.6 (0.9-2.8). All of the resulting meta CRRs were the same for the
fixed-effects model and the random-effects model. This sensitivity analysis shows that
the results do not differ significantly from the main CRR for the six core studies
combined adding support to the findings being consistent across the different studies.
In case-control studies, selection bias arises when the reasons cases and controls choose
to participate in the study could lead to systematic biases that might result in a positive
or negative finding independent of the exposure being studied. For example, if cases
with exposure are more likely to participate than controls with exposure, the result
would be higher OR values; however, this difference has to be differential and not
simply a difference in participation rates. It is possible that in a few of these studies, the
method by which controls were selected could contribute to selection bias that might
lead to increased ORs. However, given the diverse types of cases and controls used in
the five core case-control studies, this is unlikely to explain the consistent findings seen
from these studies. It is also possible that the lack of complete data on cases versus
controls could result in selection bias if the reasons for not completing the
questionnaire/interview are different between cases and controls and relates to


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exposure. There is no indication of this type of selection bias in these reports, and this is
unlikely to explain the consistency seen in these data.
Exposure misclassification can lead to increases or decreases in the OR or RR values
seen in both case-control and cohort studies. For example, in case-control studies, if
cases are more likely to say they were exposed to glyphosate than controls, this would
inflate the OR values; this is one type of recall bias. This type of bias is less likely in
cohort studies. In all six of the core studies, this issue was discussed by the authors. In
every case, they concluded there was bound to be some exposure misclassification, but
that it was most likely non-differential, meaning that the misclassification was random;
this would likely reduce the OR/RRs seen in the studies rather than increase them.
Confounding occurs when there is an exposure or some other factor that is tightly
associated with both glyphosate exposure and NHL diagnosis that, if controlled for,
could explain the results. The most likely source of confounding in these studies would
be exposures to other pesticides. Four[42, 43, 45, 46] of the six core studies controlled for
exposure to other pesticides and saw basically the same findings as the other two
studies. Another concern for confounding would be if the cases had immune
deficiencies that could be linked to NHL; in all of the case-control studies, such cases
were excluded. Finally, other agricultural exposures (e.g. animals, other chemicals,
infectious agents) could be correlated with glyphosate exposure and may be linked to
NHL; none of the studies controlled for these factors. However, not all exposed cases
were farmers; if confounding via other agricultural exposures is occurring, it is not
possible to determine the magnitude or direction of such an effect from these data.
In conclusion, we have six core epidemiology studies done on two different continents
by four different research groups using different designs, questionnaires and study
populations that are highly consistent with no obvious bias or confounding that would
explain the results. There is a consistency of associations across the six core studies.

Strength of the Association seen in Human Epidemiological
Studies
To explain strength of association, Hill (1965) gives the classic example of John Snow
and the cholera epidemic of 1855 where the risk ratio of dying if you drank water from
the Southwark and Vauxhall Company (polluted by sewage) compared to drinking from
the Lambeth Company water (sewage free) was 14. Yet, for the six core studies, the
OR/RR ranges from 1.0 to 1.85 for the most-fully-adjusted risk estimates and to 2.1 if
you include the fully adjusted risk estimate from De Roos et al. (2003)[45] using logistic
regression. These are moderate OR/RR estimates making it conceivable they are
individually due to either chance or bias. Thus, with the exception of the logistic
regression analysis in De Roos et al. (2003)[45], none of the core studies demonstrate
large, precise risks as envisioned by Hill (2016)[36]. However, Hill (1965) was not
expressing himself in statistical terms where the significance of an association is
dependent upon the precision of the observations. If the statistical variation around an
OR/RR estimate is large relative to the estimate itself, the estimate is not very precise


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and generally would not be statistically significant. The result from the study by Hardell
and Eriksson (1999) shown in Figure 1 is an example of an estimate with very large
statistical variation. On the other hand, a very small (in value), precise OR or RR
estimate could be statistically significant and prove important in deciding causation.
The meta-analyses shown in Figure 1 all demonstrate estimates of OR/RR that are
significantly different from 1 rejecting the concept that the overall association is due to
chance. The statistically significant estimate of the OR/RR for B-cell lymphomas in the
meta-analysis support this finding as well.
In summary, we have six core epidemiology studies that all show approximately the
same, modest increase in OR/RR that, when combined, demonstrate a significant
strength of association. There is a strong association across the six core studies

Biological Plausibility
The range of data one can use to determine biological plausibility is quite diverse and
can be exceptionally complicated. For simplicity, it can be divided into the types of
assays that can be used in this evaluation: animal cancer bioassays, toxicokinetic
studies, studies from accidental exposures in humans, and studies of specific biological
mechanisms in animals or cells derived from humans or animals. Animal cancer
bioassays are intended to test whether glyphosate can cause cancers in mammals, thus
supporting the concept that the chemical could cause cancer in humans. Toxicokinetic
studies provide insight into the degree to which glyphosate is absorbed by humans,
distributed to various organs in the body, what happens to the chemical once it is in the
body (metabolism), and, finally, how it is eliminated from the body. Studies from
accidental exposures in humans can provide some information on the effects of
glyphosate through changes in the chemistry and cellular structure of human blood.
Studies of biological mechanisms are generally addressing what effects the chemical
may have on human and animal cells under controlled, laboratory conditions. Some of
the studies in this section were done with technical grade (virtually pure) glyphosate
and some with the glyphosate formulations that humans encounter in occupational and
environmental settings. I will summarize the literature in each of these areas and offer
an opinion to their support of biological plausibility of NHL in humans.
Animal Cancer Bioassays
Typical animal cancer bioassays will expose animals (generally rats or mice) to a
chemical for a substantial proportion of the animal’s life (generally 2 years) then kill the
animal and examine its organs and tissues for tumors. There are guidelines on how to
conduct and analyze these studies. Typically, chemical registrants conduct cancer
bioassays for pesticide approval pursuant to guidelines developed under the guidance of
the Organization for Economic Cooperation and Development (OECD[59]). Other
groups[30, 33, 34] provide guidance on how to analyze these studies based upon
methodology papers from the published literature. These studies are conducted in a
way that controls for everything in the animal’s environment (e.g., food type, water
quality, how often the animals are handled) leaving only the exposure to explain



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differences in tumor formation between control and exposed animals. Even then, non-
cancer endpoints can also be modified by the chemical and these may have an impact
on tumor rates in the animals (e.g., survival, death from some other toxic effect of the
chemical); these must be accounted for when reaching conclusions from the study.
Studies generally use four groups of animals, one group receiving no exposure (control)
and the remaining three groups are test animals, with each group receiving different
dose exposures to the chemical[60]. Doses generally above human experience are used
in animal carcinogenicity studies because only relatively small numbers of animals are
being used to evaluate risk for a large human population and because even the best
known human carcinogens do not cause cancer in large fractions (say 20%) of the
human population. The basic underlying premise of this design consideration is that, as
the dose increases, so does the risk of getting a tumor. By exposing animals to the
highest dose possible, you increase the ability of the study to identify a risk if one is
present. However, one must be careful not to use a dose that is so high it will cause
cancers by processes that would never work at lower doses. To avoid this, studies are
designed around a maximum tolerated dose (MTD) or limit dose. This dose is generally
determined based upon a subchronic study (90 days) in the same animals and is usually
the maximum dose that can be tolerated by the animals without any signs of significant
toxicity in the exposed animals (e.g., weight loss, tissue damage). The OECD and EPA
provide guidelines[33, 59] on how to choose this top dose. These guidelines are in general
agreement with the scientific literature[60].
The guidelines also address the methods by which the data should be analyzed. For
example, the EPA guidelines[61] state that:
“A trend test such as the Cochran-Armitage test (Snedecor and Cochran, 1967) asks
whether the results in all dose groups together increase as dose increases. A pairwise
comparison test such as the Fisher exact test (Fisher, 1950) asks whether an incidence in
one dose group is increased over that of the control group. By convention, for both tests
a statistically significant comparison is one for which p is less than 0.05 that the
increased incidence is due to chance. Significance in either kind of test is sufficient to
reject the hypothesis that chance accounts for the result.”
In fact, most guidelines and peer-reviewed publications come to the same conclusion[30,
59, 60, 62]
            on what tests to use, as did EPA’s FIFRA Scientific Advisory Panel (SAP) in their
review of the EPA’s issue paper of the carcinogenicity of glyphosate[54]. The US National
Toxicology Program (NTP) uses both a trend test[3, 4, 63] and Fisher’s exact test for
analyzing carcinogenicity data. Unless otherwise noted in this document, all p-values
presented in this section on animal cancer studies were recalculated on my computer
and are the exact one-sided p-values for the Fisher test (pFisher) and/or the Cochran-
Armitage linear trend test (pTrend) where appropriate. Exact one-sided p-values for the
trend test were calculated using a permutation algorithm with 100,000 permutations6.

6
  The p-value resulting from a permutation test of this type is subject to statistical error.
In this case, if the exact p-value is 0.05, the test with 100,000 permutations should be no
further than 0.0004 from the true value; about 1%.


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To avoid doing large numbers of tests and over-analyzing the data, my comments will
generally rely upon the use of the trend test with the results from Fisher’s exact test
serving as a descriptive discussion of the findings. This is in agreement with SAP
comments[54] and is generally accepted in the evaluation of animal cancer studies.
Even with the high doses used in these studies, it is sometimes necessary to use
“historical controls” to evaluate a given response. Historical controls are generally the
historical collection of tumor responses from untreated control groups from studies in
the same laboratory within two to three years of the study being evaluated[30, 34, 59, 64, 65].
Evaluation of the data using the historical controls should be done rigorously to
correctly evaluate the responses seen in a given study. Where a valid historical control
dataset was available, I used the mean tumor response in the controls to calculate the
probability of observing the trend seen in the study or a more significant trend if the
true probability of response is the historical control average; this is labeled pHist. In all
cases, the guidelines and literature support the use of the control in the current study as
the most appropriate control group to use unless there is a specific need to address
historical responses. Many guidelines[30, 33, 34, 66] suggest historical controls be used for
evaluating rare tumors and findings in assays that appear to be unusual. It is explicitly
noted that significant increases in tumors over what is seen in the concurrent control
should not be rejected simply because the tumors are in the range of the historical
controls[30]. Nor is it recommended to reject significant increases in tumor responses
because the control response is on the low end of the historical range. Animals are
randomly assigned to control and exposure groups and any low response in controls is
likely to also reflect similar response patterns in treated animals. This is in agreement
with SAP comments[54] on the EPA issue paper on glyphosate[61] and with all guidelines
for analyzing animal carcinogenicity data.
There are 13 animal carcinogenicity studies in rats[67-79] and eight in mice[80-87]. Only two
studies[70, 76] appear in the peer-reviewed literature; the remaining studies are partially
available through several sources. For three of the rat studies[69, 73, 77] and two mouse
studies[82, 85], technical reports from the performing laboratory are available from
documents provided by the registrant. For the remaining unpublished studies, data was
obtained from the EPA review of glyphosate[61], the European Food Safety Authority
review of glyphosate[88, 89] and supplemental material from a review of the
carcinogenicity of glyphosate by a panel of scientists on behalf of Monsanto[90].
Many additional endpoints, other than cancer incidence and related toxicities, were
evaluated in these studies; I will only provide comments on the tumor incidence data
and related data where relevant to the cancer findings.
It is unusual to have multiple carcinogenicity studies in the same experimental animal
model arising from different laboratories. Methods for the combined analysis of
multiple animal cancer bioassays are not available in the scientific literature. However,
pooled analyses, as conducted in epidemiology[91, 92] are applicable for combining animal
carcinogenicity studies. The basic concept is to pool all data from the same
sex/species/strain into one study and analyze it appropriately. The basic steps are: 1)
select the studies to be pooled; 2) merge the data for analysis; 3) estimate study specific


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effects; 4) estimate pooled effects; 5) explain the differences between the pooled
effects and the individual study effects; 6) do a sensitivity analysis if possible. These
steps will be used to analyze pooled data from animal carcinogenicity studies where
pooling is done by sex, species, strain and duration of exposure to limit heterogeneity
across pooled studies. In their recommendations to the EPA regarding EPA’s issue paper
on the carcinogenicity of glyphosate[54], the FIFRA Science Advisory panel strongly
supported the use of a pooled analysis to address the question of consistency citing my
comments to the EPA[93].

Rat Studies
Reyna and Gordon (1974)[75] exposed Albino rats (probably Sprague-Dawley) to
ammonium salt of glyphosate (13.85% purity) in a two-year chronic feeding study. Only
EPA[61] reported on this study and provided no details other than to report there were
approximately 70 animals per group and there was insufficient reporting on the
histopathology findings. Insufficient detail is available on this study.
This study is inadequate for use in deciding on causality.
Burnett et al. (1979)[69] exposed male and female albino rats to an aqueous
monosodium salt solution of glyphosate by oral intubation (purity not given). There
were 90 animals per group and doses were 0, 3, 10 and 30 mg/kg/day for 24 months.
EPA[61] reported that no histopathological alterations were observed; no additional
information was available on this study. This study had severely reduced sensitivity to
observe any cancer findings because the highest dose used in this study is very low
compared to the MTDs in the other rat studies. This study does not contribute to the
evaluation of cancer causation in laboratory animals and will be excluded from any
further discussion.
Lankas et al. (1981)[73] exposed groups of 50 male and 50 female Sprague-Dawley rats to
glyphosate (98.7% purity) in feed (see Table 1 for doses) for 26 months. This study is
not in concordance with OECD guidelines (they were not available at the time of this
study), but as noted by EFSA[88], it was in general accordance with the 1981 OECD
guidelines. Information on this study was available from EPA[61], EFSA[88], Greim et al.[90],
the original study report from Bio/dynamics Inc.[94] and memos from Monsanto to EPA
provided by Monsanto.
There were no survival differences in this study and there was no indication that the
highest dose used exceeded the maximum-tolerated dose.
Table 1 shows the statistically significant trend in testicular interstitial cell tumors that
was observed (pTrend=0.011). Historical controls were provided in the study report for
five studies with response rates of 4/116, 5/75, 4/113, 6/113 and 5/118 for a mean
response of 4.5% (24/535). Comparing this historical control mean to the observed
response yields pHist=0.006, showing that this result is significant, even when comparing
it to the historical control dataset. Lankas et al. (1981) argued that the tumor rates at
sacrifice were not statistically significant from control suggesting this finding is not
related to glyphosate. However, by reducing the numbers of animals to only those at


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terminal sacrifice, the power to find an effect was significantly reduced. Also, if the
tumor increases the animal’s chances of dying, then some animals with tumors will die
early, which could bias results only seen at terminal sacrifice. This type of analysis is
simply never done; it appears to have been developed for this case to dismiss the
effects seen in the study. Lankas et al. (1981) also suggested the control response was
low compared to the historical rates, but the concurrent control is always the best
control group to use unless it is clearly flawed[33, 34, 59]; in this case, there was no
apparent problem with the controls because the probability of seeing 0/50 if the true
background response is 4.5% is about 10% and this control group is not significantly
different than the historical controls. EFSA[88] noted rates for interstitial cell hyperplasia
(a potential precursor for the interstitial cell tumors) and saw no dose-response trend
(Table 1). However, these very low rates would suggest that the tumors arising in the 10
animals that did get interstitial cell tumors are independent of a mechanism involving
interstitial cell hyperplasia. The tumor response for interstitial cell tumors was not
monotonic (tumor rates increasing as dose increases), but was still within statistical
variation. The EPA SAP agrees, concluding that “requiring visual confirmation of a
monotonic trend in scatter plots of data … is known to be a poor way of assessing
trend”[54].
An increase in Thyroid C-cell carcinomas (Table 1) was observed in female rats
(pTrend=0.003) but combining adenomas and carcinomas was not significant
(pTrend=0.096). Independent pathologists brought in by Monsanto argued these tumors
were not treatment related. The authors also mentioned that the incidence of
lymphocytic hyperplasia in the thymus and lymph nodes were slightly elevated above
controls, but no tumor counts or statistical evaluations were provided. The authors
provided historical control data for both carcinomas and carcinomas combined with
adenomas from nine control groups with mean responses of 4/453=0.9% for carcinomas
and 46/453=10.2% for the combined tumors. The significance of both results was
unchanged using the historical control data.
This study also had a statistically significant increase in pancreatic islet cell tumors in the
lowest dose (pFisher=0.028) in males (Table 1), but not any of the other doses; the trend
test was not significant (pTrend=0.32).
The highest dose used in this study in Sprague-Dawley rats is far below the MTD. Even
though EFSA[88] noted that this study was in general accordance with the 1981 OECD
guidelines, they dismissed it for not meeting current guidelines due to the low-doses
used. EPA[61] also excluded this study from consideration. However, the study saw an
increase in testicular tumors in males and Thyroid C-cell carcinomas in females that
should be carefully evaluated in determining causality. Also, this is the study with the
longest exposure (24 months) and provides unique information to the overall
evaluation.




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5.3%) indicating a slight trend. Animals studied for 26 months versus 24 months can
have very different responses to the same chemical and very different control incidence.
In male rats, there was a statistically significant trend (pTrend=0.019) after removal of
interim-sacrificed animals for hepatocellular adenomas but a marginal7 increase for
adenomas and carcinomas combined (pTrend= 0.06, Table 2) and not in females. Live
carcinomas are generally also provided in a separate analysis, but these data were not
provided by the authors (the data would suggest the hepatocellular carcinomas would
have a negative trend).
There was also a marginal increase in thyroid C-cell adenomas in the female rats
(pTrend=0.057) and adenomas and carcinomas combined (pTrend=0.06) regardless of
whether interim sacrificed animals are included (Table 2). In males, the trend for
adenomas was pTrend=0.094 and for adenomas and carcinomas was pTrend =0.103.
Adenomas were seen in male rats at the interim sacrifice demonstrating that male rats
at the interim sacrifice were at risk for this tumor. If these animals are added back into
the analysis, the trend test in males has pTrend=0.07 for adenomas and pTrend=0.079 for
adenomas and carcinomas combined.
Several other tumors demonstrating significant findings in other studies of Sprague-
Dawley rats are included in Table 2 and do not show significant effects.
In conclusion, the finding of an increased incidence of pancreatic islet-cell tumors in this
study cannot easily be ruled out as a chance finding. Findings of significant increases in
liver adenomas in male rats with no increases in carcinomas could be due to chance.
The findings of marginally significant increases in thyroid c-cell tumors in males and
females should be compared with other studies. This study will be included in the
overall evaluation of causation.




7
 In statistics, it is common to refer to p-values in the range of 0.10>p-value>0.05 as
marginal when the target p-value is ≤0.05; this is done to avoid missing trends in data
reflected by almost significant findings


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the underlying probability of having a tumor in controls is 4.27%, pHist=0.006 (Table 4).
Thus, even though the responses seen in Brammer (2001) are in the range of the
historical controls, the trend is highly significant when historical controls are used
appropriately. Greim et al. (2015) also mentioned findings of increased toxicity at the
high dose for which they provided numbers for only hepatocyte fat vacuolation and
hepatitis; none of these findings were statistically significant by any test.
In conclusion, this study shows a positive result for hepatocellular adenomas in male
Wistar rats and will be included in the overall evaluation of causation.
Pavkov and Wyand (1987)[74] exposed Sprague-Dawley rats to glyphosate trimesium
salt (sulfosate, 56.2% pure) in feed for two years. Eighty animals/sex were tested in the
control, low-dose and mid-dose groups, and 90/sex were tested in the high dose group.
Doses of 0, 4.2, 21.2 and 41.8 mg/kg/day were used in males and 0, 5.4, 27, and 55.7
mg/kg/day in females. This study showed no significant findings according to EPA[61].
No details were given beyond that simple statement and no others reported on this
study. The doses in this study are far below the MTD so this study would have reduced
sensitivity to detect an effect if one existed. This study also used a different chemical
than the other Sprague-Dawley rat studies and is not comparable on that basis.
This study is not acceptable for use in the evaluation of causality due to the lack of
details about the study.
Suresh, (1996)[78] exposed Wistar rats to glyphosate (96.8% pure) in feed for two years.
Fifty animals/sex were tested in four exposure groups shown in Table 5.
There were no survival differences in this study and there was no indication that the
highest dose used exceeded the maximum-tolerated dose.
EPA[61] concluded there were no tumors increased due to glyphosate exposure in this
study and EFSA[88] concluded that, “[n]one of the significant microscopic changes,
increased and decreased incidences (in liver, spleen, lymph nodes, adrenals, thymus,
gonads, uterus, mammary gland) observed have shown dose relationship, hence
appeared to be incidental and not related to the treatment with the test compound.”
(page 491). Greim et al. (2015)[90] provided data on hepatocellular adenomas and
carcinomas in both sexes but none of these showed significant trends or pairwise tests
(Table 5). However, there was another study [insert author name for reference] with a
strong significant trend in hepatocellular adenomas in Wistar rats[68] so these are also
included in Table 5 for comparison. No other tumors were mentioned by any other
group and an examination of the grouped pathology tables provided by Greim et al.
(2015) show an increase in mammary gland adenomas at the mid-dose (pFisher=0.017)
but no significant trend. However, there was another study [insert author name for
reference] with a strong significant trend in mammary gland adenomas and
adenocarcinomas combined in Wistar rats[79] so these are also included in Table 5 for
comparison. Like the Atkinson et al. (1993)[67], Suresh (1996) did not do full pathology
on all of the animals in the interim exposure groups making interpretation for mammary
gland adenomas problematic.



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the characterization of the chemical being used and with tumor rates in this strain of
animals being too low. The Supplemental Material from Greim et al. (2015) on this
study shows no significant increase in any tumor and virtually all animals having no
tumors in controls and treated animals.
This study is inadequate for use in deciding on causality for the same reasons given by
the EPA, EFSA and Greim et al. (2015).
Chruscielska, K. (2000)[70] exposed Wistar rats to glyphosate as a 13.8% solution (purity
not given) in drinking water for two years. According to Greim et al. (2015)[90], this
appears to be the glyphosate formulation Perzocyd. Eighty-five animals/sex were tested
in four exposure groups. The authors listed the doses as control, 300 mg/L, 900 mg/L
and 2700 mg/L in drinking water. Greim et al. (2015)[90] estimated the intake of
glyphosate to be 0, 1.9, 5.7 and 17 mg/kg/day for females and 0, 2.2, 6.5, and 19
mg/kg/day in males. There was a slight increase in malignant adenomas of the pituitary
gland and an opposite decrease in pituitary adenomas suggesting no effect or
potentially a promotional effect in which adenomas are promoted to carcinomas by
glyphosate. No other increased tumor responses were reported in the manuscript.
Because of the low exposures, this study is an inadequate challenge to the animals (the
highest dose is far below the MTD). The reporting of this study is very limited and it the
overall quality of the work cannot be evaluated.
This study is inadequate for use in deciding on causality.
Seralini, G. E., et al. (2014)[76] exposed Sprague-Dawley rats to the glyphosate
formulation Roundup in drinking water for two years as part of a broader experiment on
Roundup-Ready Corn. Ten animals/sex were tested in four exposure groups at doses of
0, 0.00005, 400 and 22500 mg/L in females. The authors reported an increase in the
incidence of mammary gland tumors (mainly fibroadenomas and adenocarcinomas) in
female rats with incidences of 5/10 for control and 9/10, 10/10, 9/10 (pFisher=0.016) in
the low-, mid- and high-doses groups respectively. It is difficult to assess the quality of
this study due to limited reporting on the histopathological descriptions of the tumors
and the very small sample size.
This study will not be used in the evaluation of causality.
Summary - Rats
Table 8 summarizes the significance for all tumors of interest in rats.
Brammer (2001)[68] saw a significant increase in hepatocellular adenomas in male Wistar
rats with increasing dose (pTrend=0.009, Table 4). The other two acceptable studies in
Wistar rats (Wood et al. (2009)[79] and Suresh (1996)[78] did not see significant increases
(Tables 5 and 7). On the basis of statistical significance, these studies are inconsistent.
To reject these findings based upon only 1/3 being positive is the same as rejecting a
coin as being fair if, in three flips of the coin, the result is one head and two tails; it
simply is not possible and there is a better way to address these findings. Given different
doses and different sample sizes, we need to formally test for consistency in these
studies. Suresh (1996) saw 48% response for hepatocellular adenomas in controls


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Wood et al. (2009)[79] saw a significant increase in mammary gland adenomas and
adenocarcinomas (pTrend=0.008, Table 7) in females that was not seen in the other two
studies (Tables 4 and 6). The background rates in these studies differ only slightly and a
pooled analysis of all three studies yields pTrend=0.303, suggesting that combining the
data eliminates the dose-response trend seen in Wood et al. (2009). However, if the
Wistar rats used in Suresh (1996) differed in their response for hepatocellular
adenomas, they may differ for this tumor as well. Combining only Wood et al. (2009)
with Brammer (2001) results in pTrend=0.038. Given the mixed results from the pooling
for this tumor I conclude there is only limited support for the notion that glyphosate can
cause mammary gland adenomas and adenocarcinomas in Wistar rats.
In Sprague-Dawley rats, there were four studies that were acceptable for inclusion in
the evaluation of causality with one[73] yielding strong positive responses for thyroid C-
cell carcinomas in females and testicular interstitial tumors and hepatocellular
adenomas in males and another[71] yielding a strong result for kidney adenomas in
males. Lankas (1981)[73] saw a significant increase in thyroid C-cell carcinomas in female
rats exposed to glyphosate (pTrend=0.003, Table 1) and a marginal increase in C-cell
adenomas and carcinomas combined (pTrend=0.096, phist=0.072, Table 1; two of the other
three studies also saw marginal results for this thyroid C-cell adenomas and carcinomas
in females (Tables 2 and 3). A pooled analysis using all four studies yields pTrend=0.287.
This pooled analysis does not support the results seen in Lankas (1981). However, the
Lankas (1981) study was for 26 months and the other three were for 24 months; the C-
cell carcinomas could be a result of the longer exposure period even though the dose is
substantially lower in this study compared to the other two. From these data, I
conclude that the evidence is weak that glyphosate causes thyroid C-cell tumors in
female Sprague-Dawley rats.
Thyroid C-cell adenomas and carcinomas combined, in males, show marginally
significant dose-response trends in Stout and Ruecker (1990, Table 2) but not in the
remaining two studies for which there is data; data is unavailable for this tumor for
Lankas (1981). Pooling all three studies yields a marginally significant trend of
pTrend=0.053. From these data, I conclude that the evidence is weak that glyphosate
causes thyroid C-cell tumors in male Sprague-Dawley rats.
Thyroid follicular-cell adenomas and carcinomas combined, in males, show a significant
dose-response trend in Atkinson et al. (1993, Table 3) but not in the remaining two
studies for which there is data; data is unavailable for this tumor for Lankas (1981).
Pooling all three studies yields no significant trend with pTrend=0.387. From these data, I
conclude that there is no evidence that glyphosate causes thyroid follicular-cell tumors
in male Sprague-Dawley rats.
Hepatocellular adenomas, in males, show a significant dose-response trend in Stout and
Ruecker (1990, Table 2) but not in the remaining two studies for which there is data;
data is unavailable for this tumor for Lankas (1981). Pooling all three studies yields a
significant trend with pTrend=0.024. From these data, I conclude that there evidence that
glyphosate causes thyroid follicular-cell tumors in male Sprague-Dawley rats.



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Another significant trend seen in Sprague-Dawley rats is the finding of testes interstitial
cell tumors from Lankas (1981)[73] (PTrend=0.011, Table 1); the other three studies were
negative for this tumor (Tables 2, 3 and 6). Combining the other three studies with that
of Lankas (1981) for testes interstitial tumors results in a p-value for trend that is clearly
non-significant (pTrend=0.516). However, as noted above, the Lankas (1981) study was
for 26 months and the other two were for 24 months; the tumors could be a result of
the longer exposure period even though the dose is substantially lower in this study
compared to Stout and Ruecker (1990), Atkinson et al.(1993) and Enemoto (1997).
The final tumor in Sprague-Dawley rats showing a strong significant trend is kidney
adenomas in males from the study by Enemoto (1997)[71] (PTrend=0.004, Table 6). The
kidney tumor data is not available for the study by Lankas (1981)[73] and is not
significant in the studies by Atkinson et al. (1993)[98] (Table 3) and Stout and Ruecker
(1990)[77] (Table 2). Pooling the Enemoto (1997) study with that of Stout and Ruecker
(1990) and Atkinson et al. (1993) yields pTrend=0.031; thus, the association between
glyphosate and kidney adenomas in male Sprague-Dawley rats is supported by these
data, even with the difficulty associated with interpreting the results in the low- and
mid-doses in the Atkinson et al. (1993) study. There is evidence to support an increase
in kidney tumors in male Sprague-Dawley rats exposed to glyphosate.
In summary, there is evidence that glyphosate causes hepatocellular adenomas in male
Wistar rats, mammary gland adenomas and adenocarcinomas in female Wistar rats and
kidney adenomas and hepatocellular adenomas in male Sprague-Dawley rats. There is
weak evidence glyphosate causes thyroid C-cell adenomas and carcinomas in male
Sprague-Dawley rats.


Mouse Studies
Reyna and Gordon (1974)[85] exposed Swiss White mice to glyphosate (>97% purity) in
feed for 16 months in males and 18 months in females. Fifty animals/group/sex were
tested in three exposure groups; control, 17 mg/kg and 50 mg/kg. Only 10 animals per
group were examined for histopathological changes.
There was no impact on survival of administration of glyphosate and no indication that
the high dose exceeded the MTD.
No significant increases were seen in any tumor from this study. However, given the
small sample size for histopathological evaluation and the low doses used for this study,
this study is inadequate.
This study will not be used in the evaluation of causality.
Knezevich and Hogan, (1983)[82] exposed CD-1 mice to glyphosate (99.8% pure) in feed
for two years. Fifty animals/group/sex were tested in four exposure groups (see Table
9).
There were no survival differences in this study and there was no indication that the
highest dose used exceeded the MTD.


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the pathologists identified an additional adenoma in the control animals and changed
the classification for three adenomas to carcinomas (Table 9). With these changes, the
adenomas no longer have a significant trend (PTrend=0.436, PHist=0.121) but carcinomas
have a marginally significant trend against concurrent controls and a clearly significant
trend using historical controls (pTrend=0.063, pHist=0.002, historical control rate of 0.15%).
These historical control rates may not apply to this analysis because the reevaluation of
the kidney tumors considered additional sections and no information is available on
how additional sections affect historical control rates in this strain of mice; differences
have been seen in other settings[103]. The incidence of combined carcinomas and
adenomas has the same marginal significance against the concurrent control and
significance against the historical controls (pTrend=0.065, pHist=0.011, historical control
rate of 0.44%). Other CD-1 mice studies have seen increases in malignant lymphomas
and hemangiosarcomas. Evaluations of those tumors for this study yields results that
are not significant; for malignant lymphoma, pTrend=0.74, pHist=0.77, with the historical
control rate equal 6.2% and for hemangiosarcomas pTrend=0.500.59, pHist=0.77, with the
historical control rate equal to 2.5%. No other tumors were found in this study.
The EPA[61] has produced many different arguments to dismiss the findings of renal
tumors from this study. One argument is that the pathology working group requested
by the EPA in 1986 concluded these lesions were not glyphosate related because “1)
renal tubular cell tumors are spontaneous lesions for which there is a paucity of
historical control data for this mouse stock; 2) there was no statistical significance in a
pairwise comparison of treated groups with the concurrent controls and there was no
evidence of a statistically significant linear trend; 3) multiple renal tumors were not
found in any animal; and 4) compound-related nephrotoxic lesions, including pre-
neoplastic changes, were not present in male mice in this study.” Reason number one
no longer exists as there are two very good historical control databases for CD-1
mice[100, 101]. The second reason, while technically correct, is not supportable since the
Agency’s own guidelines for evaluating carcinogenicity studies state that “Significance in
either kind of test [trend or pair-wise] is sufficient to reject the hypothesis that chance
accounts for the result.” The third reason is also weak since one would not expect (nor
require) multiple tumors to appear when dealing with a rare tumor. For the fourth
point, EPA provides data on the rate of bilateral chronic interstitial nephritis in the study
which it considers to show no statistically significant results although the trend test is
highly significant (pTrend=0.009, Table 9). EPA then states, without reference, that
“chronic interstitial nephritis is not considered to be a precursor lesion for tubular
neoplasms”. I could find no published research to either support or refute this
statement. However, chronic interstitial nephritis is an inflammation of the interstitial
tissue surrounding the glomeruli and tubules in the kidney. Inflammation is well known
to play an important role in kidney cancer[104] and many other cancers so this argument
also fails to support rejection of these findings.
In summary, this study shows a positive result for kidney tumors in male CD-1 mice and
will be included in the overall evaluation of causation.




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tumors should not be discounted simply because incidence rates in the treated groups
are within the range of historical controls or because incidence rates in the concurrent
controls are somewhat lower than average.”
In summary, this study shows a positive result for hemangiosarcomas in male CD-1 mice
and will be included in the overall evaluation of causation.
Wood et al., (2009)[87] exposed CD-1 mice to glyphosate (95.7% pure) in feed for 80
weeks. Fifty-one animals/groups/sex were tested in four exposure groups (see Table
11).
There was no effect on survival and no information suggesting the study exceeded the
MTD.
No increase in kidney tumors or hemangiosarcomas were seen in this study. There was
a monotonic increase in lung adenocarcinomas (pTrend=0.038, pHist=0.031) in females and
a monotonic increase in malignant lymphomas (pTrend=0.008, pHist=0.007) in males. The
historical control incidence for this study is different from the earlier studies because
this study is only for 80 weeks instead of 104 weeks (two years); the historical control
rate for malignant lymphomas in CD-1 mice after 80 weeks is 2.6% instead of 6.2%, the
historical control rate at two years[101].
For lung adenocarcinomas, the EPA[61] again argued a lack of significance for pairwise
comparisons (in violation of its guidelines) and that there was no evidence of
progression from adenomas to carcinomas. Even though there was no increase in lung
adenomas as a function of exposure, it is possible to have an increase in lung
adenocarcinomas without an associated increase in adenomas[105]. For malignant
lymphomas, EPA notes that there was a statistically significant response and that the
high dose was significantly different from control (pFisher=0.028), but then uses an
argument based upon the number of analyses done in this study to adjust the Fisher
Exact test p-value to 0.082 (an adjustment for multiple comparisons is indeed warranted
in evaluating the outcomes of these animal cancer studies, this will be addressed later in
my report in the evaluation of all of the studies combined).
The EPA[61] uses historical control data[102, 106] to exclude the malignant lymphomas and
cite a mean response of 4.5% and a range of 1.5% to 21.7%. Son and Gopinath
(2004)[106] saw 21 animals out of 1453 examined prior to 80 weeks with lung
adenocarcinomas (1.4%). Giknis and Clifford (2005)[102] saw a mean rate of 4.5% with a
range of 0% to 21.7% in 52 studies which included mostly 78 week controls (26 studies)
and 104 week controls (21 studies). Including only studies of 80 weeks or less, the rate
in Giknis and Clifford (2005) is 37/1372=2.7% with a range of 0% to 14%. Giknis and
Clifford (2000)[101] (the reference I have been citing) did a similar evaluation, using
mostly the same data as their 2005 paper and saw an average tumor incidence before
80 weeks of 2.6% with a range of 0% to 14%. Based upon its flawed interpretation of the
Giknis and Clifford (2005) historical controls, EPA argues that the incidence of
concurrent controls in the study was low (it was 0%) and rejected the positive finding.
In fact, of the 26 animals in the 18-month control groups evaluated by Giknis and
Clifford (2005), eight (31%) had response of 0% and eight (31%) had only one tumor.


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and any adjustment against such a low background rate would reduce its adjusted p-
value considerably.
For the hemangiosarcomas in males, none of the 26 historical control groups examined
by Giknis and Clifford (2000) had hemangiosarcomas, making this a very rare tumor in
males prior to 80 weeks on study. The malignant lymphomas in males are statistically
significant against both the controls and the historical controls. Finally, there is clearly
an overall increase of malignancies in the males.
In summary, this study shows a positive result for kidney adenomas, malignant
lymphomas and hemangiosarcomas in male CD-1 mice, hemangiosarcomas in female
CD-1 mice and an overall increase in malignancies as a function of exposure in male CD-
1 mice. This study will be included in the overall evaluation of causation.


Kumar (2001)[83] exposed Swiss Albino mice to glyphosate (>95% purity) in feed for two
years. Fifty animals/group/sex were tested in four exposure groups (see Table 13).
The survival was decreased in the highest exposure group but this was not statistically
significant and there was no other data indicating the MTD was exceeded for this study.
Kidney adenomas (pTrend=0.062), malignant lymphomas (pTrend=0.102, pHist =0.070) in
male mice demonstrated marginal statistical significance and hemangiosarcomas
(pTrend=0.502) in male mice all demonstrated no statistical significance. In this study, not
all animals in the low- and mid- dose groups were evaluated for kidney tumors, so a
second analysis was done based on only the animals examined in these two groups
(pTrend=0.062). No historical control data was available for hemangiosarcomas and
kidney adenomas in Swiss Albino mice. For the malignant lymphomas, EFSA provided a
historical control data set showing a mean response of 46/250=0.184 (18.4%) with a
range of 6% to 30%. Using this historical control data, the trend is only marginally
significant (pHist=0.07). There is a statistically significant increase in the highest exposure
group pFisher=0.038. I have some concern that the responses at two of the doses are
outside of the historical control range and the third dose is at the upper limit of the
historical control range. However, this is a small historical control dataset for a tumor
with a relatively high background tumor rate, thus placing too much emphasis on this
historical control population is not warranted.
In summary, this study shows support for an increase for malignant lymphomas as a
function of exposure in male Swiss Albino mice. This study will be included in the
overall evaluation of causation.




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on carcinogenesis in the two-stage model in skin. This study addresses the question of
whether glyphosate is more likely to cause skin tumors through initiation (starting the
cancer process) or promotion (moving the process along after it starts). This study
supports the overall concept that glyphosate can have an impact on tumor incidence.
EPA[61] discounted this study because it included only 20 animals per group, tested only
males and did not conduct a histopathological analysis. It is hard to understand how
EPA could reject a positive finding using 20 mice; typically one would ignore a negative
study that had too few animals as not having sufficient statistical power to see an effect
but never reject positive findings for this reason. Also, 20 animals per group is common
for skin-painting initiation-promotion studies like the one presented here. Doing a study
in only males is not a reason to ignore the positive findings in a study. Finally, in
initiation-promotion studies of mouse skin, histopathological evaluation would be done
if one were interested in separating papillomas from carcinomas. It is highly unlikely
that the lesions seen in 40% of the DMBA/glyphosate treated mice were not papillomas
or carcinomas.
Some members of the EPA SAP noted[54] that the rodent data were consistent with
glyphosate acting as a tumor promoter but, because “[t]here has been no direct test of
this hypothesis (such as in a standard initiation-promotion bioassay)…,” this “conclusion
was speculative.” (page #). Because the EPA dismissed this study without any discussion,
the SAP did not recognize there was an initiation-promotion supporting a promotional
effect of glyphosate.
This study is included in the evaluation of causality as support for a promotional effect
of glyphosate on some tumors.
Joint Analysis
In their evaluation of the mouse studies, EPA[61] and EFSA[88] chose to challenge the
results in each study separately, dismiss the studies as showing no effect, and never
compared results across the various studies. In response to the evaluation done by the
IARC[30], EFSA[89] extracted the original data and did trend tests on kidney tumors,
malignant lymphomas and hemangiosarcomas in male mice in five of the mouse studies,
the same five studies I believe are acceptable for a causation analysis. Rather than
formally evaluate these cancer responses for consistency by pooling the data where
appropriate, EPA and EFSA simply produced a table with the responses for each dose
group in each study and concluded (subjectively) they were inconsistent. In addition,
EPA and EFSA argued that doses above 1000 mg/kg/day (there are only two of these)
were outside the range of what would be tested today under OECD guidelines and
should be excluded. I will now address both points.
In CD-1 mice, there are four useful animal carcinogenicity studies and one study in Swiss
Albino mice. As with the rats, consistency across studies can be addressed in two ways.
The first is by simply looking at the overall findings to evaluate where they agree or
disagree in terms of statistical significance. Table 14 summarizes the positive and
negative findings for all five cancers in which at least one study in CD-1 mice showed a
significant trend. It is clear that not every tumor shows a positive trend with glyphosate


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studies by Giknis and Clifford (2005) was 2% and in the control groups from 11 two-year
cancer studies, Chandra and Frith (1992)[100] saw only one animal out of 725 with a
kidney carcinoma. In 46 control datasets, Giknis and Clifford (2000) saw 39 control
groups with no adenomas, five with one adenoma and two with two adenomas; both
24-month studies saw two adenomas in the highest exposure group, a very rare finding.
To better illustrate, there are 16 groups of animals in the four studies. For any one
group, there is a 2/44 or 4.3% chance of getting a response 4% or larger. The chances of
randomly getting 3 or more such responses in 16 groups is 2.9% and the chances of two
of these being in any two of the four highest exposure groups is 0.01. In summary, the
strong finding in two of the four studies, the positive finding when all four studies are
pooled and the very low probability that this is due to chance when compared to
historical controls support the conclusion that glyphosate causes kidney tumors in male
mice.
For malignant lymphomas in males, pooling the two 18-month studies, Sugimoto (1997)
and Wood et al. (2009), results in a significant trend (pTrend=0.006, pHist=0.006). Pooling
the two 24-month studies, Knezevich and Hogan (1983) and Atkinson et al. (1993),
yields (pTrend=0.640, pHist=0.649). The main differences between these two findings is in
the control response; the pooled control response at 24 months is 6/99 (6%) versus
2/101 at 18 months (2%). This is expected since, in the absence of any exposure, tumor
rates increase as a function of age[5]. Giknis and Clifford (2000) show a control response
at 18 months of 4% and a control response at 24 months of 6% (matching the value for
the pooled studies). Pooling all four studies results in (pTrend=0.086, pHist=0.080).
However, the responses seen for malignant lymphomas in controls by Giknis and
Clifford (2000) show only one historical control group in twenty-six 18-month groups
with 10% or higher response. The responses at the high doses (10% and 12%) in the two
18-month studies are very unlikely to have arisen by chance. There are eight groups of
animals in the two studies. For any one group, there is a 1/26 or 3.8% chance of getting
a response of at least 10% based on the 26 control groups from Giknis and Clifford
(2000). The chances of getting two or more such responses in eight groups is 0.035 and
the chances of these being in three of the four highest exposure groups is 0.004. For the
24-month studies, the higher background rate makes it difficult to identify a small
change in incidence, thus the findings in the 24-month studies and the 18-month studies
are not inconsistent. In summary, the very strong findings in the 18-month studies, the
very strong positive findings when the two 18-month studies are pooled, the low
probability that the responses seen in the 18-month studies are due to chance, and the
increase in malignant lymphomas in the 18-month study in Swiss Albino mice[83] support
the conclusion that glyphosate causes malignant lymphoma in male mice.
For hemangiosarcomas in males, pooling the two 18-month studies results in a
significant trend (pTrend=0.015, pHist=0.002). Pooling the two 24-month studies yields
(pTrend=0.486, pHist=0.429). The main difference between these two findings is the 0/50
response in animals exposed at 4841 mg/kg/day in the study by Knezevich and Hogan
(1983). Removing this one exposure group in the pooled 24-month analysis yields
(pTrend<0.001, pHist<0.001). Pooling all four studies results in (pTrend=0.046, pHist=0.043).
No hemangiomas were seen in controls groups from twenty-six 18-month studies by


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Giknis and Clifford (2000) so the two hemangiosarcomas seen in the high dose group in
the study by Sugimoto (1997) are biologically very significant. For the 24-month
historical controls, only two out of 20 control groups had a response greater than 8%. In
summary, the very strong findings in the 18-month studies, the positive finding when all
four studies are pooled and the low probability that the responses seen in the 18-month
studies are due to chance support the conclusion that glyphosate causes
hemangiosarcomas in male CD-1 mice.
For hemangiosarcomas in females, pooling the two 18-month studies results in a
significant trend (pTrend=0.002, pHist<0.001). Data was available for only one of the two-
year studies and this study had (pTrend=0.439, pHist=0.376). Pooling all three studies
results in (pTrend=0.001, pHist=0.002). In 18-month historical controls, Giknis and Clifford
(2000) saw only one study in 26 studies with any response (2/49 or 4%). In the
Sugimoto (1997) study, the second highest dose had a response of 2/50 and the highest
dose had a response of 5/50; this cannot be due to chance. In summary, the very strong
findings in one 18-month study, the positive finding when all three studies are pooled
and the low probability that the responses seen in the Sugimoto (1997) study are due to
chance, support the conclusion that glyphosate causes hemangiosarcomas in female CD-
1 mice.
For lung adenocarcinomas in male CD-1 mice, pooling the two 18-month studies results
shows no significant trend (pTrend=0.155, pHist0.126). Pooling the two 24 month studies
yields (pTrend=0.989, pHist=0.993). Pooling all four studies results in (pTrend=0.731,
pHist=0.744). In summary, the moderate findings in one 24 month study, and the
negative finding when any studies are pooled suggest that the linkage between
glyphosate and lung adenocarcinomas in male CD-1 mice is due to chance.
The one study in Swiss Albino mice[83] was effectively negative for all endpoints except
malignant lymphomas where a significant tumor response was seen in the highest dose
group and the historical control evaluation produced a marginally significant finding
(pHist=0.07). Considering the findings for malignant lymphoma in CD-1 mice, glyphosate
appears to also cause malignant lymphomas in male Swiss Albino mice from the study of
Kumar (2001).
To summarize the findings in mice, glyphosate causes hemangiosarcomas, kidney
tumors and malignant lymphomas in male CD-1 mice and hemangiosarcomas in female
CD-1 mice after 18 months of exposure, kidney tumors in male CD-1 mice after 24
months exposure and probably malignant lymphomas in male Swiss albino mice. When
18-month and 24-month studies are pooled, there is a significant increase in
hemangiosarcomas in male and female mice and kidney tumors in male mice.
Discussion and Summary Animal Carcinogenicity Studies
As noted earlier, there has been a suggestion that using doses substantially larger than
1000 mg/kg/day exceeds the current limit dose set by the OECD. The only place in the
OECD guidance[66] that addresses a dose of 1000 mg/kg/day is in paragraph 23 which
reads:



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     “For the chronic toxicity phase of the study, a full study using three dose levels may
     not be considered necessary, if it can be anticipated that a test at one dose level,
     equivalent to at least 1000 mg/kg body weight/day, is unlikely to produce adverse
     effects. This should be based on information from preliminary studies and a
     consideration that toxicity would not be expected, based upon data from
     structurally related substances. A limit of 1000 mg/kg body weight/day may apply
     except when human exposure indicates the need for a higher dose level to be
     used.”
This language does not preclude the use of a dose exceeding 1000 mg/kg/day nor does
it advocate ignoring such doses when evaluating the results of an animal carcinogenicity
study. In fact, the reasons for excluding a dose in an animal carcinogenicity study are
clearly outlined in paragraph 90 within OECD guidance[59] and reads:
      “If the main objective of the study is to identify a cancer hazard, there is broad
     acceptance that the top dose should ideally provide some signs of toxicity such as
     slight depression of body weight gain (not more than 10%), without causing e.g.,
     tissue necrosis or metabolic saturation and without substantially altering normal
     life span due to effects other than tumours. Excessive toxicity at the top dose level
     (or any other dose level) may compromise the usefulness of the study and/or
     quality of data generated. Criteria that have evolved for the selection of an
     adequate top dose level include: (in particular) toxicokinetics; saturation of
     absorption; results of previous repeated dose toxicity studies; the MOA and the
     MTD.”
While one study has a slight decrease in body-weight gain, there are no indications in
any other studies of an exceedance in dose that would support ignoring the findings
from any exposure group.
EPA[33] uses a slightly different criteria to determine which dose to include or exclude
based on an earlier OECD document. These are spelled out in EPA’s guideline document
for carcinogenicity risk assessment[33]
     “Other signs of treatment-related toxicity associated with an excessive high dose
     may include (a) significant reduction of body weight gain (e.g., greater than 10%),
     (b) significant increases in abnormal behavioral and clinical signs, (c) significant
     changes in hematology or clinical chemistry, (d) saturation of absorption and
     detoxification mechanisms, or (e) marked changes in organ weight, morphology,
     and histopathology. It should be noted that practical upper limits have been
     established to avoid the use of excessively high doses in long-term carcinogenicity
     studies of environmental chemicals (e.g., 5% of the test substance in the feed for
     dietary studies or 1 g/kg body weight for oral gavage studies [OECD, 1981]).” As
     before, this applies to only one study presented in this review.
Both of these guidelines make good scientific sense. In the 12 acceptable rodent
carcinogenicity studies included in this evaluation, no study had sufficient toxicity at the
highest dose to justify removing the highest dose from the analysis. Hence, the analyses
presented here did not drop the doses >1000 mg/kg/day. This is also supported by one


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member of the EPA’s SAP[54].
Twenty chronic rodent carcinogenicity studies have been done using glyphosate as the
test compound. Eight of these studies are unacceptable for use in an evaluation of
causality leaving seven studies in rats and five studies in mice. Because of the large
number of evaluations done in an individual animal carcinogenicity study, there is
concern that the false-positive rates could be exaggerated. For example, if 20
evaluations are done and a finding is deemed significant if pTrend<0.05, then you would
expect that 20*0.05=1 evaluation would be positive simply due to chance.
The EPA asked the SAP to comment on its evaluation of glyphosate[61] at a meeting in
Washington, DC in December 2016[54]. Many comments were received from outside
experts at this meeting; one such set of comments came from Dr. J. K. Haseman
(2016)[108]. Haseman (2016) directly addressed the false-positive error rate and
concluded that the results seen in these studies were due to chance. He did this by
deciding how many evaluations were likely for each study (broken into sex-by-species
groups) and then aggregating the findings. He concluded that the effective number of
analyses were 10.5 in male mice, 15 for female mice, 21.5 for male rats, and 25.5 for
female rats. Haseman (2016) made two assumptions in his analysis that are not valid.
The first was that all of the possible trend tests had been done on all of the sites he
considered reasonable for such an evaluation. He identified eight positive findings.
However, EPA had not evaluated all of the sites nor had they considered doing a formal
analysis using historical control data. EPA identified eight sex/species groups that had at
most one positive tumor finding using the trend test with pTrend≤0.05. In Tables 1-14
above, I have identified 18 tumors with pTrend≤0.05 or pHist≤0.05 and 11 with pTrend≤0.01
or pHist≤0.01 (Table 15). Secondly, Dr. Haseman assumed one could aggregate all the
studies into one large analysis of Type-1 error. However, inference in these studies is
always made by sex/species/strain (e.g. glyphosate causes hemangiosarcomas in male
CD-1 mice; not glyphosate causes cancer in rodents), and the analysis should have been
done by grouping each separately. Table 15 shows these analyses as well as the
aggregated analysis for all of the acceptable studies.
With the exception of male Sprague-Dawley rats, the observed number of tumors are at
or near the expected number for the different sex/strain groups in rats (Table 15). For
male Sprague-Dawley rats, 0.8 cases with pTrend≤0.01 or pHist≤0.01 are expected and two
were observed (p=0.21). In female CD-1 mice and Swiss Albino mice, the expected and
observed numbers are approximately equal. However, in male CD-1 mice, there were
2.1 tumors expected for pTrend≤0.05 or pHist≤0.05 and eight were observed (p<0.001) and
there were 0.4 expected for pTrend≤0.01 or pHist≤0.01 and five were observed (p<0.001).
This clearly could not have occurred by chance alone. Even if one incorrectly groups all
sexes and species together, there are 4.6 expected responses for pTrend≤0.01 or
pHist≤0.01 and 11 observed (p=0.007). Thus, chance does not explain the positive results
seen in these studies.




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considered in toxicology because of a lack of replicate studies. This case is fairly unique
because of the larger number of studies available for analysis and requires a more
rigorous evaluation of the data such as the pooled analysis presented in this report.
Pooling of the data for the evaluation of replicate studies makes sense as it addresses
the question “Does the data as a whole support a finding of increased cancer incidence
in these studies?” Some toxicologists may argue that the studies are not replicates and
hence cannot be pooled. But if they are not replicates, then they cannot be compared
to see if there is consistency across the studies. This is because there may be some
subtle change from one study to another that leads to a positive finding in one study but
a negative finding in other studies. Thus, either the studies are not good replicates so
you cannot compare across studies and you cannot pool them, or they are good
replicates so you can compare across studies and you can pool them. There is no
argument that would support a comparison across studies that is appropriate when
pooling is inappropriate.
There were seven rat studies and five mouse studies that were of sufficient quality and
with sufficient details available for inclusion in this evaluation.
Glyphosate has been demonstrated to cause cancer in two strains of rats and one strain
of mice. Glyphosate causes hepatocellular adenomas in male Wistar rats and male
Sprague-Dawley rats, mammary gland adenomas and adenocarcinomas in female Wistar
rats and kidney adenomas in male Sprague-Dawley rats. Glyphosate causes
hemangiosarcomas, kidney tumors and malignant lymphomas in male CD-1 mice and
hemangiosarcomas in female CD-1 mice and possibly causes malignant lymphomas in
male Swiss albino mice. Thus, glyphosate causes cancer in mammals.


Mechanisms Relating to Carcinogenicity
Many human carcinogens act via a variety of mechanisms causing various biological
changes, taking cells through multiple stages from functioning normally to becoming
invasive with little or no growth control (carcinogenic). Hanahan and Weinberg
(2011)[109] identified morphological changes in cells as they progress though this
multistage process and correlated these with genetic alterations to develop what they
refer to as the “hallmarks of cancer.” These hallmarks deal with the entire process of
carcinogenesis and not necessarily with the reasons that cells begin this process or the
early stages in the process where normal protective systems within the cells remove
potentially cancerous cells from the body. While tumors that arise from a chemical
insult to the cell may be distinct from other tumors by mutational analysis, they all
exhibit the hallmarks as described by Hanahan and Weinberg (2011).
Systematic review of all data on the mechanisms by which a chemical causes cancer is
complicated by the absence of widely accepted methods for evaluating mechanistic
data to arrive at an objective conclusion on human hazards associated with
carcinogenesis. Such systematic methods exist in other contexts[110], but are only now
being accepted as a means of evaluating literature in toxicological evaluations[111-114].



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Genotoxicity
Genotoxicity refers to the ability of an agent (chemical or otherwise) to damage the
genetic material within a cell, thus increasing the risks for a mutation. Genotoxic
substances interact with the genetic material, including DNA sequence and structure, to
damage cells. DNA damage can occur in several different ways, including single- and
double-strand breaks, cross-links between DNA bases and proteins, formation of
micronuclei and chemical additions to the DNA.
Just because a chemical can damage DNA does not mean it will cause mutations. So,
while all chemicals that cause mutations are genotoxic, all genotoxic chemicals are not
necessarily mutagens. Does that mean that the genotoxicity of a chemical can be
ignored if all assays used for identifying mutations in cells following exposure to a
chemical are negative? The answer to that question is no and is tied to the limitations in
tests for mutagenicity (the ability of a chemical to cause mutations in a cell). It is
unusual to see an evaluation of the sequence of the entire genome before exposure
with the same sequence after exposure to determine if the genome has been altered
(mutation). There are assays that can evaluate a critical set of genes that have
previously been associated with cancer outcomes (e.g. cancer oncogenes), but these are
seldom applied. In general, mutagenicity tests are limited in the numbers of genes they
actually screen and the manner in which these screens work.
Because screening for mutagenicity is limited in scope, any genetic damage caused by
chemicals should raise concerns because of the possibility of a mutation arising from
that genetic damage. In what follows, I will systematically review the scientific findings
available for evaluating the genotoxic potential of glyphosate. This will be divided into
six separate sources of data based on the biological source of that data: (1) data from
exposed humans, (2) data from exposed human cells in a laboratory setting, (3) data
from exposed mammals (non-human), (4) data from exposed cells of mammals (non-
human) in the laboratory, (5) data from non-mammalian animals and others, and (5)
data from cells from non-mammalian animals and others. These six areas are based
upon the priorities one would apply to the data in terms of impacts. Seeing genotoxicity
in humans is more important than seeing genotoxicity in other mammals, which is more
important than seeing genotoxicity in non-mammalian systems. In addition, seeing
genotoxicity in whole, living organisms (in vivo) carries greater weight than seeing
responses in cells in the laboratory (in vitro). Basically, the closer the findings are to
real, living human beings, the more weight they should be given.
The data being included in this review come from the peer-reviewed scientific literature,
the summaries of reports in regulatory documents that are proprietary and for which I
have limited access to the original work, and reports from industry that are proprietary
to which I have been given greater access. All of these studies are included in the
overall evaluation of causation.
Genotoxicity in Humans in-vivo
Three studies have evaluated the potential genotoxicity of glyphosate formulations in
exposed humans. Paz-y-Miño et al. (2007)[115] analyzed the blood of 24 exposed


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individuals (living within 3 kilometers of spraying) and 21 unexposed individuals (living
80 kilometers away from the spraying area) for DNA damage using the comet assay. All
study subjects were from Ecuador and none of the controls or exposed individuals
smoked, drank alcohol, took non-prescription drugs or had been exposed to pesticides
during the course of their normal daily lives. Exposed and control individuals did some
cultivating and harvesting but without pesticides or herbicides. Exposed individuals
were analyzed within two months of spraying for the eradication of plants associated
with illegal narcotics. An average of 200 cells per person were ranked between 0-400
depending on the amount of DNA in the comet’s tail in order to calculate the mean
amount of DNA damage. There was a significant difference between the mean total
migration level of exposed individuals to controls (p<0.001). Data was given for each
individual classified into five groups based upon the amount of DNA in the comet’s tail.
There was clearly a shift in the distribution of DNA in cells with the controls never seeing
scores in the top two categories while all but three exposed had some scores in the top
two categories. In essence, some of the DNA had been fragmented by the exposure.
In a second study by the same group, Paz-y-Miño et al. (2011)[116] evaluated the
karyotypes (the chromosome count of the individuals and any alterations to the
chromosomes as seen under a microscope) of 92 people living in 10 communities in
northern Ecuador. Controls were from areas without spraying and both controls and
exposed subjects had no history of exposure to smoking or other genotoxic compounds.
This study saw no changes between controls and exposed subjects for 182 karyotypes
evaluated.
Bolognesi et al. (2009)[117] studied women of reproductive age and their spouses in five
areas of Colombia, four of which are subject to spraying for either narcotics control or
sugar cane growing. There were 60 subjects from the Santa Marta area (organic coffee
is grown without the use of pesticides), 52 from Boyaca (manual spraying for illicit
drugs), 58 from Putumayo (aerial spraying for illicit drugs using a glyphosate
formulation), 63 from Nariño (same exposure as Putumayo) and 28 from Valle del Cauca
(aerial spraying of Roundup 747 (74.7% glyphosate) without additional adjuvant for
sugar cane maturation). All subjects were interviewed with a standardized
questionnaire designed to obtain information about current health status, health
history, lifestyle and potential exposure to possible confounding factors (smoking, use of
medicinal products, severe infections or viral diseases during the last six months, recent
vaccinations, presence of known indoor/outdoor pollutants, exposure to diagnostic x-
rays, and previous radio- or chemotherapy). In Santa Marta, blood samples were taken
once, during the initial interview. In Boyaca, blood samples were taken at the initial
interview and 1 month later. In Nariño, Putumayo and Valle del Cauca, blood samples
were taken at the initial interview, within five days after spraying and 4 months later. In
lymphocytes, binucleated cells with micronuclei (BNMN) were lowest in Santa Marta
and similar in the four exposed regions prior to exposure. Statistically significant
increases in BMNM in Nariño, Putumayo and Valle del Cauca were seen between first
and second sampling. The mean BNMN in Nariño and Putumayo was greater in
respondents who self-reported direct contact with sprayed fields, but differences were
not statistically significant. Multiple linear regression demonstrated statistically


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significant increases in BMNM in all four exposed regions post exposure when compared
to pre-exposure and controlling for all other variables (p<0.001). The largest total
change in mean BMNM values pre-exposure compared to immediate post exposure
occurred in Valle del Cauca where spraying is done using Roundup with no additional
adjuvant.
Kier (2015)[118] identified 16 additional studies of pesticide use that included some
exposure to glyphosate. Eleven of the 16 studies demonstrated some degree of
genotoxicity in the human populations studied but did not adequately attribute the
exposure primarily to glyphosate so they are not included in this review.
In summary, two of the three studies in which genotoxicity endpoints were evaluated in
humans in areas with exposure to glyphosate spraying showed statistically increased
changes in DNA damage in blood. In the strongest study, in three areas where
chromosomal damage (micronuclei) was examined in individuals pre- and post-spraying
(<5 days) showed statistically significant increases. In one other area where post-
exposure damage was measured one month after exposure, there was little change.
Genotoxicity in Human Cells (in vitro)
Studies have explored the in vitro genotoxicity of glyphosate using a variety of different
cell types (lymphocytes, fibroblasts, and immortalized cells from cancers of the larynx,
mouth, blood and liver) using several different assays for markers of genotoxicity with
or without metabolic activation.
Mladinic et al. (2009)[119] induced DNA strand breaks (comet assay) from exposure to
glyphosate (purity not given) in lymphocytes from three healthy human donors
(questionnaire used to exclude genotoxic exposures) at concentrations of 3.5, 92.8 and
580 µg/ml with S9 activation and saw effects at only the highest doses for cells without
S9 activation.
Alvarez-Moya et al. (2014)[120] conducted a similar study using lymphocytes from
human volunteers (questionnaire used to exclude genotoxic exposures) and exposure to
glyphosate (96% purity) at concentrations of 0.12, 1.2, 12 and 120 µg/ml. A significant
increase in DNA strand breaks (comet assay) was seen for all exposure groups with a
clear dose-response relationship without metabolic activation (metabolic activation was
not tested).
Using human HEP-2 cells, Manas et al. (2009)[121] induced DNA damage (comet assay) by
glyphosate (96% pure) at all concentrations ranging from 676 µg/ml to 1270 µg/ml (no
S9 activation tested). Cell viability at the highest concentration was below 80% and
values at the other concentrations were not given.
Monroy et al. (2005)[122] induced significant DNA damage (comet assay) in fibroblast GM
38 cells at concentrations of glyphosate (technical grade, purity not given) ranging from
676 µg/ml to 1000 µg/ml with a clear dose-response pattern. Over this same
concentration range, they also saw concentration-dependent decreases in cell viability
at all doses making the comet assay results difficult to interpret. In a similar analysis in
the same paper, using fibrosarcoma HT1080 cells, they also saw concentration-


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dependent DNA damage and loss of cell viability. Activation by S9 was not used in either
experiment.
Lueken et al. (2004)[123] induced DNA damage (comet assay) in fibroblasts GM 5757 at a
concentration of glyphosate (98.4% purity) of 12,680 µg/ml in combination with
exposure to 40 or 50 mM H2O2. Activation by S9 was not used in this experiment.
According to the authors, cell viability at this exposure level was above 80%.
Koller et al. (2012)[124] significantly induced DNA damage (comet assay) in human TR146
cells (buccal carcinoma cells) from exposure to glyphosate (>95% purity) in a dose-
dependent fashion at concentrations of 20 and 40 µg/ml. Above 40 µg/ml, there was a
significant increase in tail intensity relative to controls, but the actual amount increased
did not change as the dose increased (plateau). Using Roundup (Ultra Max) the authors
saw virtually the same level of DNA damage at 20 and 40 µg/ml, but the concentration
response continued to increase above that exposure. These experiments did not use S9
activation. They also used the CBMN assay in the same system to evaluate the total
number of micronuclei in binucleated cells (MNI), the number of binucleated cells with
micronuclei (BN-MNI), the number of nuclear buds (NB) and the number of
nucleoplasmic bridges (NPB) caused by glyphosate and Roundup exposure. Two
endpoints (NB, NPB) had significant increases at concentrations of 10, 15 and 20 µg/ml
and two (MNi, BN-MNi) were significantly elevated for concentrations of 15 and 20
µg/ml. Equivalent Roundup exposures resulted in significant increases in all four
measures of DNA damage at 10, 15 and 20 µg/ml. The results for the Roundup were
greater than for glyphosate alone.
Gasnier at al. (2009)[125] exposed cells from the hepatoma cell line HepG2 to glyphosate
(purity not given) and four glyphosate formulations. Only one glyphosate formulation
was tested for DNA damage (comet assay) and they saw significant effects at equivalent
concentrations of 0.05 µ/ml to 4 µg/ml of glyphosate (p-values not given). No p-values
are provided and presentation of the results does not provide a clear means to compare
these results with other studies. This study will not be used in the evaluation.
Manas et al. (2009)[121] obtained human blood samples from three healthy, non-
smoking women and three healthy men with no history of pesticide exposure.
Lymphocytes were cultured with glyphosate (96% purity) at concentrations of 34, 203,
and 1015 µg/ml with no statistically significant changes in chromatid breaks,
chromosome breaks, chromatid gaps, chromosome gaps, dicentrics, acentric fragments,
or endoreduplication.
Mladinic et al. (2009)[126] used blood from three non-smoking, healthy volunteers to
evaluate the formation of micronuclei, nuclear buds and nucleoplasmic bridges as a
function of exposure to glyphosate (98% purity). Significant changes in micronuclei
were seen following exposure to glyphosate at 92.8 and 580 µg/ml in S9 activated cells,
but not those without metabolic activation. Changes in nuclear buds were seen at 580
µg/ml for both S9 activated and non-activated cells while significant changes in
nucleoplasmic bridges were seen only at 580 µg/ml in S9 activated cells. This study
contained a positive control (ethyl methanesulfonate at 200 µg/ml) which was also


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negative in all assays, many times showing effects below that seen for glyphosate.
Bolognesi et al. (1997)[127] obtained blood from two healthy female donors and exposed
it to glyphosate (99.9% purity) or a Roundup formulation (30.4% glyphosate). At
concentrations of 1000, 3000 and 6000 µg/ml of glyphosate and at 100 and 330 µg/ml
of glyphosate formulation, significant changes in sister chromatid exchanges (SCEs) were
seen. At 330 µg/ml, a non-significant increase in SCEs was seen for glyphosate alone
that was approximately 20% below that seen for an equivalent glyphosate exposure
from the Roundup formulation. This study did not consider S9 activation.
Lioi et al. (1998)[121, 128] obtained blood from three healthy donors and exposed it to
glyphosate (>98% purity). At concentrations of 1.4, 2.9, and 8.7 µg/ml of glyphosate,
significant changes in sister chromatid exchanges (SCEs) and chromosomal aberrations
were seen. This study did not consider S9 activation.
Vigfusson and Vyse (1980)[129] exposed cultured human lymphocytes from two people
to Roundup (% glyphosate unknown) at concentrations of 250, 2500 and 25000 µg/ml.
Results for the highest concentration were not provided due to lack of cell growth in
culture. SCEs were shown to be significantly increased for the remaining two
concentrations in one donor and only for the lowest concentration in the other. While
the relative SCE counts seen in this paper are similar to those from Bolognesi et al.
(1997), the absolute counts in the controls are roughly three times higher in this study.
This study did not consider S9 activation.
Genotoxicity in Non-Human Mammals (in vivo)
Bolognesi et al. (1997)[127] exposed groups of three Swiss CD-1 male mice by
Intraperitoneal (IP) injection with a single dose of glyphosate (99.9% purity, 300 mg/kg)
or Roundup (900 mg/kg, equivalent to 270 mg/kg glyphosate). Animals were sacrificed
at four and 24 hours after injection and livers and kidney were removed to obtain crude
nuclei from the adhering tissues. Both tissues demonstrated significant increases in DNA
single-strand breaks (p<0.05) at four hours for both glyphosate and Roundup with no
discernable difference between the responses. At 24 hours, the presence of strand
breaks was reduced and no longer statistically significant from controls.
Peluso et al. (1998)[130] exposed groups of six (controls, lowest doses of glyphosate-salt
and Roundup) or three Swiss CD-1 mice (males and females, specific numbers not
specified, liver and kidney tissues combined for analysis) to the isopropylammonium salt
of glyphosate or Roundup (30.4% isopropylammonium salt of glyphosate) for 24 hours.
DNA adducts (32P-DNA post labeling) were not evident in mice exposed to the
glyphosate-salt alone in either liver or kidney, but were present in liver and kidney at all
tested doses of Roundup showing a dose-response pattern.
Rank et al. (1993)[131] exposed male and female NMRI mice (three to five per sex) to
glyphosate isopropylamine salt (purity not specified) and Roundup (480 g glyphosate
isopropylamine salt per liter) by intraperitoneal injection. After 24 or 48 hours (only 24
hours for Roundup), polychromatic erythrocytes from bone marrow were extracted and
micronuclei counted from a sample of 1000 cells. No significant increases were seen for



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any concentration in glyphosate-exposed animals (100, 150 and 200 mg/kg) or
Roundup-exposed animals (133 and 200 mg/kg glyphosate equivalent dose). The
positive controls, while not statistically significant, showed an increase in micronuclei.
Bolognesi et al (1997)[127] exposed groups of three, four or six male Swiss CD-1 mice to
glyphosate (99.9% purity) and Roundup (30.4% glyphosate) by intraperitoneal injection
in two equal doses given 24 hours apart. After six or 24 hours following the last
exposure, polychromatic erythrocytes from bone marrow were extracted and
micronuclei counted from a sample of 1000 cells. Mice given two doses of 150 mg/kg of
glyphosate showed a non-significant increase in micronuclei at 6 hours and a significant
increase at 24 hours. In contrast, mice given two doses of 225 mg/kg glyphosate
equivalent of Roundup showed a significant increase in micronuclei at both six and 24
hours. The relative differences in mean absolute increase (subtract mean response in
controls) in micronucleii between glyphosate and Roundup at 24 hours was 3.6 whereas
the relative difference in glyphosate equivalent dose was 1.5 indicating a greater effect
of the glyphosate formulation.
Manas et al. (2009)[121] exposed groups of male and female Balb C mice (group size not
given, tissues combined for analysis) to glyphosate (96% purity) by intraperitoneal
injection in two equal doses given 24 hours apart. Twenty-four hours post exposure,
polychromatic erythrocytes from bone marrow were extracted and micronuclei counted
from a sample of 1000 cells. No significant increases were seen at doses of 50 mg/kg
and 100 mg/kg in glyphosate-exposed animals but a significant increase was seen at 400
mg/kg. The positive controls showed a statistically significant increase in micronuclei
(roughly three times the control rate).
Dimitrov et al. (2006)[132] exposed groups of eight male C57BL mice (tissues combined
for analysis) to Roundup (41% glyphosate) via gavage at a dose of 1080 mg/kg. At 6, 24,
72, 96, or 120 hours post exposure, polychromatic erythrocytes from bone marrow
were extracted and micronuclei counted from a sample of 4000 cells (500 per animal).
No significant increases were seen. They also looked for chromosomal damage in these
animals and saw no significant increases. The positive controls showed a statistically
significant increase in micronuclei.
Prasad et al. (2009)[133] exposed groups of 15 male Swiss CD-1 mice to Roundup (30.4%
glyphosate) by IP injection at doses of 25 and 50 mg/kg. At 24, 48 or 72 hours post
exposure, polychromatic erythrocytes from bone marrow were extracted and
micronuclei counted from a sample of 2000 cells per animal, five animals per sacrifice.
Micronucleii counts were significantly increased (p<0.05) at all doses at all times relative
to controls. In addition, the number of cells with chromosomal aberrations was
significantly increased for all doses at all times. The control rate of micronuclei was
similar to that of Bolognesi et al. (1997), but about 50% greater response for a dose that
was approximately 10 times smaller.
Grisolia et al. (2002)[134] exposed groups of Swiss mice (sex and sample size not given) to
Roundup (480 g glyphosate isopropylamine salt per liter) by IP injection at doses of 50,
100 and 200 mg/kg Roundup in two doses separated by 24 hours. At 24 hours post


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exposure, polychromatic erythrocytes from bone marrow were extracted and
micronuclei counted from a sample of 2000 cells per animal. Micronuclei counts were
not increased at any dose. This exposure appears to be the same formulation of
Roundup used in the study by Rank et al. (1993) which was also negative.
Coutinho do Nascimento and Grisolia (2000)[135] exposed groups of six male mice (strain
not given) to Roundup (% glyphosate not given) by IP injection at doses of 50, 100 and
200 mg/kg in two doses separated by 24 hours. At 24 hours post exposure,
polychromatic erythrocytes from bone marrow were extracted and micronuclei counted
from a sample of 1000 cells per animal. A significant increase in micronuclei were seen
at a dose of 85 mg/kg. No increase was seen at 42 or 170 mg/kg.

Cavusoglu et al. (2011)[136] exposed groups of six Swiss albino mice by IP injection with a
single dose of glyphosate formulation (RoundupUltra Max, 450 g/l glyphosate, 50 mg/kg
glyphosate equivalent dose). Animals were sacrificed at three days after injection.
Micronuclei in normochromatic erythrocytes were counted from a sample of 1000 cells
per animal. There was a significant increase in micronuclei in erythrocytes (p<0.05). G.
bilboa eliminated these effects.
Chan and Mahler (1992)[137] exposed groups of 10 male and female B6C3F1 mice to
glyphosate (98.6% purity) in feed at doses of 0, 507, 1065, 2273, 4776, and 10780 mg/kg
in males and 0, 753, 1411, 2707, 5846, and 11977 mg/kg in females for 13 weeks. At
sacrifice, polychromatic erythrocytes from peripheral blood were extracted and
micronuclei counted from a sample of 10,000 cells. No significant increases were seen
at any of the tested doses.
Li and Long (1988)[138] exposed groups of 18 male and female Sprague-Dawley rats to
glyphosate (98% purity) by IP injection at a dose of 1000 mg/kg. At 6, 12 and 24 hours
post treatment, 6 animals of each sex were sacrificed and polychromatic erythrocytes
from bone marrow were extracted and micronuclei counted from a sample of 50 cells
per animal. The percentage of cells with chromosomal aberrations was not increased at
any time point following exposure.
Genotoxicity in Non-Human Mammalian Cells (in vitro)
Li and Long (1988)[138] incubated Chinese hamster ovary cells (CHO-K1BH4) with
glyphosate (98% purity) for three hours at concentrations of 5, 10, 50 and 100 mg/ml.
Cells were then plated using 200 cells per sample in triplicate and incubated for 8-12
days. Colonies were then counted and results expressed as mutant frequency. No
positive results were seen in any experimental group with or without S9 activation. It is
not clear why there is such a large difference in the incubation times in the various
groups in this experiment, nor is it clear which groups incubated longer. In a second
study in the same publication, non-induced primary rat hepatocytes (Fischer 344) were
incubated with seven concentrations of glyphosate (12.5 ng/ml to 125 µg/ml) for 18-20
hours. No significant increases were seen for net grains per nucleus at any exposure
concentration. There was a four-fold increase in the lowest exposure groups relative to
controls and then every other treated group was below the control response. This is a


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very unusual finding and could be due to the way in which the data is adjusted for net
grains in cytoplasm. The authors calculated net grains per nucleus by subtracting the
highest cytoplasmic count from the nuclear count; if cytoplasmic count is increased by
glyphosate this could bias the findings making any increase in nuclear count disappear.
No data is provided to resolve this issue.
Roustan et al. (2014)[139] incubated Chinese hamster ovary cells (CHO-K1) with
glyphosate (purity not provided) for three hours at concentrations of 2, 5, 10, 15, 17.5,
20, and 22.5 mg/ml. Cells were then plated using 200 cells per sample in triplicate and
incubated for 24 hours. For each exposure concentration, 2000 bi-nucleated cells were
examined for micronuclei. No positive results were seen in any experimental group
without S9 activation but the four highest exposure groups were significant with a clear
concentration-response pattern when S9 activation was present.
Lioi et al. (1998)[128] exposed lymphocytes from three unrelated healthy cows to
glyphosate (>98% purity) for 72 hours to concentrations of 3, 14.4 and 28.7 µg/ml
without S9 activation. Chromosomal aberrations scored from 150 cells were
significantly increased (P<0.05) for all exposure concentrations of glyphosate with a
clear concentration-response pattern. Similarly, SCEs per cell were increased at all
concentrations (p<0.05) but no concentration response pattern was evident.
Sivikova and Dianovsky (2006)[140] exposed lymphocytes from two healthy young
bovine bulls to glyphosate formulation (62% glyphosate) for 2, 24 and 48 hours using
concentrations of 4.7, 9.5, 23.6, 47.3, 94.6 and 190 µg/ml without S9 activation.
Chromosomal aberrations scored from 100 cells were not significantly increased
(P<0.05) without S9 activation for any 24-hour exposure concentration of glyphosate (2-
and 48-hours exposures were not done). SCEs per cell were increased at all 24-hour
exposure concentrations (p<0.05) except the lowest concentration. At 48-hours,
significant increases of SCEs per cell were seen at concentrations at or above 47.3 µg/ml
(2-hour exposures were not done). Finally, after two hours of exposure with S9
activation, significant effects were seen at 5 and 10 µg/ml but not at 15 µg/ml (24- and
48-hour exposures were not done for S9 activation).
Holeckova (2006)[141] exposed lymphocytes from two healthy young bovine bulls to
glyphosate formulation (62% glyphosate) for 24 hours to concentrations ranging from
28 to 1120 µmol/L without S9 activation. A significant increase in polyploidy was
observed at 56 µmol/L, all other comparisons were without significance. However, this
one finding cannot be easily dismissed because all exposure groups above this
concentration had too few cells for evaluation. This study did not consider S9
activation.
Genotoxicity in Non-Human Systems (in vivo and in vitro)
Four studies[120, 142-144] in fish have seen positive results for genotoxicity (DNA strand
breaks, different assays) following exposure to glyphosate. In addition, one study[145] in
oyster sperm and embryos exposed to glyphosate saw no increase in DNA damage
(comet assay) and one study[146] in two strains of Drosophila melanogaster showed an
increase in mutations (wing spot test) at the higher doses of exposure.


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Fourteen studies[134, 142, 144, 147-157] in multiple fish species evaluated the relationship
between various glyphosate formulations and genotoxicity with all studies showing
positive results for various endpoints (DNA strand breaks, micronucleus formation, and
chromosomal aberrations). Two of the studies[147, 149] were negative for micronucleus
formation after exposure to glyphosate formulations and one of these[147] was also
negative for chromosomal aberrations but both were positive in other markers of
genotoxicity. Two studies[158, 159] demonstrated genotoxicity (DNA strand breaks,
micronuclei) in caiman from in-vivo exposure to a glyphosate formulation. Three
studies[160-162] demonstrated genotoxicity (DNA strand breaks, micronucleus formation)
in frogs or tadpoles from exposure to glyphosate formulations. One study[145] in oyster
sperm and embryos, one study[163] in clams and one study[164] in mussels exposed to a
glyphosate formulation saw no increase in DNA damage (comet assay). One study[165] in
snails saw increased DNA damage (comet assay) following exposure to a glyphosate
formulation. Two studies[166, 167] in worms saw mixed results for DNA damage (comet
assay) with one of these studies[166] showing a positive result for micronucleus
formation. One study[168] in Drosophila melanogaster showed an increase in sex-linked
recessive lethal mutations.
In the published literature, five studies evaluated the impact of glyphosate in in vitro
systems. Two of these studies[169, 170] looked at genotoxicity of glyphosate in
combination with UVB radiation and saw significant increases in DNA strand breaks
(FADU assay) in bacteria without metabolic activation. One study[171] in eukaryote fish
saw a significant increase in DNA strand breaks (comet assay) without S9 activation.
Another study[138] showed no increase in reverse mutations in two strains of bacteria
with and without S9 activation.
Williams et al. (2000)[172] summarized the literature regarding the use of reverse
mutation assays in S. typhimurium (Ames Test). Four studies using glyphosate and five
studies of glyphosate formulations were all negative. They cited one study[131] of a
glyphosate formulation that was positive with S9 activation and negative without S9
activation. However, this study was positive with S9 activation in TA100 cells, negative
with S9 activation in TA98 cells, negative without S9 activation for TA100 cells and
positive without activation for TA98 cells. They also summarized two studies of
glyphosate in e. coli that were negative with and without activation.
Two additional studies[138, 173] of glyphosate using reverse mutation assays are available
from the scientific literature, both of which are negative.


Regulatory Studies
EFSA[88] cited 14 reverse mutation assays in S. typhimurium (Ames Test), most of which
were tested in strains TA 98, 100, 1535, 1537 (Table B.6.4-1). All 14 studies are listed as
negative by EFSA. Actual data is provided for only one of the 14 studies and this study is
clearly negative. EPA[61] cited 27 reverse mutation assays in S. typhimurium (Ames Test),
most of which were tested in strains TA 98, 100, 1535, 1537 (EPA Table 5.1). All 27
studies are listed as negative. No data is provided for any of the studies. Kier and


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Kirkland (2013)[174] cited results from 18 bacterial reverse mutation assays of glyphosate
and 16 of glyphosate formulations. Tabulated results and background information were
provided for all 34 studies. Six studies of glyphosate alone demonstrated positive
findings in one or more groups.
EFSA[88] cites three studies of gene mutations in mammalian cells, all of which are listed
as negative (EFSA Table B.6.4-5), two use the mouse lymphoma assay, and one uses the
Chinese hamster ovary cell/hypoxanthine-guanine phosphoribosyl transferase
(CHO/HGPRT) mutation assay. EPA[61] cites four studies, three of which appear to be the
same as those cited by EFSA (EPA Table 5.2) and the fourth is another mouse lymphoma
assay. All four are listed as negative. Kier and Kirkland (2013)[174] cite two of the mouse
lymphoma studies and provide tabulated data. Neither study shows any indication of a
statistically significant increase in mutation frequency at the thymidine kinase locus of
L5178 mouse lymphoma tk(+/-) cells.

EFSA[88] cites one in vitro study of DNA damage and repair in mammalian cells which is
listed as negative (EFSA Table B.6.4-6). This study is of unscheduled DNA synthesis (UDS
assay) in primary rat lymphocytes. They also list five studies of chromosome aberrations
(EFSA Table B.6.4-8), which are characterized as negative. Two studies are in human
lymphocytes and two are in Chinese hamster lung (CHL) cells. Data for one of the
studies in CHL is provided in tabular form and is clearly negative. EPA[61] cites eight in
vitro studies of chromosome aberrations in mammalian cells (EPA Table 5.3); two of
these studies match studies in the EFSA report. Four of the studies are from the
literature[121, 128, 140, 175] and are reviewed above. Surprisingly, EPA refers to the study by
Manas et al. (2009)[121] as negative although it was clearly positive in the comet assay.,
Additionally, EPA refers to the study by Sivikova and Dainovsky (2006)[140] as negative
even though they saw clear effects of glyphosate on SCEs. Basically, all four of the
literature studies cited by EPA are positive yet EPA lists only two of the four as positive.
The remaining four studies are noted as negative; however, no data is supplied for these
studies. Kier and Kirkland (2013)[174] cites eight literature studies (all reviewed above)
and three regulatory studies with glyphosate exposure. The three regulatory studies are
listed as negative, and the data are available as a table in the supplement material to
Kier and Kirkland (2013); these studies are negative at all tested concentrations in CHL
cells; one matches the study data provided by EFSA[88].
EFSA[88] cites nine micronucleus assays, three in Swiss Albino mice, two in NMRI mice,
two in CD-1 mice, one in Sprague-Dawley rats, and one in CD rats (EFSA Table B.6.4-12).
They list one study in Swiss Albino mice as weakly positive in males, one study in CD-1
mice as positive at the highest dose (data for this study is provided) and all other studies
as negative. They discard one study with low doses in male Swiss mice, but the tables
provided for this study show a clearly significant result at the highest dose used (30
mg/kg) and clear dose-response. They provide data for two of the negative studies
which indicate these studies were indeed negative. EPA[61] (EPA Table 5.5) cites 20
micronucleus assays, four are available in the scientific literature and three are reviewed
above (the fourth reference[176] was unavailable to me at the time of preparation of this
report). The remaining 16 studies include six studies in Swiss Albino mice, four studies


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in CD-1 mice, three studies in NMRI mice, two studies in Sprague-Dawley rats and one
study in Wistar rats. Since EFSA does not provide names associated with their
micronucleus studies, I cannot determine if any of the studies cited by the EPA are the
same as those cited by EFSA. EPA lists two of the literature studies as positive and two
as negative (matching my reviews for the three studies I have access to) and all but one
of the regulatory studies as negative (the one positive study was in Swiss-Albino mice).
Kier and Kirkland (2013)[174] cite 12 regulatory micronucleus assays of glyphosate and
provide data tables for all 12. All 12 of these studies are cited by EPA. Kier and Kirkland
(2013) list 11 studies as negative and one as inconclusive. However, four of the studies
show positive effects in at least one sex-by-treatment group. One of these four studies
they list as inconclusive and the remaining three studies are determined to be negative
because the response is within the range of the historical controls. As was discussed for
the animal carcinogenicity studies, the correct group to use is the concurrent control.
Kier and Kirkland (2013)[174] also cite 12 regulatory studies and three literature studies
where animals are exposed to a glyphosate formulation. Two of the literature studies
are reviewed above and the remaining study[176] was unavailable. Data for the 12
regulatory studies are all provided in tables by Kier and Kirkland (2013) and show two
positive studies in CD-1 mice and negative studies for the remaining 10.
Summary for Genotoxicity
This is a complicated area from which to draw a conclusion due to the diversity of the
studies available (there are multiple species, multiple strains within a species, multiple
cell types from multiple species, differing lengths of exposure, differing times of
evaluation after exposure, differing exposures, numerous markers of genotoxicity, and
finally both glyphosate and multiple different glyphosate formulations). There are three
studies that evaluate the genotoxicity of glyphosate in humans directly, 36 experiments
in eight strains of mice, three studies in rats, nine studies in human lymphocytes and
four studies in other human cells, 12 studies in non-human mammalian cell lines (two
using mouse cells, five using hamster cells, two using rat cells and three using cells from
cows), a large number of studies in a wide variety of non-mammalian species, and a
plethora of studies, mostly identical, in bacteria.
Some conclusions are straightforward”; glyphosate does not appear to cause reverse
mutations for histidine synthesis in Salmonella typhimurium, regardless of whether
these reverse mutations are due to frameshift mutations or point mutations. I am
cautious in this determination because there were several studies with positive results,
but no clear pattern is evident. There is ample evidence supporting the conclusion that
glyphosate formulations and glyphosate can cause genotoxicity in non-mammalian
animal species. This clearly indicates that both glyphosate and the formulations are
able to cause injury to DNA. So while findings of genotoxicity in these species do not
speak directly to the hazard potential in humans, they do support a cause for concern.
The more important studies are those that have been done using mammalian systems,
human cells and direct human contact. Table 16 summarizes these studies in a simple
framework that allows all of the experimental data to be seen in one glance. This table
does not address the subtlety needed to interpret any one study, but simply


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demonstrates when a study produced positive versus negative results.
Clearly, for in vitro evaluations in human cells, the majority of the studies have produced
positive results. There was only one regulatory study evaluating glyphosate genotoxicity
in human lymphocytes from healthy volunteers and that study was negative. The study
was not significantly different from the other six studies in this category, five of which
produced positive results. The majority of these studies used either the comet assay (a
simple way for measuring any type of DNA strand break) or methods that counted
specific types of strand breaks in the cells (e.g. SCEs, micronuclei, nuclear buds and
nucleoplasmic bridges). From these assays, we can conclude there is DNA damage. For
glyphosate formulations, there are only three studies in humans in vivo, two of which
were positive.
The magnitude of the concentrations used in these studies could potentially lead to
false positives if the glyphosate is causing cytotoxicity in the cells. All six studies using
the comet assay were positive with no study showing a negative response below 10
µg/ml and mixed results below that with positive results at 0.12 and 3.5 µg/ml and
negative results at 2.91 and 10 µg/ml. In general, the comet assays provide strong
support for genotoxicity.
The four studies that directly addressed specific types of strand breaks in cells following
exposure to glyphosate showed markedly different responses across the various
concentrations used. Manas et al. (2009) saw no changes in chromatid breaks,
chromosome breaks, chromatid gaps, chromosome gaps, dicentrics, acentric fragments
or endoreduplication over the range of concentrations 3.4-1015 µg/ml. In contrast, Lioi
et al. (1998) saw changes in SCEs over concentrations ranging from 1.4 to 8.7 µg/ml.
Both studies were done in lymphocytes from volunteers. Mladinic et al. (2009) saw
significant changes in micronuclei above 92.8 µg/ml and Bolognesi et al. (1997) saw
positive changes in SCEs above 1000 µg/ml but not at 330 µg/ml. While changes have
been seen in three of the four studies, the actual concentrations in which the changes
are seen is not consistent across studies. I conclude that glyphosate causes DNA strand
breaks, which is indicative of genotoxicity.
The micronucleus assays in rodents examining glyphosate genotoxicity are either all
positive in one strain or all negative in one strain with the exception of the three studies
in CD-1 mice and four studies in Swiss Albino mice. For the positive studies, we can ask
the question of whether, in this strain, the actual number of micronuclei are consistent.




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Table 17: Summary of in vivo and in vitro genotoxicity studies of glyphosate and
glyphosate formulations in mammals1
    In vivo or in       Species           Cell type or           Glyphosate2                   Glyphosate
        vitro                               tissue                                           Formulations
                                                              Number      Number           Number      Number
                                                              Positive    Negative         Positive    Negative
      In vivo          Humans               Peripheral                                          2                  1
                                              blood
      in vitro         Humans             lymphocytes            5           2(1)               2
                                              Hep 2              1
                                             GM 38               1
                                             HT1080
                                            GM 5757              1
                                              TR146              1                              1
      In vivo         Swiss CD-1          Liver/Kidney           1             1                2
                        Mouse
       In vivo       NMRI mouse           Erythrocytes                       4(3)                                 2(1)
      (micro-         Swiss CD-1                                 1                              2
      nucleus           mouse
       assay)       Balb C mouse                                 1
                    B6C3F1 mouse                                               1
                     Swiss mouse                                1(1)                                          3(2)
                     CD-1 mouse                                 2(2)         1(1)             2 (2)           6 (6)
                     Swiss albino                               1(1)         3(3)               1
                        mouse
                    C57BL mouse                                                                                    1
                     Mouse (not                                                                 1
                      specified)
                       Rats (all)                                            2(1)                                 1(1)
      In vitro          Mouse                L5178                           2(2)
                                           lymphoma
                       Chinese                Lung                           3(3)
                       hamster
                       Chinese                ovary              1             1
                       hamster
                      Fischer rat              liver                           1
                           Rat           Lymphocytes                         1(1)

                        Bovine           Lymphocytes             1                              2
1
 each entry in the table corresponds to a single study where a study is positive if at least one valid positive
finding emerged from the study p<0.05; entries in the table are only for studies where data was available to
review including data from EFSA[88] and Kier and Kirkland (2000)[174]; 2numbers are the total number of studies
in this category, numbers in parentheses are the subset of studies that are regulatory studies




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In Swiss Albino mice, all four studies were done with males and females. Exposures
were by oral gavage for the positive study (in female mice) and IP injection by the
negative studies. The positive study was at 5000 mg/kg and the highest dose in any of
the negative studies was 3024 mg/kg. Finally, the control response in the positive study
was 6.7 micronucleated PCE per 1000 PCE whereas the controls in the three negative
studies were between 0 and 0.6 micronucleated PCE per 1000 PCE. Any of these
differences could easily explain the differences in response so the positive result in
Swiss Albino mice should be accepted.
 For CD-1 mice, the one negative micronucleus study was by oral gavage in males and
females at a single dose of 5000 mg/kg. One of the positive studies was also by oral
gavage in males at a single dose of 2000 mg/kg. Because of the nature of statistical
noise, these two studies could both occur whether there is a true effect or not. For the
other positive study, the dose was by IP injection in male mice with a positive response
at 600 mg/kg that was more than double the response of the controls. These data
support the finding that glyphosate can cause micronuclei in male CD-1 mice, which is
indicative of genotoxicity.
The remaining in vitro assays in mammalian cells exposed to glyphosate show mixed
results. The mouse lymphoma assay and the Chinese hamster ovary assays are looking
for specific mutations that will allow these cells to grow in culture. The Chinese hamster
lung, the two rat assays and the assay in bovine lymphocytes are measuring DNA
damage and provide mixed results. In general, these responses appear to be negative
with the exception of those seen in bovine lymphocytes that appear to show a positive
increase in SCEs following exposure to glyphosate.
For glyphosate formulations, the main difference between the findings for glyphosate
and those for the glyphosate formulations is the direct evidence for genotoxicity in
humans and the micronucleus assays in Swiss mice. The observation of genotoxicity in
humans following exposure to glyphosate formulations must carry the greatest weight
in the overall analysis and two of the three studies were positive with the strongest
study by Bolognesi et al. (2009)[117] showing the strongest response.
For the Swiss mouse studies of micronuclei, the fact that all three studies are negative
for glyphosate formulations while one study is positive for glyphosate creates a clear
disagreement. The positive study is an oral gavage study with an effect seen in male
mice at 30 mg/kg/day. The two negative regulatory studies for glyphosate formulations
were done at 2000 mg/kg (about 500 mg/kg glyphosate equivalent), were also oral
gavage studies and were replicates done in the same laboratory at different times. The
remaining negative study used glyphosate formulation doses of 50-200 mg/kg (25-100
mg/kg glyphosate equivalent) but was done by intraperitoneal injection. With the
exception of the different routes of exposure, the differences between these studies
cannot be resolved.
In this case, a pooled analysis of the data is not possible because in almost every case,
no one study is a clear replicate of another. Instead, the appropriate approach would
be to do a meta-analysis and evaluate which aspects of the experimental designs are


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important to producing positive findings of genotoxicity. The studies with the most data
for this type of analysis are the various in vivo assays of micronucleus formation. Ghisi
et al. (2016)[177] did a systematic search to identify all published studies evaluating the
ability of glyphosate or glyphosate formulations to induce micronuclei in vivo. The
authors also used the data from Kier and Kirkland (2013)[174] summarized above. An
experiment, in their evaluation, was defined by sex/species/route/form of glyphosate so
that some studies doing both sexes using glyphosate and a glyphosate formulation will
enter multiple times into the analysis. They identified 93 experiments from which it was
possible to do a meta-analysis. Data were extracted for each study and the log ratio of
the mean of each experimental group to the mean control response (E+) was used to
evaluate effect sizes in the meta-analysis. For this meta-analytic mean, a value below
zero suggests no genotoxicity while a value above zero suggests increased genotoxicity.
A test of heterogeneity (Cochran’s Q statistic discussed earlier for the epidemiological
data) was also evaluated.
Figure 2 is a reprint of Figure 1 from the study by Ghisi et al. (2016)[177] and is a forest
plot from all studies they evaluated for glyphosate and glyphosate formulations. It is
clear from this plot that the predominant response is positive in these data with an
overall grand mean response across all studies of E+=1.37 and a 95% confidence interval
of (1.356-1.381) (this is highly statistically significant with a p<0.0001). The Qt value for
the grand mean was also statistically significant suggesting there are other explanatory
variables in the data that would help to explain the overall variance.
Categorical variables were then used to make comparisons across the various strata in
the data to identify which experimental conditions show the largest impacts on the
mean response. Mammalian species presented a higher mean effect (E+=1.379; 1.366-
1.391) than non-mammalian species (E+=0.740; 0.641-0.840). Glyphosate formulations
showed a greater mean response (E+=1.388; 1.375-1.400) than did glyphosate
(E+=0.121; 0.021-0.221), but both were significantly greater than zero. The mean
response in studies using only male animals (E+=1.833; 1.819-1.847) was significantly
different from zero as were studies using both males and females (E+=0.674;0.523-
0.825) whereas the mean response in studies using only females (E+0.088; -0.153-0.328)
was not. Peer-reviewed studies had higher mean response (E+=1.394; 1.381-1.407)
compared to regulatory studies (E+=0.114; 0.027-0.202), but both means were
significantly greater than zero, indicating an overall genotoxic effect. Other variables
were examined such as length of exposure and magnitude of exposure that had very
little impact on the overall findings.
The meta-analysis by Ghisi et al. (2016)[177] provides strong support for the hypothesis
that exposure to glyphosate and glyphosate formulations increases the formation of
micronuclei in vivo. This means that glyphosate and glyphosate formulations are
damaging DNA in living, functioning organisms with intact DNA repair capacity
strengthening the finding that glyphosate is genotoxic to humans.




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remaining six can provide some guidance on the relative potency of glyphosate to
glyphosate formulations. In Koller et al. (2007)[124], tail intensity for the comet assay
were virtually identical when the amount of glyphosate in the formulation was
compared to the results using glyphosate alone. In the same paper, micronuclei and
related biomarkers were consistently higher in the glyphosate formulation by 10-20%.
In Bolognesi et al. (1997), DNA strand breaks in liver and kidney in Swiss CD-1 mice were
virtually identical under equivalent doses of glyphosate and glyphosate formulations. In
their micronucleus assay, the glyphosate formulation was approximately 50% more
potent. Finally, Bolognesi et al. (1997), in their analysis of SCEs in human lymphocytes,
the glyphosate formulation was approximately twice as effective as glyphosate alone. In
Peluso et al. (1988)[130], DNA adducts in livers and kidneys were only seen in mice
treated with the glyphosate formulation, so these findings are not likely to be due to
glyphosate. The data suggest a small increase in the potential for genotoxicity for
glyphosate formulations relative to the genotoxicity one would see with glyphosate
alone.
In summary, the data support a conclusion that both glyphosate and glyphosate
formulations are genotoxic. Thus, there is a reasonable mechanism supporting the
increases in tumors caused by glyphosate and glyphosate formulations in humans and
animals.
Oxidative Stress
Oxidative stress refers to an imbalance between the production of reactive oxygen
species (free radicals) in a cell and the antioxidant defenses the cell has in place to
prevent this. Oxidative stress has been linked to both the causes and consequences of
several diseases[178-183] including cancer[37, 184-188]. Multiple biomarkers exist for
oxidative stress; the most common being the increased antioxidant enzyme activity,
depletion of glutathione or increases in lipid peroxidation. In addition, many studies
evaluating oxidative stress used antioxidants following exposure to glyphosate to
demonstrate that the effect of the oxidative stress can be diminished.
Oxidative Stress in Human Cells (in vitro)
Mladinic et al. (2009)[119] examined the induction of oxidative stress from exposure to
glyphosate (98% purity) in lymphocytes from three healthy human donors
(questionnaires were used to exclude other genotoxic exposures) at concentrations of
0.5, 2.91, 3.5, 92.8 and 580 µg/ml. Cells with and without S9 activation saw increases in
total antioxidant capacity at only the highest dose for cells without S9 activation
although a clear concentration response pattern was seen with S9 activation.
Kwiatkowska et al. (2014)[189] examined the induction of oxidative stress from exposure
to glyphosate (purity not given) in erythrocytes obtained from healthy donors in the
Blood Bank of Lodz, Poland. Erythrocytes were exposed to concentrations of 1.7, 8.4,
17, 42.3, 85 and 845 µg/ml and incubated for 1 hour. Oxidative stress (oxidation of
dihydrorhodamine 123) was significantly increased at 42.3, 85 and 845 µg/l with a clear
concentration-response pattern.



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Chaufan et al. (2014)[190] examined the induction of oxidative stress from exposure to
glyphosate (95% purity) and Roundup UltraMax (74.7% glyphosate) in HepG2 cells
(human hepatoma cell line). Exposure concentrations were 900 µg/ml for glyphosate
and 40 µg/ml for the glyphosate formulation. After incubation for 24 hours, oxidative
stress (expressed as the activity of superoxide dismutase (SOD), catalase (CAT),
glutathione (GSH) and glutathione-S-transferase (GST)) was significantly increased
(p<0.0-5) for the glyphosate formulation (increased SOD activity) but not for glyphosate
alone.
Coalova et al. (2014)[191] examined the induction of oxidative stress from exposure to a
glyphosate formulation (Atanor, 48% glyphosate) or with a surfactant (Impacto) in Hep-
2 cells (human epithelial cell line). Exposure concentrations were 376.4 µg/ml for
Atanor, 12.1 µg/ml for Impacto and 180.2 µg/ml for a mixture of the two. After
incubation for 24 hours, oxidative stress (measured as activity of SOD, CAT, GSH, and
GST) was significantly increased for Impacto, Atanor and the mixture (CAT and GSH only,
p<0.05 or p<0.01).
Gehin et al. (2005)[192] examined the induction of oxidative stress from exposure to
glyphosate (purity unknown) and a glyphosate formulation (Roundup 3 plus, 21%
glyphosate) in HaCaT cells (human keratinocyte cell line). Glyphosate induced
cytotoxicity in the cells which was reduced or eliminated by antioxidants. The authors
attributed the cytotoxicity to oxidative stress.
Elie-Caille et al. (2010)[193] examined the induction of oxidative stress from exposure to
glyphosate (purity unknown) in HaCaT cells (human keratinocyte cell line). Exposure
concentrations ranged from 1700 µg/l to almost 12,000 µg/ml. Glyphosate induced
cytotoxicity in the cells and increased hydrogen peroxide H2O2
(dichlorodihydrofluorescein diacetate assay). This study used exceptionally high
concentrations that may be inducing cytotoxicity by means that are independent of the
oxidative stress observed. Measuring oxidative stress using the
dichlorodihydrofluorescein diacetate assay has limitations[194, 195].
George and Shukla (2013)[196] examined the induction of oxidative stress from exposure
to a glyphosate formulation (Roundup Original, 41% glyphosate) in HaCaT cells (human
keratinocyte cell line). Exposure concentration ranged from 1.7 µg/ml to 17,000 µg/ml
and exposure was for 24 hours. Glyphosate significantly induced the formation of
reactive oxygen species (dichlorodihydrofluorescein diacetate assay) at all exposures in
a concentration-dependent fashion. Prior treatment of the cells with N-Acetylcysteine
reduced the impact of glyphosate, but did not eliminate it. Measuring oxidative stress
using dichlorodihydrofluorescein diacetate has limitations[194, 195] that affect the clear
interpretation of these results.
Oxidative Stress in Non-Human Mammals (in vivo)
Bolognesi et al. (1997)[127] exposed groups of three Swiss CD-1 male mice by IP injection
with a single dose of glyphosate (99.9% purity, 300 mg/kg) or Roundup (900 mg/kg,
equivalent to 270 mg/kg glyphosate). Animals were sacrificed at eight and 24 hours
after injection and livers and kidney were removed to obtain crude nuclei from the


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adhering tissues. Samples of liver and kidneys from these mice were evaluated for levels
of 8-hydroxy-2'-deoxyguanosine (8-OHdG) which is a biomarker of oxidative stress[197].
There was a significant increase in the liver of 8-OHdG at 24 hours following glyphosate
exposure, but not at eight hours and not in the kidney. At both eight hours and 24
hours, Roundup increased 8-OHdG in the kidneys, but the mild increase seen in the liver
at 24 hours was not significant.
Cavusoglu et al. (2011)[136] exposed groups of six Swiss albino mice by IP injection of a
glyphosate formulation (RoundupUltra Max, 450 g/l glyphosate, 50 mg/kg formulation).
At the end of dosing, animals were fasted overnight then sacrificed. There was a
significant increase in malondialdehyde in both liver and kidney and a significant
decrease in GSH in liver and kidney from exposure to the glyphosate formulation. G.
bilboa eliminated these effects.
Jasper et al. (2012)[198] exposed groups of 10 male and 10 female Swiss albino mice via
oral gavage for 15 days to a glyphosate formulation (Roundup Original, 41% glyphosate,
50 mg/kg glyphosate equivalent dose). Animals were sacrificed at three days after
injection. There was a significant increase in thiobarbituric acid-reactive substances
(TBARS) in the liver for both male and female mice at both doses (p<0.05). The
concentration of non-protein thiols was elevated in both dose groups for males and for
the high dose only in females (no dose-response was seen for this endpoint).
Astiz et al. (2009)[199] exposed groups of four male Wistar rats by IP injection to a single
dose of glyphosate (purity unknown, 10 mg/kg). Animals were injected three times per
week for five weeks and then sacrificed. Thiobarbituric acid-reactive substances (TBARS
assay), protein carbonyls (PCOSs), total glutathione levels, individual glutathione levels,
SOD and CAT were all measured as biomarkers for oxidative stress in plasma, brain, liver
and kidney. Glyphosate significantly increased TBARS in all tissues (p<0.01), total
glutathione in brain (p<0.01), SOD in liver and brain (p<0.01) and CAT in brain. In a
follow-up report[200], they demonstrate that lipoic acid eliminates or severely reduces
the impacts of glyphosate on the brain.
Cattani et al. (2014)[201] exposed groups of four pregnant Wistar rats to glyphosate
formulation (Roundup Original, 360 g/L glyphosate) in drinking water from gestational
days 5-15 at a dose of 71.4mg/kg. Fifteen day-old pups (2 per dam) were examined for
oxidative stress markers in the hippocampus. Pups had a significant increase in TBARS
(p<0.05) and a significant decrease in GSH (p<0.01).
George et al. (2010)[81] exposed groups of four Swiss albino mice to a glyphosate
formulation (Roundup Original, 36g/L glyphosate) at a dose of 50 mg/kg (glyphosate
equivalent dose) via a single topical application. Proteomic analysis of skin from the
treated animals saw alterations in SOD1, CA III and PRX II, proteins known to play a role
in the management of oxidative stress.
Oxidative Stress in Non-Mammalian Systems
As for genotoxicity, oxidative stress from exposure to glyphosate and glyphosate
formulations have been studied in various aquatic organisms; reviewed in Slaninova et



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al. (2009)[202]. Many of the studies reviewed by Slaninova et al. (2009) showed
associations with glyphosate and oxidative stress in various organs. Since that review,
additional studies have been completed that also demonstrate a positive association
between glyphosate and oxidative stress[144, 153-156, 203-214].
Summary for Oxidative Stress
Seven studies addressed oxidative stress in human cells and another six studies
addressed it in mammalian systems. In lymphocytes and erythrocytes from healthy
donors, oxidative stress was detected as low as 580 µg/ml in lymphocytes and at 42.3
µg/ml in erythrocytes. In Hep-G2 cells, no increased oxidative stress was seen for a
single concentration of 900 µg/l. In two studies in HaCat cells, glyphosate induced
oxidative stress in a continuous model fit to the results in one study and at the lowest
concentration (1700 µg/ml) in the other. The most convincing studies in human cells for
oxidative stress are the two studies in human blood.
In Swiss CD-1 male mice, increased oxidative stress was seen in the liver at 24 hours, but
not at four hours after injection of 300 mg/kg glyphosate. No increase was seen in the
kidney. In Wistar rats, repeated IP dosing with glyphosate lead to increased oxidative
stress in multiple organs using multiple biomarkers. Thus, all of the laboratory studies
demonstrated oxidative stress with a significant finding in the rat study.
In Hep-G2 cells, a glyphosate formulation demonstrated a robust increase in oxidative
stress at 40 µg/ml. Given the negative response in this cell line for glyphosate alone, it
must be concluded that this response is not due to glyphosate. In HEP-2 cells, a
glyphosate formulation demonstrated a robust increase in oxidative stress via multiple
biomarkers at 376 µg/ml and when a surfactant is added, at 180.2 µg/ml. In HaCaT
cells, a glyphosate formulation demonstrated significant increases in oxidative stress
from doses starting as low as 1.7 µg/ml in a concentration-dependent fashion. No
studies were available in human lymphocytes.
In Swiss CD-1 mice, a glyphosate formulation significantly increased oxidative stress in
the kidney but only demonstrated a mild (non-significant) increase in the liver. This
study evaluated oxidative stress at two different time points following exposure and saw
responses that differed over time. The strong increase in the liver for glyphosate but
not glyphosate formulation, suggests a complicated response pattern for pure
glyphosate versus the formulation that could be linked to the time since exposure. In
Swiss Albino mice, a glyphosate formulation demonstrated increased oxidative stress by
two separate biomarkers in both the liver and the kidney. In a second study in Swiss
albino mice using a different biomarker but a similar dose, increased oxidative stress
was seen in both the liver and the kidney. In Wistar rat pups exposed in utero, an
increase in oxidative stress was seen in the hippocampus. In Swiss albino mice, topical
application of a glyphosate formulation to the skin resulted in a proteomic fingerprint
suggesting oxidative stress was increased.
Though there are fewer studies for oxidative stress than there are for genotoxicity, the
robust response seen here in human cells and in rodent studies clearly supports a role
for both glyphosate and glyphosate formulations in inducing oxidative stress. Thus,


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there is a second reasonable mechanism through which the tumors seen in humans and
those seen in animals can be caused by glyphosate and glyphosate formulations.
Summary for Biological Plausibility
In the evaluation of causality, the evidence for biological plausibility is overwhelming.
Glyphosate clearly causes multiple cancers in mice, two cancers in the hematopoietic
system similar to what is seen in humans, causes cancer in rats, is genotoxic and induces
oxidative stress. The findings are clear for both glyphosate alone and for glyphosate
formulations. There is strong support for biological plausibility in support of a causal
association of glyphosate and glyphosate formulations with NHL.

Biological Gradient
Only three of the epidemiological studies provided information on biological gradients
in their publications.
Eriksson et al. (2008)[46] divided their cases and controls into those with ≤10 days per
year of exposure and those with >10 days per year of exposure. The ORs were
calculated using a multivariate analysis that included agents with statistically significant
increased OR, or with an OR > 1.50 and at least 10 exposed subjects. ORs for glyphosate
were 1.69 (0.70-4.07) for ≤10 days per year and 2.36 (1.04-5.37) for >10 days per year.
In their multivariate analysis, latency periods of 1-10 years showed an OR of 1.11 (0.24-
5.08) and >10 years had an OR of 2.26 (1.16-4.40). Thus, they show an increase with
intensity of exposure and with latency.
McDuffie et al. (2001)[50], using a conditional logistic regression analysis controlling for
major chemical classes of pesticides and all other covariates with p<0.05, the OR for ≤2
days per year of exposure was 1.0 (0.63-1.57) and for >2 days per year, the OR was 2.12
(1.20-3.73). Thus, they show an increase with intensity of exposure.
De Roos et al. (2005)[45] used three exposure metrics in their analyses: a) ever
personally mixed or applied pesticides containing glyphosate; b) cumulative exposure
days of use of glyphosate (years of use times days per year); and c) intensity weighted
cumulative exposure days (years of use times days per year times intensity of use). For
exposure measurements b and c, they divided the respondents into tertiles chosen a
priori to avoid having sparse data when dealing with rare tumors. For cumulative
exposure days and using the lowest exposed tertile as the reference group, the RRs drop
with values of 0.7 (0.4-1.4) and 0.9 (0.5-1.6) for tertiles 2 and 3 respectively adjusted for
demographic and lifestyle factors and other pesticides (30,699 subjects). When
intensity-weighted exposure days are examined, the RRs drop with values of 0.6 (0.3-
1.1) and 0.8 (0.5-1.4) for tertiles 2 and 3, respectively adjusted for demographic and
lifestyle factors and other pesticides (30,699 subjects). Thus, they do not see a
biological gradient in their responses. However, the high frequency of exposure to
many pesticides (e.g. 73.8% were exposed to 2,4-D) means subjects with low exposure
to glyphosate were likely to be exposed to other agents that may also induce NHL; this
could reduce the RRs in the higher exposure classes because it would inflate the RR in
the low-exposure referent group.


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Eriksson et al. (2008)[46] and McDuffie et al. (2001)[50] had consistent results for
intensity of exposure per year (≤2 days per year, OR=1.0; ≤10 days per year, OR=1.69; >2
days per year, OR=2.12; >10 days per year, OR=2.26). It is not possible to resolve the
remaining differences between these three studies nor is it easy to argue that one study
has more weight on this question than any other. The studies use different measures of
exposure or time since exposure, are done on different populations and have different
statistical power to detect a trend.
In rodent carcinogenicity studies, there is clear evidence of a biological gradient.
In general, there is support that a biological gradient exists for the epidemiological
data and thus support from this aspect of the Bradford-Hill evaluation.

Temporal Relationship
Exposure must come before the cancers occur otherwise the epidemiology studies are
useless. In this case, it is clear that exposure came before the onset of NHL. The need
for a temporal relationship in the data supporting a causal association between
glyphosate and NHL is satisfied.

Specificity
There are other causes of NHL[215-218] so this group of cancers is not specific to
glyphosate. There is little support for specificity.

Coherence
Humans, coming into contact with glyphosate, can absorb the compound into their
bodies where it has been measured in blood and in urine[56, 219-223]. In laboratory
animals, absorption, distribution and elimination of glyphosate and glyphosate
compounds have been studied[137, 224] and show that glyphosate gets into the animal’s
bodies, distributes to numerous organs and is eliminated in urine. The animal cancer
studies clearly demonstrate that glyphosate in mammals can have toxic effects.
Mouse models have long served as surrogates for humans in understanding and
developing treatments for many diseases. The same holds true for lymphoid tumors
seen in humans. For over 30 years, mouse models have been studied and evaluated as
surrogates for NHL[225-229]. These publications and the associated classification systems
for humans and mice indicate a close linkage between the diseases in humans and mice.
Thus, coherence is supported by the increased risk of malignant lymphomas in CD-1
mice, the marginal increase in these tumors in Swiss mice and the strong similarity
between malignant lymphomas in mice and NHL in humans.
There is strong support for coherence in the data supporting a causal association of
glyphosate and glyphosate formulations with NHL.




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Experimental Evidence in Humans
There is no experimental evidence in humans since purposely exposing humans to a
pesticide, especially one that is probably carcinogenic, is not ethical and would never
pass review by a human subject’s advisory board.

Analogy
I am unaware of any analogous compounds from the scientific literature. This, however,
is not an area where I have sufficient background to express an opinion.

Summary
Table 18 summarizes the information for each of Hill’s aspects of causality. For these
data, causality is strengthened because the available epidemiological studies show a
consistent positive association between cancer and the exposure. The studies do not
show different responses with some studies being positive and others negative, nor do
they show any heterogeneity when analyzed together. And, in answer to Hill’s question,
the relationship between NHL and glyphosate exposure has been observed by different
persons, in different places, circumstances, and times.
Causality is strengthened for these data because the strength of the observed
associations, when evaluated simultaneously, are statistically significant, the findings
are uni-directional and the results are unlikely to be due to chance. Even though none
of the individual studies provide relative risks or odds ratios that are large and precise,
the meta-analysis has objectively shown that the observed association across these
studies is significant and supports a positive association between NHL and glyphosate.
Biological plausibility is strongly supported by the animal carcinogenicity data and the
mechanistic data on genotoxicity and oxidative stress. When addressing biological
plausibility, the first question generally asked is “Can you show that glyphosate causes
cancers in experimental animals?” In this case, the answer to that question is clearly
yes. Glyphosate has been demonstrated to cause cancer in two strains of rats and one
strain of mice. Glyphosate has been demonstrated to cause cancer in two strains of
rats and one strain of mice. Glyphosate causes hepatocellular adenomas in male Wistar
rats and male Sprague-Dawley rats, mammary gland adenomas and adenocarcinomas in
female Wistar rats and kidney adenomas in male Sprague-Dawley rats. Glyphosate
causes hemangiosarcomas, kidney tumors and malignant lymphomas in male CD-1 mice
and hemangiosarcomas in female CD-1 mice and possibly causes malignant lymphomas
in male Swiss albino mice. Thus, it is biologically plausible that glyphosate alone can
cause cancer in mammals.
The next question generally asked is “Does the mechanism by which glyphosate causes
cancer in experimental animals also work in humans?” The best understood mechanism
by which chemicals cause cancer in both humans and animals is through damaging DNA
that leads to mutations in cells that then leads to uncontrolled cellular replication and


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The human evidence is coherent. The basic findings in humans agree with the animal
evidence for absorption, distribution and elimination of glyphosate. Also, one of the
tumors seen in mice has almost the same etiology as NHL.
NHL is not specific to glyphosate exposure. There is no experimental evidence in
humans and I did not find any references where researchers looked for analogous
compounds with similar toxicity.
Hill (1965)[36] asks “is there any other way of explaining the set of facts before us, is
there any other answer equally, or more, likely than cause and effect?” There is no
better way of explaining the scientific evidence relating glyphosate to an increase in NHL
in humans than cause and effect.
In my opinion, glyphosate probably causes NHL and, given the human, animal and
experimental evidence, I assert that, to a reasonable degree of scientific certainty, the
probability that glyphosate causes NHL is high.


The IARC Assessment of Glyphosate
In March 2015, the International Agency for Research on Cancer (an agency of the
World Health Organization) brought together seventeen scientists (the Working Group)
to evaluate the scientific evidence on whether glyphosate can cause cancer in humans.
This group also contained one invited specialist (myself) to aid the Working Group (WG)
in going through the science but who was not allowed to join discussions on the final
conclusion or write any part of the document. The Working Group concluded that
glyphosate falls in the category “probably carcinogenic to humans (Group 2A)”[56].
The IARC preamble[30] guides Working Groups on how to evaluate scientific literature to
determine if something is a hazard. All Working Groups follow these guidelines and this
process is accepted worldwide as a proper way to evaluate the literature for a hazard
(e.g., the European Chemical Agency cites the IARC review process as guidance and then
uses the exact same wording as IARC does to guide their own hazard evaluation
process[34]).
The WG examined the epidemiological data and classified it as “limited evidence of
carcinogenicity,” which is defined to mean “a positive association has been observed
between exposure to the agent and cancer for which a causal interpretation is
considered to be credible, but chance, bias or confounding could not be ruled out with
reasonable confidence.” This is a precise and clear description of the strength of the
evidence from the epidemiological studies.
The WG examined the evidence from animal carcinogenicity studies and classified it as
“sufficient evidence of carcinogenicity,” which IARC defines as: “a causal relationship has
been established between the agent and an increased incidence of malignant neoplasms
or of an appropriate combination of benign and malignant neoplasms in (a) two or more
species of animals or (b) two or more independent studies in one species carried out at
different times or in different laboratories or under different protocols. A single study in



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one species and sex might be considered to provide sufficient evidence of carcinogenicity
when malignant neoplasms occur to an unusual degree with regard to incidence, site,
type of tumour or age at onset, or when there are strong findings of tumours at multiple
sites.” Based on the data available to IARC at the time of their review and the
restrictions placed on the studies they can review by the Preamble, this conclusion is
justified and correct.
One of the major criticisms of the WG review was that the WG did not review all of the
animal carcinogenicity data that was available to the regulatory bodies and thus came to
the wrong conclusions on the animal cancer data. In this review, I evaluated all 19
animal carcinogenicity experiments that have been collectively mentioned by any
agency that reviews glyphosate. Where possible, I have analyzed the original data and
used sound statistical methods to test for significant increases in cancer incidence in
animals exposed to glyphosate. My conclusion is that the WG would have called this
data “sufficient evidence” to support their findings despite not reviewing the additional
studies analyzed herein. Despite the fact the industry kept these studies confidential,
nothing contained in the withheld studies would have changed the WG conclusion.
On the mechanistic data, the IARC Working Group reviewed the same data that I
reviewed, but I also evaluated, where possible, the proprietary data supporting the
regulatory decisions. Where possible, I reanalyzed that data to be certain the results
being presented were accurate. The IARC Working Group, using the guidelines set forth
in their Preamble, declared strong support for the biological mechanisms of genotoxicity
and oxidative stress. As I have shown here, there is strong support for these two
mechanisms, even with the proprietary evidence from the industry studies. Thus, the
IARC Working Group reached the correct conclusion.
To decide on a final classification for a compound, the IARC Preamble provides guidance
on how the classification of the three areas are to be used. If the data in humans is
“limited” and the data from animal carcinogenicity studies is “sufficient,” the discussions
should begin with Class 2A, “the agent is probably carcinogenic to humans.” Then, given
the overall quality of the data set, the strength of the evidence from the mechanistic
studies and any additional scientific issues that need to be considered, the Working
Group will determine whether the data justifies a different category. In this case, the
Working Group concluded 2A was the right category and I still believe the evidence
supports that finding.

The EPA Assessment of Glyphosate
Like IARC, the EPA has guidelines that are to be followed when evaluating scientific
literature and making a determination about the carcinogenic potential of a chemical.
Those guidelines have been developed over many years and are based on sound
scientific guidance that myself and many other scientists have provided to the Agency.
For their evaluation of glyphosate, the Agency did not follow their own guidelines, nor
did they follow sound scientific practice. This opinion is consistent with the review done
by the EPA FIFRA Scientific Advisory Panel[54]. In addition, the Agency failed to find all of
the relevant animal cancer studies and misinterpreted several of them. The major


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problems with the Agency evaluation are:
      Misinterpretation of the epidemiological evidence, confusing the potential for
       bias and potential for confounding with real bias and real confounding, allowing
       them to give almost no weight to the case-control studies in favor of the one
       cohort study;
      Misinterpretation of the findings in the meta-analysis;
      Failure to properly use historical controls in the analysis of the animal
       carcinogenicity studies; declaring a significant finding as not due to the
       compound if it is in the range of the historical controls;
      Failure to analyze all tumors in all studies relying upon the industry submissions
       to have done this correctly;
      Failure to follow their guidelines on what constitutes a positive finding,
       disregarding significant trend tests when no corresponding pairwise comparisons
       are also significant;
      Disregarding positive findings in doses that are clearly not above the maximum
       dose the animals could be given with compromising the integrity of the study;
      Using unreasonable arguments about the overall false positive rates in the study
       without actually doing an analysis of this issue;
      Failing to recognize the similar findings in similar studies and to do a pooled
       analysis to determine if the negative effects in one study cancel out the positive
       effects in another;
      Giving very little weight to studies from the literature and relying almost entirely
       on studies provided by industry that have not undergone peer review for both
       quality and, more importantly in some cases, interpretation of the findings; and
      Comparing results across different species and strains for the animal cancer
       studies and the mechanistic studies with little regard for unique findings in any
       one study and consistent findings across multiple studies.
Similar comments apply to the evaluation done by the European Food Safety
Authority[88] and the European Chemical Agency[230]. My detailed comments to these
agencies on their risk assessments are attached. There were comments to my
comments to EPA by other scientists and I also responded to those comments in the EPA
docket for glyphosate. These are also included in the attached Appendices.

Compensation
I am being compensated at $450 per hour for my expert work in this case, plus travel
expenses.



                                     Dr. Christopher J. Portier


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                                                                Christopher Jude Portier – Page 2

1996 - 2000         Associate Director for Risk Assessment, Environmental Toxicology Program
                    National Institute of Environmental Health Sciences, Division of Intramural
                    Research, Research Triangle Park, North Carolina.
1990 - 1993         Head, Risk Methodology Section, National Institute of Environmental Health
                    Sciences, Division of Biometry and Risk Assessment, Research Triangle Park, North
                    Carolina.
1987, 1992, 1990    Guest Scientist, German Cancer Research Center, Heidelberg, Germany.
1978 - 1990         Mathematical Statistician, National Institute of Environmental Health Sciences,
                    Division of Biometry and Risk Assessment, Research Triangle Park, North Carolina.
1977                Mathematician, Computer Sciences Division, Oak Ridge National Laboratory, Oak
                    Ridge, Tennessee.
1976                Undergraduate Research Trainee, Neutron Physics Division, Oak Ridge National
                    Laboratory, Oak Ridge, Tennessee.

University Affiliations:
2014 – present      Visiting Professor, Department of Toxicogenomics, Maastricht University, The
                    Netherlands
2013 – present      Honorary Professor, National Research Centre for Environmental Toxicology,
                    University of Queensland, Brisbane, Australia
2011 – present      Adjunct Professor, Department of Environmental Health, Emory University, Atlanta,
                    GA, USA
2009 – 2010         Visiting Professor, University of Queensland, Brisbane, Australia
1986 - 2007         Adjunct Professor of Biostatistics, University of North Carolina, School of Public
                    Health, Chapel Hill, North Carolina.
1990-1992           Adjunct Professor of Statistics, University of Waterloo, Waterloo, Ontario, Canada


Honors & Awards:
•   2013 President’s Dream Green Team Award for “A Human Health Perspective on Climate Change”
•   Fellow, World Innovation Foundation, 2006
•   Society of Toxicology, Risk Assessment Specialty Section, Paper of the Year, 2006
•   Society of Toxicology, Risk Assessment Specialty Section, Paper of the Year, 2005
•   Outstanding Risk Practitioner Award, International Society for Risk Analysis, 2000.
•   Elected Fellow, International Statistical Institute, 2000.
•   Outstanding Performance Award, National Institute of Environmental Health Sciences, numerous
    dates.
•   Commendation for Sustained High Quality Work Performance, National Institute of Environmental
    Health Sciences, numerous dates.
•   Merit Award, National Institute of Health, 1998.
•   Board of Publications, Best Paper Award, Society of Toxicology, 1995.
•   Distinguished Achievement Award, Section on Statistics and the Environment, American Statistical
    Association, 1995.
•   Spiegelman Award presented by the American Public Health Association to the most outstanding
    public health statistician under the age of 40, 1995.
•   Best-applied statistics paper, Centers for Disease Control, 1993.
•   Elected Fellow, American Statistical Association, 1992.
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•   Elected Foreign Correspondent, Russian National Academy of Natural Sciences, 1992.
•   First recipient of the James E. Grizzle Distinguished Alumnus Award, The Department of
    Biostatistics, The University of North Carolina, 1991.

Professional Societies Membership:
Society of Toxicology, American Public Health Association, International Statistics Institute, Society for
Risk Analysis, EcoHealth Society, American Association for Cancer Research, American Association for
the Advancement of Science

Editorial Activities:
•   Editor in Chief - The Open Environmental Journal (2008 to 2010)
•   Associate Editor – Frontiers in Predictive Toxicity (2010 to present)
•   Associate Editor - Environmental Health Perspectives (1987-2006)
•   Associate Editor - Risk Analysis: An International Journal (1989-2003)
•   Editorial Board – Environmental and Ecological Statistics (2004-2007)
•   Associate Editor – Statistics in Medicine (1998-2002)
•   Associate Editor - Biometrics (1997-99)
•   Editorial Board Member/Reviewer (different dates): Biometrika, Cancer Research, Communications
    in Statistics, Fundamental and Applied Toxicology, Journal of Applied Toxicology, Journal of the
    American Statistical Association, Journal of Toxicology and Environmental Health, Science,
    Mathematical Biosciences, Journal of Mathematical Biology, Carcinogenesis, Science, PNAS,
    Toxicological Sciences

Advisory & Review Committees:
2015 – 2016         Member, Committee to Review the Draft Interagency Report on the Impacts of
                    Climate Change on Human Health in the United States, National Research Council,
                    National Academy of Sciences, USA
2010 – present      Member, Science Advisory Group on Electromagnetic Fields and Health,
                    Netherlands Organisation for Health Research and Development
2009 – 2010         Coordinating Lead Author, Interagency Working Group on Climate Change and
                    Health
2009 – present      Member, Institute of Medicine Roundtable on Environmental Health Sciences
                    Research and Medicine
2009 – 2012         Member, National Academies of Science Roundtable on Science and Technology for
                    Sustainability
2009                Member, WHO Advisory group on the health implications of the use of DDT to
                    reduce risks of malaria.
2005 – 2010         Chair, Subcommittee on Toxics and Risk, President’s National Council on Science
                    and Technology
1997 - 2012         Advisor, World Health Organization, International Program on Chemical Safety,
                    EMF Project.
2008 – 2010         Member, Environmental Protection Agency, Science Advisory Board
2007 – 2010         Member, International Life Sciences Institute, Health and Environmental Sciences
                    Institute, Subcommittee on Susceptible Populations
2008                Center Review Committee, Canadian National Science and Engineering Research
                    Council Chair in Risk Assessment
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2008              Chair, International Agency for Research on Cancer Monographs Advisory Group,
                  Lyon, France
2008              Advisory Group, Center for Environmental Oncology, University of Pittsburgh
                  Cancer Institute
2007.             Chair, WHO Workshop on Low Cost Options for Reducing Exposures to ELF-EMF,
                  Geneva
2007.             Invited Participant, International Program on Chemical Safety Workshop on
                  Aggregate and Cumulative Risk Assessment, Washington, DC.
2006              Rapporteur, International Agency for Research on Cancer, Scientific Advisory Group
                  to Plan Volume 100 of the IARC Monograph Series
2005              Chair, International Agency for Research on Cancer, Scientific Advisory Board on
                  the Preamble to the Cancer Monograph Series
2005              Chair, World Health Organization Expert Panel on Health Criteria Document for
                  Extremely Low Frequency Electric and Magnetic Fields
2003 – 2005       Co-Chair, Subcommittee on Health and Environment, President’s National Council
                  on Science and Technology
2003              Ad-Hoc member, EPA Science Advisory Board, Review of Children’s Cancer Risk
                  Assessment Supplement to Cancer Guidelines
2002 – 2006       Co-Chair, Subcommittee on Mercury, President’s National Council on Science and
                  Technology
2000 – 2007       Member, Finish Academy of Sciences Centers of Excellence Program Science
                  Advisory Committee
2000              Reviewer, Congressional Research Service, Library of Congress; Research needs
                  relevant to children’s environmental health risks.
1998 - 2004       Member and Chair, Environmental Protection Agency, FIFRA Science Advisory
                  Panel.
1997 - 2006       Member, National Occupational Research Agenda Team, National Institute of
                  Occupational Safety and Health.
1995 - 2000       Advisor, Australian Health Council, Risk Assessment Methodology, Member
                  NHMRC Steering Committee on Cancer Risk Assessment Guidelines.
1992 - 2000       Member, EPA Dioxin Reassessment Working Group.
1985 - 2007       Thesis director for graduate students, Department of Biostatistics, University of North
                  Carolina - Chapel Hill, North Carolina.
1997              Advisor, Netherlands National Health Council, Risk Assessment Methodology.
1997              Reviewer, Air Force Office of Scientific Research.
1996 - 1997       Temporary Advisor, World Health Organization, Expert Committee on Food
                  Additives.
1996              Advisor, Environmental Protection Agency; Evaluation of the benchmark dose
                  methodology.
1996              Advisor, Environmental Protection Agency; Evaluation of risks from exposure to
                  PCBs.
1996              Expert Review Committee, Environmental Protection Agency; Cancer dose-response
                  for PCB’s.
1995 - 1996       Member, California Environmental Protection Agency, Risk Assessment Advisory
                  Committee.
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1994 - 1997        Science Advisory Panel, Public Broadcasting System Production “Poisons in the
                   Womb”.
1991 - 1995        Ad-Hoc Member, Environmental Protection Agency, Science Advisory Panel.

Legislative Hearings:
•   Glyphosate Carcinogenicity, European Parliament, Brussels, December 2015
•   Glyphosate Carcinogenicity, German Parliament, Berlin, July 2015
•   Lead and Children’s Health, Senate Committee on Environment and Public Works, July, 2012
•   Asthma and Children’s Health, Senate Committee on Environment and Public Works, May, 2012
•   Contaminated Drywall, Senate Committee on Commerce, Science and Transportation, December,
    2012.
•   Camp Lejeune Contaminated Drinking Water, House Committee on Science and Technology,
    September, 2010.
•   Autism and Vaccines, House Committee on Government Reform, December, 2002.

US Government Service Activities:
•   Member, President’s Task Force on Environmental Justice 2010-2013
•   Member, President’s Task Force on Children’s Environmental Health 2009-2013
•   Member, National Toxicology Program Executive Committee 2010-2013
•   Financial Support and International Press Conference for research on “The Health Benefits of
    Tackling Climate Change” appearing as a series in Lancet, November 25, 2009
•   Organizing Committee, White House Stakeholder briefing on Climate Change and Human Health,
    Old Executive Office Building, November 2009.
•   Member, US Delegation, World Climate Congress, Geneva (September 2009)
•   Member, US Delegation, Global Risk Communication Dialogue (2008-2009)
•   Member, NIEHS Corrective Action Plan Management Committee (2008-2009)
•   Primary focus, all interagency activities on hazards and risk (2006 to present)
•   Co-Organizer, NIEHS/EPA Workshop on Children’s Environmental Health, RTP, NC, January,
    (2007)
•   Co-Organizer, NIEHS/NTP Workshop on the Identification of Targets for the HTS Roadmap Project
    (2007)
•   Coordinator, NIEHS/EPA Review of the Children’s Environmental Health Centers Program (2006-
    2007)
•   Organizing Committee, Global Environmental Health Initiative, NIEHS (2006 to 2009)
•   NIEHS Leadership Council (2005 to 2009)
•   Organizer, formal collaborative agreements between NTP and Ramazzini Foundation (2001 to 2006)
•   Organizer, formal collaborative agreements between NTP and Korean NTP (2002 to 2006)
•   NIEHS Title 42 Review Committee (2003 to 2004)
•   NIEHS Executive Committee and Operations Update Committee (2000 to 2005)
•   NIEHS Leadership Retreats, DERT Retreats, DIR Retreats (all years since 1997)
•   Presenter, NIEHS-sponsored National Academy of Sciences Committee on Emerging Issues in
    Environmental Health, November, 2001
•   Organizer and presenter, National Toxicology Program Executive Committee Meetings (multiple
    dates since 2000)
•   Organizer and presenter, National Toxicology Program Board of Scientific Counselors (multiple
    dates since 1998)
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•   Organizer, Joint NIEHS/US Geological Survey Interagency Program on Exposure Assessment, April
    2001 to present)
•   Organizer, US-Vietnam Scientific Conference on the Health and Environmental Effects of Agent
    Orange/Dioxin in Vietnam, March, 2002
•   Organizing Committee, National Toxicology Program/EPA/FDA Scientific Conference on the
    Allergenicity of Genetically Modified Food, November, 2001
•   NIEHS Town Hall Meeting, Los Angeles California, November, 2001
•   NTP Research Directions, NAEHSC, Research Triangle Park, NC. May, 2001.
•   NCI Study Section Center Presite Meeting, Seattle, Washington, January, 2001.
•   Program committee member, NIEHS/Colorado State University conference on the Application of
    Technology to Chemical Mixture Research, 2001.
•   Coordinating Core Committee, National Center for Toxicogenomics, NIEHS, 2000 to present
•   Organizer, Joint US-Vietnam Consultation on Research on Agent Orange Health Effects in Vietnam.
    Singapore, 2000
•   ICCVAM/NICEATM, Up-and-Down Procedure Peer Review Meeting, 2000.
•   Chairman, NIEHS Risk Assessment Research Committee, 1995-present.
•   Discussant, NIEHS/PNNL Workshop on Human Biology Models for Environmental Health Effects,
    2000.
•   Risk Assessment Coordinator, NIEHS US RAPID Program for the Evaluation of Health Risks from
    Exposure to Electric and Magnetic Fields, 1996-99.
•   Organizer and Chair, Four Public Comment Sessions on the report of the NIEHS/DOE Working
    Group on the Health Effects of Exposure to Electric and Magnetic Fields, 1998.
•   Organizer and Co-Chair, NIEHS/DOE Working Group on the Health Effects of Exposure to Electric
    and Magnetic Fields, 1998.
•   Scientific Organizing Committee, NIEHS Workshop on Risk Assessment Issues Associated with
    Endocrine Disrupting Chemicals, 1998.
•   Organizer, NIEHS/DOE Science Research Symposium on the Health Effects of Exposure to Electric
    and Magnetic Fields I: Biophysical Mechanisms and In Vitro Experimentation, 1998.
•   Organizer, NIEHS/DOE Science Research Symposium on the Health Effects of Exposure to Electric
    and Magnetic Fields II: Epidemiological Findings, 1998.
•   Organizer, NIEHS/DOE Science Research Symposium on the Health Effects of Exposure to Electric
    and Magnetic Fields III: In Vitro and Clinical Research Findings, 1998.
•   Head, Toxicokinetics Faculty, NIEHS, 1994-97.
•   Coordinator/Director, NIEHS/ATSDR Interagency Course on Mechanistic Modeling in Environmental
    Risk Assessment, 1996.
•   Organizer, NIEHS/EPA Workshop on Research Priorities for New Risk Assessment Guidelines, 1996.
•   Co-Organizer, National Institute of Statistical Sciences, NIEHS/EPA Workshop on Mechanistic
    Modeling in Risk Assessment, 1995.
•   Scientific Coordinator and Mission Director, NIEHS “Mission to Vietnam” to assess the potential for
    scientific collaboration on the impact of Agent Orange on the Vietnamese Population, 1995.
•   Chairman, NIEHS Computer Science Focus Group, 1995.
•   Discussant, National Toxicology Program Workshop on Mechanistic Modeling in Toxicology,
    NIEHS, 1995.
•   Discussant, National Toxicology Program Workshop on Mechanisms of Carcinogenesis, NIEHS,
    1995.
•   Co-Organizer, International Conference on The Role of Cell Proliferation in Carcinogenesis, co-
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    sponsored by NIEHS, The Chemical Industry Institute of Toxicology, The International Life Sciences
    Institute and The American Industrial Health Council, 1992.
•   Organizer and Director, Scientific Basis of Animal Carcinogenicity Testing, Moscow, Russia, co-
    sponsored by the International Agency for Research on Cancer, NIEHS, Health and Welfare Canada
    and The All-Union Cancer Research Center, 1991.
•   Chairman, Computer Technology Advisory Forum, NIEHS, 1989.
•   Organizer and Director, Design and Analysis of Long-Term Animal Carcinogenicity Experiments,
    Lyon, France, co-sponsored by the International Agency for Research on Cancer and the NIEHS,
    1988.

Extramural Activities:
•   Member, NRC Committee to review the Draft Interagency Report on the Impacts of Climate
    Change on Human Health in the United States, Washington, DC, 2015
•   Expert Scientist, International Agency for Research on Cancer Monograph Meeting on Some
    Organophosphate Pesticides and Herbicides, Lyon, France, March, 2015
•   Overall Chair, International Agency for Research on Cancer Monograph Meeting on Diesel and
    Gasoline Engine Exhausts and related compounds, Lyon, France, June, 2012
•   Advisor to Wellcome Trust at “International Research Futures Symposium on Global Change,
    Economic Sustainability, and Human Health”, London, England, March, 2012.
•   Expert Panel Member for review of Hollings Marine Laboratory, National Oceanographic and
    Atmospheric Agency, Charleston, USA, February, 2012.
•   Chair, Mechanism Subgroup, International Agency for Research on Cancer Monograph Meeting on
    Radiofrequency Electric and Magnetic Fields, Lyon, France, May, 2011
•   Advisor, Greek Ministry Health, Working group on hexavalent chromium in the environment,
    January, 2011
•   Member, WHO Consultation on Human Health Risks from DDT, Geneva, Switzerland, November,
    2010
•   Associate Editor, Frontiers in Predictive Toxicity, 2010 – 2011
•   Scientific Advisor, Health Investigation Levels Workshop, Canberra, Australia, January, 2010
•   Chair, IARC Working Group, IARC Monograph 100-G, Lyon, France, October, 2009
•   Scientific Organizing Committee, VII World Congress on Alternatives and Animal Use in Life
    Sciences, Rome, Italy, September, 2009
•   Chair, Research Directions Working Group, World Health Organization Consultation on Global
    Research on Climate Change and Health, October, 2008.
•   Editor-in-Chief, The Open Environment Journal, May 2008-August, 2010
•   Member, EPA Science Advisory Board, July, 2008-present
•   Working Group Member, IARC Monograph 98 - Fire-fighting, Painting and Shift-work, Lyon,
    France, November, 2007
•   Chair, WHO Extremely Low Frequency Magnetic and Electric Fields Workshop on Intervention
    Strategies, June, 2007
•   Special Advisor to the Director, Program on Public Health and the Environment, WHO, Geneva,
    May-July, 2007
•   Member, International Life Sciences Institute Working Group on Susceptible Populations, March,
    2007 – present
•   Special Advisor to the Director, Program on Public Health and the Environment, WHO, Geneva,
    November, 2006-January, 2007
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•   Breakout Group Chair, International Workshop on Uncertainty and Variability in PBPK Modeling,
    RTP, NC USA, October, 2006
•   Member, Health Effects Sciences Institute Committee on Sensitive Subpopulations and Groups,
    Washington, DC, 2006 to present
•   Rapporteur, Steering Committee for developing the 100th Monograph of the International Agency for
    Research on Cancer, Lyon, France, September, 2006
•   Co-Organizer, parallel workshops on the advancement of PBPK modeling in risk assessment,
    Research Triangle Park, November, 2006, Corfu, Greece, April, 2007.
•   Organizer, Alternative Models in Developmental Neurotoxicity, Alexandria, Virginia, March, 2006.
•   Organizer, NTP High Throughput Screening Workshop, Washington, DC, December, 2005
•   Organizer, ISRTP Meeting on Alternative Methods in Toxicology, Baltimore, Maryland, November,
    2005
•   Organizer, NTP 25th Anniversary Meeting, Washington, DC, May, 2005
•   Organizer, IPCS/WHO Workgroup on Dose-Response Modeling, Geneva, Switzerland, September,
    2004
•   Organizer, Consultation on harmonization of toxicological research between the NTP, Ramazzini
    Foundation and the European Union, European Congress of Toxicology, Florence, Italy, September,
    2003.
•   Member, WHO Workgroup on the epidemiology of cellular phone toxicity, Tskuuba, Japan,
    September, 2003.
•   Program Committee, 12th International Conference on Global Warming, Boston, Massachusetts, May
    2003
•   Program Committee, International Conference on Cancer Risk Assessment, Athens, Greece, August,
    2003
•   Chair, WHO Public Consultation on Risk Communication, Luxembourg, February, 2003.
•   Chair, WHO Committee on Establishing a Plan for Implementation of the Precautionary Principle in
    Risk Management. Luxembourg, February, 2003.
•   Presenter (on behalf of US Government), National Academy of Sciences Panel on the Use of Third
    Party Toxicity Research with Human Research Participants, December, 2002
•   Member, US Science Delegation, United Nations Environmental Program Consultation on Organic
    Mercury, September, 2002
•   Science Panel Member, IARC Carcinogenicity Review of ELF-EMF, Lyon, France, June, 2001.
•   Reviewer, Finish Ministry of Health Centers of Excellence Program, Helsinki, April, 2001.
•   EPA dioxin reassessment peer review workshop and public comment session, Washington, DC, 2000.
•   Organizer: Dioxin Dose-Response Working Group Meeting, Fort Collins, Colorado, February, 2000.
•   Chair, Spiegelman Award Committee, American Public Health Association, 1998.
•   Chair, Bioelectromagnetics Society Symposium on the use of Transgenic Animals in Evaluating
    Health Risks from Exposure to Cellular Phones, St. Petersburg, Florida, 1998.
•   Member, World Health Organization International Program on Chemical Safety, Workshop on Issues
    in Cancer Risk Assessment, 1998.
•   Advisor, Joint Committee on Food Additives, World Health Organization/Food and Agriculture
    Organization. Evaluation of certain food additives and contaminants
•   Member, US Government Methylene Chloride Risk Characterization Science Committee, 1996-1998.
•   Scientific Organizing Committee, Colorado State University Workshop on Biomedical Advances on
    Chemical Mixtures, 1997.
•   National Academy of Sciences, Institute of Medicine, Committee on Funding Future Agent Orange
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    Research in Vietnam, 1996.
•   Discussant, Workshop on the role of Endocrine Disruptors in Human Health, 1995.
•   Advisor to Australian Health Council on Risk Assessment Methodology, Member NHMRC Steering
    Committee on Cancer Risk Assessment Guidelines
•   Participant, International Program on Chemical Safety of the World Health Organization Workshop
    on Chemical Risk Assessment, London, England, 1995.
•   Participant, IARC Workshop on Receptor-Mediated Carcinogenesis, Lyon, France, 1994.
•   Co-Organizer, Symposium on Quantitative Risk Assessment, German Cancer Research Center,
    Heidelberg, Germany, 1993.
•   Participant, IARC Monograph on Risk Assessment Methodology, International Agency for Research
    on Cancer, Lyon, France, 1993.
•   Thesis advisor for graduate student, University of Waterloo, Waterloo, Ontario, Canada. 1991-93.
•   Co-Organizer, Russian Academy of Sciences Informatics and Cybernetics Research Award, 1992.
•   Official Observer, IARC Monograph on the Biological Effects of Ultraviolet Radiation, International
    Agency for Research on Cancer, Lyon, France, 1992.
•   Member, International Life Sciences Institute, Dose-Response Working Group, 1991.
•   Participant in Banbury Conference on Human Health Risks from Exposures to Dioxins, Banbury
    Conference Center, Cold Spring Harbor, New York, 1990.
•   Co-Chairman, Session on Biostatistical Developments in Cancer Research, 15th International Cancer
    Congress, Hamburg, Germany, 1990.
•   Participant in Environmental Protection Agency Workshop on Risk Assessment Guidelines, Virginia
    Beach, Virginia, 1989.

Invited Presentations (present-1999)

“Glyphosate Carcinogenicity”, Swiss Society of Toxicology, Basel, November, 2016
“Glyphosate Carcinogenicity”, Concerned Scientists of Switzerland Annual Meeting, Zurich, December,
    2015
“Should the precautionary principle be invoked for RF-EMF”, BIOEM 2015, Asilomar, CA, USA, June
    2015
“IARC Monograph Review Process and Glyphosate”, Deutscher Bundestag, Berlin, Germany, June 2015
“The Exposome: Why does it matter for public health?”, Association of Public Health Laboratories, Dr.
    Katherine Kelly Distinguished Lecture, Indianapolis, USA May 2015
“A bioinformatics/biostatistics approach to systems toxicology”, Maastricht University, Maastricht,
    Netherlands, March, 2015
“Mechanistic Data, Cellular Pathways, and Cancer Classification”, 39th Annual Toxicology Forum
    Meeting, Washington D.C., USA, January, 2015
 “Current Issues in Environmental Public Health”, Nicholls State University, Thibodaux, LA, April, 2014
“Review of Approaches to the Quantification of Risks”, International Agency for Research on Cancer,
    Lyon, France, November, 2013
“The Gene-Environment-Disease Interactome”, Maastricht University, September, 2013
“Toxicogenomics and Electromagnetic Fields”, BEMS Annual Meeting, Thesaloniki, Greece, June 2013
“Toxicogenomics and Risk Assessment”, International Symposium on Toxicogenomics and Human
    Health, Paris, France, May, 2013
“Extreme Weather, Climate and Health: Putting Science into Practice”, Climate and Health Conference,
    Washington, DC, February, 2013
“Biofuels and Human Health: CDC’s activities”, Our Energy Future and Health, National Academy of
    Sciences, Washington, DC, USA, January, 2013
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“Global Environmental Health”, Johns Hopkins Bloomberg School of Public Health, Baltimore, MD,
     USA, January, 2013
“Addressing Superfund Sites”, SBRP Annual Meeting, Washington, DC, October, 2012
“The future of cancer risk assessment”, 6th NCC International Symposium- Management of Carcinogenic
     Hazard: Recent Progress and Future Perspectives, Seoul, Korea, June, 2012
“ATSDR Reorganization and New Directions”, National Toxicology Program Executive Committee,
     Washington, DC, May, 2012
“Hydraulic Fracturing, National Concerns”, Institute of Medicine Roundtable on Environmental Health,
     Washington, DC, April, 2012.
“Using Health Impact Assessment to Guide National Policy”, National Health Impact Assessment
     Meeting, Washington, DC, April, 2012
“The Great Debate”, Society of Toxicology Meetings, San Francisco, USA, March, 2012.
“CDC and Environmental Health”, Society of Toxicology Meetings, San Francisco, USA, March, 2012.
“Keynote Address”, National Climate Assessment Initial Workshop, Charleston, SC, February, 2012.
“Integration of Climate, Weather and Health”, American Meteorological Society, New Orleans, USA,
     January, 2012.
“Biomonitoring and Environmental Health”, CINVESTAV, Mexico Department of Health, Mexico City,
     Mexico, January, 2012.
“What is health risk assessment”, International Conference on EMF and Health, Brussels, Belgium,
     November, 2012.
“Risks from multiple chemicals in polluted communities”, International Conference on Chemical
     Mixtures, Wasington, USA, October, 2011.
“Healthy Homes: The Scientific Support”, National Healthy Homes Conference, Denver, CO, June, 2011
“Climate Change and Human Health”, Keynote Address, Yale School of Public Health Annual Alumni
     Day, New Haven, Ct, June, 2011
“Environmental Public Health”, Keynote Address, International Conference on Sustainable Remediation,
     Amherst, MA, June, 2011
“The gene-environment disease interactome for humans”, Society of Toxicology Annual Meeting,
     Washington, DC, March, 2011
“Environmental Exposure Science in the 21st Century”, NAS Committee on Human and Environmental
     Exposure Science in the 21st Century, Washington, DC, February, 2011
“Human Health Effects and the Impact of Climate Change on Our Oceans”, Annual National Conference
     on Science, Policy, and the Environment, Washington, Dc, January, 2011
“A Vision for the National Center for Environmental Health and Agency for Toxic Substances and
     Disease Registry”, NAS Committee on Emerging Issues in Environmental Health, Washington, DC,
     December, 2010
“Predicting Health Risks Using Gene-Expression Data”, EPA NextGEN Workshop, Research Triangle
     Park, NC, October, 2010
“Building Sustainable Environments”, NAS Workshop: Pathways to Sustainable Development, Atlanta,
     GA, September, 2010
“Future Directions in Environmental Public Health”, State Environmental Health Directors Annual
     Meeting, Portland, OR, September 2010
“The gene-environment disease interactome for humans”, AACR Workshop on The Future of Molecular
     Epidemiology, Miami, Fl, June, 2010
 “Emerging methods for determining chemical hazards”, Keynote Address, Human Health Hazard
     Indicators Workshop, Sacramento, March, 2010.
“Dose-response and risk assessment considerations of melamine in infants”, Society of Toxicology
     Annual Meetings, Sal Lake City, March, 2010
“The gene-environment disease interactome for humans”, University of Queensland Centre for Clinical
     Research, Brisbane, Australia, February, 2010
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“Research Needs for Climate Change and Human Health”, Queensland Health and ENTOX, February,
     2010
 “Using systems biology to develop the gene-environment disease interactome for humans”, ENTOX,
     Brisbane, Australia, December, 2009
 “Quantifying the health risks of dioxins and dioxin-like compounds”, ENTOX, January, 2010
“Epigenetics and its use in toxicology and risk assessment”, Keynote Adress, Australian College of
     Toxicology and Risk Assessment Annual Meeting, Canberra, December, 2009.
“The changing shape of regulatory toxicology in the United States”, Office of Chemical Safety &
     Environmental Health, Canberra, Australia, December, 2009
“The changing shape of regulatory toxicology in the United States”, NICNAS, Sydney, Australia,
     December, 2009
“Development and Use of the Gene-Environment-Disease Interactome for Humans”, 60th Anniversary of
     the Department of Biostatistics, University of North Carolina, Chapel Hill, NC, October, 2009
“Using systems biology to develop the gene-environment disease interactome for humans”, Seventh
     World Congress on Alternatives and Animal Use in Life Sciences, Rome, Italy, September, 2009
“Use of ‘Omics’ Technologies to Enhance Risk Assessment”, International Workshop on Genomics in
     Cancer Risk Assessment, Venice, Italy, August, 2009.
“Proteomics, Genomics and the Human Gene-Environment-Disease Interactome”, First International
     Radiation Proteomics Workshop, Munich, Germany, May, 2009.
“Molecular Biology and Regualtory Toxicology”, Society of Toxicology, Annual Meeting, Baltimore,
     Maryland, March, 2009.
“Using Modern Research Tools to Enhance Regulatory Toxicology”, SOT Satelite Meeting on
     Development Of Toxicological And Environmental Public Health Infrastructures In Africa:
     Understanding The Premise And Mapping The Approach, Baltimore, MD, March 2009.
“Health Implications of Climate Change”, Navy and Marine Public Health Conference, Norfolk, Va.,
     March, 2009.
“Climate Change and Minority Health”, Second Annual National Conference on Health Disparities,
     University of the Virgin Islands, St. Croix, December, 2008.
“Climate Change and Human Health”, the Environmental Mutagen Society Annual Meetings, Puerto
     Rico, October, 2008.
“Climate Change and Human Health”, The Puerto Rico Chamber of Commerce, October, 2008.
“Using Stem Cells in Environmental Health Research”, California Stem Cells and Predictive Toxicology
     Initiative Workshop, Berkeley, CA, July, 2008.
“Developing the Disease-Environment Interactome”, IMBA-FGF Workshop on Developing Omics
     Technologies to Assess Unclear Risks”, Berlin, Germany, May, 2008
“Environmental Systems Biology”, 40th Annual Interface Symposium on the interface between computer
     science and statistics, Durham, NC, May, 2008
“Environmental causes of childhood leukemia and modern environmental health research”, Summary
     Address, ICNIRP/WHO/BS Symposium on Research Advances in Childhood Leukemia, Berlin,
     Germany, May, 2008.
“Using systems biology as a tool to understand environmental health”, Atlantic Coast Symposium on the
     Mathematical Sciences in Biology and Medicine, Raleigh, NC, April, 2008.
“Biological networks and high-throughput screening”, Society of Toxicology, Seattle, Washington,
     March, 2008.
“Environment and cancer: strategies for identifying new hazards”. Workshop on the Environment and
     Cancer, American Cancer Society, Atlanta, Georgia, USA. January, 2008.
“A systems approach to human health risk assessment”, Environmental Health Sciences Decision
     Making: Risk Management, Evidence and Ethics. US National Academy of Sciences, Washington,
     DC, USA. January, 2008.
“Finding targets for high-throughput screening linking genetics, genomics, pathways and human disease”.
     NTP Biological Screening Program Seminar Series. January, 2008.
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“The forest for the trees: A systems approach to environmental health research”. Keynote Address, KTL-
     DEH Center of Excellence Program, Lamalo, Finland. December, 2007.
“Toxicology for the 21st Century”, ECNIS Research Colloquium, Engelheim, Germany, October, 2007.
“Evidence-Based Decision Making in Public Health”, First International Workshop on Evidence-Based
     Toxicology, Cuomo, Italy. October, 2007.
“Genes, Pathways and Diseases”, World Health Organization Headquarters, Geneva, Switzerland.
     September, 2007
“Pharmacokinetics and dynamics of ketamine in horses”, University of Bern, June, 2007
“Uncertainty and Variability in Risk Assessment”, NAS Workshop on Characterizing Uncertainty:
     Subgroup on Uncertainty in Estimating Low-Dose Risk from High-Dose Data, June, 2007
“The utility and interpretation of high-throughput screening data in risk assessment with focus on the
     NTP programs”, International Workshop on “Evaluating upstream endpoints for improved decision
     making and risk assessment”, Berkeley, Ca. May, 2007
“Future directions of risk assessment at the World Health Organization”, International Program for
     Chemical Safety Harmonization Steering Committee Meeting, Berlin, Germany, May, 2007
“Chipping away at environmental health risk assessment”, GEMS annual meeting, Research Triangle
     park, NC, April, 2007
“The forest for the trees: A systems approach to environmental health”, National Conference on Science,
     Policy and the Environment, Washington, DC, February, 2007
“Emerging technologies and their application in risk assessment”, National Research Council Standing
     Committee on Risk Analysis Issues and Reviews, Washington, DC, December, 206
“Stochastic systems biology modeling”, International Congress on Systems Biology, Tokyo, Japan,
     October, 2006
“Acceptable risk: environmental health research and public health”, National Symposium on Acceptable
     Risk in Clinical Medicine, RTP, NC, September, 2006
“Stochastic Systems Biology”, Society for Industrial and Applied Mathematics Annual Meeting, Raleigh,
     NC, August, 2006.
“Identifying and Quantifying Gene Interaction Networks”, Academia Sinica, Tapei, Taiwan, April, 2006.
“Estimating Health Risks from Environmental Exposures”, Medical School, Cheng Kung National
     University, Taiwan, April, 2006.
“Systems Biology and Environmental Health Research”, National Institute of Environmental Studies,
     Tsukuba, Japan, April, 2006.
“Cancer Research and Risk Assessment: Looking to the Future”, National Cancer Institute, Japan, April,
     2006
 “Cancer Research and Risk Assessment: Looking to the Future”, Keynote Address, Cancer and the
     Environment Symposium, Duke University, March, 2006
“Environmental Systems Biology”, Mount St Mary’s College, Maryland, March, 2006.
“Bioinformatics in High Throughput Screening: A proposal”, ILSI Annual Meeting, Puerto Rico,
     January, 2006.
“Gene Regulatory Networks in Cancer Risk Assessment, German Cancer Research Center, Heidelberg,
     Germany, December, 2005.
“Alternative Methods in Toxicology; Problems and Solutions”, Keynote Address, Workshop on
     Alternative Methods in Toxicology, Baltimore, Maryland, November, 2005
“Future Directions of the National Toxicology Program”, American Public Health Association Annual
     Meeting, New Orleans, Louisiana, November, 2005.
“Risk Assessment”, A Mini-Course, University of Finland, Kuopio, Finland, October, 2005.
“Mechanism-Based Modeling as an Alternative to Animals in Toxicology”, 5th World Conference on
     Alternatives To Animals Used in the Life Sciences, Berlin, Germany, August, 2005.
“Environmental Systems Biology”, Toxicology Forum, Aspen, Colorado, July, 2005.
“Mechanistic Implications of Modifiers of Chemical Toxicity”, Keynote Lecture, Workshop on Modifiers
     of Chemical Toxicity: Implications for Human Health Risk Assessment, Poros, Greece, June, 2005.
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“Future Directions in Screening for Toxicants”, Committee on the Future of Toxicology, National
     Academy of Sciences, Washington, DC, May, 2005.
“Toxicogenomics and the Future of Cancer Risk Assessment”, International Agency for Research on
     Cancer, Lyon France, May, 2005.
“Statistical Contributions to Federal Advisory Committees”, Eastern North American Region of the
     Biometrics Society Annual Meeting, Austin, Texas, March, 2005.
“The Future of Long-Term Animal Carcinogenicity Studies”, Invited Debate, Society of Toxicology
     Annual Meetings, New Orleans, Louisiana, March, 2005.
“Future Directions of the National Toxicology Program”, Society of Toxicology Annual Meetings, New
     Orleans, Louisiana, March, 2005.
“Role of the National Toxicology Program in Risk Assessment”, Federal-State Oncology and Risk
     Analysis Committee, Madison, Wisconsin, October, 2004.
“Identifying and Quantifying Cancer Risks using Mechanistic Data”, Cancer and The Environment: NCI
     Science Writers Seminar, National Institutes of Health, Bethesda, Maryland, October, 2004.
“Toxicogenomics and the Future of Risk Assessment”, Office of Science and Technology Policy,
     Washington, DC, August, 2004
“A Vision for the National Toxicology Program”, Toxicology Forum, Aspen, Colorado, June, 2004
“Health and Environment”, Joint Program on Climate Variability and Human Health, Atlanta, Georgia,
     March, 2004
“Dose-Response Analysis of Toxicogenomic Data”, NIEHS Toxicogenomics Faculty, Research Triangle
     Park, NC, December, 2003.
“Dose-Response Analysis of Toxicogenomic Data”, DERT Retreat, Southern Pines, NC, December,
     2003.
“Toxicogenomics and the Research Directions of the National Toxicology Program”, Keynote Address,
     Conference on Toxicology in the 21st Century, Korean Food and Drug Administration, Seoul, Korea,
     November, 2003.
“Dioxin and Agent Orange: What is known and what is suspected”, Keynote Address, NCST/NIEHS
     Conference of Environmental Mediation for Dioxin Soil Contamination, Hanoi, Vietnam,
     November, 2003.
“Dose-Response Analysis of Toxicogenomic Data”, NCSU/NIEHS Workshop on Bioinformatics and
     Risk Assessment, Research Triangle Park, NC, October, 2003.
“Health Effects of Electric and Magnetic Fields: Current Research Directions”, Joint WHO/Japanese
     Ministry of Health Public Meeting on Cellular Radiation, Tokyo, Japan, September, 2003.
“Future Directions in Toxicology and the National Toxicology Program”, NIEHS Public Liaison
     Meeting, New York City, September, 2003.
“Chipping Away at Risk Assessment: Genomics, Proteomics, Metabonomics and Cancer Risk
     Assessment”, Society of Toxicologic Pathology, Savannah, Ga. June, 2003.
“Cancer Modeling; An Overview”, Statistical Methods in Cancer Research, Radiation Effects Research
     Foundation, Kyoto, Japan, March, 2003 (presented by H. Toyoshiba due to war in Iraq and US Govt.
     responsibilities)
“Statistical methods for evaluating population exposures using CDC’s Environmental Report Card”,
     CDC, Atlanta, Ga. March, 2003.
“Bystander Effects in Carcinogenesis”, Society of Toxicology Meetings, Salt Lake City, Utah, March,
     2003
“Validation and use of genetically-modified mouse models as alternatives in carcinogenicity testing”,
     ILSI Workshop on Genetically Modified Mouse Models, Alexandria, Va., February, 2003.
“The Future of Genomics in Toxicology”, Mississippi State University, Oxford, Mississippi, February,
     2003
“NIEHS priorities in ecological research”, USGS Director’s Retreat, Washington, DC. January, 2003.
“The US National Toxicology Program”, Keynote Lecture at Opening Ceremonies for the Korean
     National Toxicology Program, Seoul, Korea, November, 2002
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“The NIEHS/NTP Initiatives on Alternative Models in Toxicology”, Science Advisory Board Meeting of
     the Center for the Advancement of Alternatives in Toxicology, Johns Hopkins University, Baltimore,
     Maryland, November, 2002
“The Analysis and Interpretation of Two-Stage Liver Bioassays in the Rat”, Workshop on Hepatic
     Preneoplasia: Quantitative Evaluation in Carcinogenesis Bioassays and Relevance for Human
     Hepatocarcinogenesis, Heidelberg, Germany, June, 2002
“Chipping Away at Risk Assessment: Genomics, Proteomics, Metabonomics and Cancer Risk
     Assessment”, Office of Environmental Health Hazard Assessment, California Department of Health,
     Sacramento, California, June, 2002
“Mechanistic Modeling of Stochastic Endpoints”, NIEHS Conference on Future Directions in
     Biostatistics, Research Triangle Park, North Carolina, May, 2002
“Mechanistic Models of Skin Carcinogenesis”, North Carolina State University, Raleigh, North Carolina,
     May, 2002
“Endocrine Dismodulation and Cancer”, Workshop on Light, Endocrine Systems and Cancer, University
     of Cologne, Cologne, Germany, May, 2002
“Mechanism-Based Quantitative Analysis of Carcinogenesis Data”, New York Academy of Sciences,
     April, 2002.
“Emerging Issues in Cancer Risk Assessment”, Sunrise Expert Seminar, American Association for
     Cancer Research Annual Meetings, San Francisco, California, April, 2002
“Quantitative Evaluation of Health Risks from Dioxin”, Joint US-Vietnam Scientific Conference on the
     Health and Environmental Effects of Agent Orange/Dioxin in Vietnam, Hanoi, Vietnam, March,
     2002
“Cancer Risk Assessment”, Hanoi Medical School/Vietnam Environmental Protection Agency/Vietnam
     Ministry of Health Joint Seminar, Hanoi Vietnam, January, 2002
“Mechanism-Based Modeling of Genomics Data”, University of Berne, Switzerland, October, 2001.
“Multistage Models of Carcinogenesis”, International Biometrics Conference Satellite Meeting, Fukuoka,
     Japan, September, 2001. (given by H. Toyoshiba due to conflict in scheduling)
"Discussion of CDC's Report on Levels of Environmental Contaminants in Human Tissues", National
     Public Radio Talk of the Nation Science Friday, March, 2001.
“Mixtures and Models in Environmental Health Risk Assessment”, NIEHS/Colorado State University
     conference on the Application of Technology to Chemical Mixture Research, January, 2001
“Biological and biophysical research at extremely low- and radio-frequencies”, Forschungsgemeinschaft
     Funk, Bad Münstereifel, Germany, December 2000.
“Harmonization of study evaluation and health risk assessment”, 2nd International EMF Seminar, Chinese
     Ministry of Health, WHO and ICNIRP, Xian, China, October 2000.
“QRA: extrapolations (animals to humans; high dose low dose)”, First International Course on Scientific
     Basis of Carcinogen Assessment – Quo Vadis?, NIVA, Naantali, Finland, September 2000.
“Statistical and biological models and toxicological issues in risk assessment”, Center for Environmental
     Health Risk Assessment (CERA) workshop on Future Needs in Risk Assessment, Stockholm,
     Sweden, September 2000.
“Innovative use of mechanistic considerations in forming quantitative risk assessment models”,
     Workshop on Future Research For Improving Risk Assessment Methods, National Institute for
     Occupational Safety and Health, Aspen, Colorado, August 2000.
“Latest scientific findings on dioxin”, Dioxin Summit, University of California at Berkeley, California,
     August 2000.
“Stochastic modeling in carcinogenesis and development”, Virtual Human Workshop, Research Triangle
     Park, NC. June 2000.
“Evaluating health risks; methods and examples”, Federal Office for Public Health, Bern, Switzerland.
     May 2000.
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“Decisions about environmental health risks: What are the key questions and how does this apply to
     melatonin”, Low frequency EMF, visible light, melatonin and cancer”, International Symposium,
     University of Cologne and the German Research Society, Cologne, Germany. May 2000.
“Children's environmental health-risk assessment issues and challenges”, California Environmental
     Protection Agency, Office of Environmental Health Assessment, Oakland, CA. April 2000.
“Children’s environmental health risks”, WHO/NIEHS Pacific Rim Meeting on Children’s Health,
     Manila, April, 2000.
“Toxicology and environmental health seminar series 2000”, University of Florida, Gainesville, Florida.
     April 2000.
“Biologically based population health risk assessment models”, University of Ottawa, Department of
     Epidemiology and Community Medicine and the Institute of Population Health, Ottawa, Canada.
     March 2000.
“Molecular epidemiology: a new tool in cancer prevention”, Applying science to regulatory policy and
     public health, Keystone Symposium, Taos, New Mexico. February 2000.
“Statistical methods used for evaluating chemical safety in the environment”, Mathematical Research
     Institute, Oberwolfach, Germany. February 2000.
“Mechanism-based mathematical modeling in health risk assessment” NC State University, January,
     2000.
“Methods for analyzing and quantifying EMF health risks”, WHO/ICNIRP scientific meeting, Erice,
     Sicily, Italy. November 1999.
“Harmonization of cancer and non-cancer risk assessment”, The Society of Toxicology, Washington, DC.
     November 1999.
“Risky business: evaluating the safety of environmental exposures”, Illinois Environmental Health
     Association, 1999 Annual Education Conference, Peoria, IL. October 1999.
“Challenges in the use of experimental and epidemiological data in health risk assessment”, Symposium
     on “Statistical methods in epidemiology and demography”, Department of Biostatistics at the
     University of North Carolina in Chapel Hill, Chapel Hill, North Carolina. October 1999.
“Linking toxicokinetics and toxicodynamics in biologically-based dose response models”, Dioxin 99, 19th
     International Symposium on Halogenated Environmental Organic Pollutants and Persistent Organic
     Pollutants (POPs), Venice, Italy. September 1999.
“How did WHO decide on a TDI for dioxin”, Faculty of Environmental Studies in Nagasaki University
     and the Department of Medical Informatics in Kyushu Medical School, Nagasaki, Japan. September
     1999.
“PBPK Models for Estrogen”, Workshop To Evaluate Research Priorities For Endocrine Active
     Compound Risk Assessment Methods, CMA, EPA, NIEHS, Research Triangle Park, North Carolina.
     August 1999.
“Risk assessment activities in the National Toxicology Program; risk assessment methodology, and
     mechanistic modeling of endocrine disruptors and dioxins”, Harvard Symposium on Persistent
     Organic Pollutants (POPS): A Public Health Perspective, Boston, Massachusetts. June 1999.
“Do extremely low frequency electric and magnetic fields pose a health risk?”, 21st Annual Meeting of the
     Bioelectromagnetics Society, Long Beach, California. June 1999.
“Probabilistic assessment of cancer dose response data”, Probabilistic Risk Assessment Workshop,
     Sarasota, Florida. February 1999.
“Linking toxicology and epidemiology: the role of mechanistic modeling”, CDC and ATSDR
     Symposium on Statistical Methods, Emerging Statistical Issues In Public Health For The 21st
     Century, Atlanta, Georgia. January 1999.
“Evaluation Of Health Risks From Exposure To Electric And Magnetic Fields; Completion Of A 2-Year
     Review Process”, Toxicology Round Table, Virginia-Maryland Regional College of Veterinary
     Medicine, Blacksburg, Virginia. January 1999.
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Interagency Agreements and Intramural Research Grants
US Environmental Protection Agency (1993-1994). Development and implementation of a mechanistic
     model for 2,3,7,8-TCDD. $25K.
Agency for Toxic Substances and Disease Registry (1994-1996). Study of the relationship between
     chemical structure/activity and dose-response shape and magnitude for carcinogens and development
     of physiologically based pharmacokinetic models for risk assessment. $796K.
NIEHS, Intramural Research Grant (1995-1998). Development of a mechanistic model of the impact of
     electromagnetic fields on melatonin. $180K.
NIEHS, Interagency Coordinator for Risk Assessment, EMFRAPID Program (1996-1998). Evaluation of
     potential risks from exposure to electric and magnetic fields. $2 million.
US Environmental Protection Agency (1999). Update to Dose-Response Chapter, Dioxin Reassessment.
     $25K.
NIH, Office of Research on Minority Health (1999-2002) GIS/Resampling method for evaluating data on
     environmental justice. $70K.

Direction of Ph.D. Theses:
A Bailer. The effects of treatment lethality on tests of carcinogenicity. Department of Biostatistics,
     University of North Carolina, Chapel Hill, North Carolina, 1986.
P Williams. Estimating tumor incidence rates using the method of moments and maximum likelihood
     estimation combined. Department of Biostatistics, University of North Carolina, Chapel Hill, North
     Carolina, 1989.
G Carr. The analysis of data on adverse reactions to chemicals in developmental toxicology. Department
     of Biostatistics, University of North Carolina, Chapel Hill, North Carolina, 1989.
S Liu. Estimating parameters in a two-stage model of carcinogenesis using information on enzyme-
     altered foci from initiation-promotion experiments. Department of Biostatistics, University of North
     Carolina, Chapel Hill, North Carolina, 1993.
CD Sherman. Multipath/multistage models of carcinogenesis. Department of Statistics and Actuarial
     Sciences, University of Waterloo, Waterloo, Ontario, Canada, 1994.
C Lyles. Cell labeling data: Models and parameter estimation. Department of Biostatistics, University
     of North Carolina, Chapel Hill, North Carolina, 1995.
F Ye. The equal slopes test for benchmark doses. Department of Biostatistics, University of North
     Carolina, Chapel Hill, North Carolina, 2001
S Whitaker. Development of a biologically-based mathematical model of fetal development. Department
     of Mathematics, North Carolina State University, Raleigh, North Carolina, 2000.
R Helms. Homeostatic feedback control of growth on multistage cancer models. Department of
     Biostatistics, University of North Carolina, Chapel Hill, North Carolina, 2001.

Journal Articles: (peer reviewed)
1.    Cote I, Andersen ME, Ankley GT, Barone S, Birnbaum LS, Boekelheide K, et al. The
      Next Generation of Risk Assessment Multi-Year Study-Highlights of Findings,
      Applications to Risk Assessment, and Future Directions. Environ Health Perspect (2016)
      124(11):1671-82. doi: 10.1289/EHP233. PubMed PMID: 27091369; PubMed Central
      PMCID: PMCPMC5089888.
2.    Parham F, Portier CJ, Chang X, Mevissen M. The Use of Signal-Transduction and
      Metabolic Pathways to Predict Human Disease Targets from Electric and Magnetic Fields
      Using in vitro Data in Human Cell Lines. Frontiers in public health (2016) 4:193. doi:
      10.3389/fpubh.2016.00193. PubMed PMID: 27656641; PubMed Central PMCID:
      PMCPMC5013261.
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3.    Portier CJ, Armstrong BK, Baguley BC, Baur X, Belyaev I, Belle R, et al. Differences in
      the carcinogenic evaluation of glyphosate between the International Agency for Research
      on Cancer (IARC) and the European Food Safety Authority (EFSA). Journal of
      epidemiology and community health (2016) 70(8):741-5. doi: 10.1136/jech-2015-207005.
      PubMed PMID: 26941213; PubMed Central PMCID: PMCPMC4975799.
4.    Sand S, Parham F, Portier CJ, Tice RR, Krewski D. Comparison of Points of Departure for
      Health Risk Assessment Based on High-Throughput Screening Data. Environ Health
      Perspect (2016). doi: 10.1289/EHP408. PubMed PMID: 27384688.
5.    Scinicariello F, Portier C. A simple procedure for estimating pseudo risk ratios from
      exposure to non-carcinogenic chemical mixtures. Archives of toxicology (2016) 90(3):513-
      23. doi: 10.1007/s00204-015-1467-z. PubMed PMID: 25667015.
6.    Smith MT, Guyton KZ, Gibbons CF, Fritz JM, Portier CJ, Rusyn I, et al. Key
      Characteristics of Carcinogens as a Basis for Organizing Data on Mechanisms of
      Carcinogenesis. Environ Health Perspect (2016) 124(6):713-21. doi:
      10.1289/ehp.1509912. PubMed PMID: 26600562; PubMed Central PMCID:
      PMCPMC4892922.
7.    McPartland, J., Dantzker, H.C., Portier, C. J. Building a robust 21st century chemical
      testing program at the U.S. Environmental Protection Agency: recommendations for
      strengthening scientific engagement, Environ Health Perspect 2015. 123 (1): p. 1-5.
8.    Smith, M.T., Gibbons, C.F., Fritz, J.M., Rusyn, I., Lambert, P., Kavlock, R., Hecht, S.S.,
      Bucher, J., Caldwell, J.C., Demarini, D., Cogliano, V., Portier, C., Paan, R., Straif, K.,
      Guyton, K.Z., Key Characteristics of Carcinogens and an Approach to using Mechanistic
      Data in their Classification, Environ Health Perspect 2015 (in press)
9.    Thomas, R., Thomas, R.S., Auerbach, S. S., Portier, C. J., Biological networks for
      predicting chemical hepatocarcinogenicity using gene expression data from treated mice
      and relevance across human and rat species. PLoS One, 2013. 8(5): p. e63308.
10.   Scinicariello, F., Buser, M.C., Mevissen, M., Portier, C.J., Blood lead level association
      with lower body weight in NHANES 1999-2006. Toxicol Appl Pharmacol, 2013. 273(3):
      p. 516-23.
11.   Thomas R, Portier CJ., Gene Expression Networks, Methods Mol Biol. 2013;930:165-78.
12.   Aylward LL, Kirman CR, Schoeny R, Portier CJ, Hays SM., Evaluation of Biomonitoring
      Data from the CDC National Exposure Report in a Risk Assessment Context: Perspectives
      across Chemicals. Environ Health Perspect. 2012 Dec 11. [Epub ahead of print] PMID:
      23232556
13.   Sand, S., Portier, C.J., Krewski, D. A Signal-to-noise crossover dose as the point of
      departure for risk assessment. Environmental Health Perspectives. 119(12):1766-74, 2011
14.   Gohlke, J.M., Thomas, R., Woodward, A., Campbell-Lundrum, D., Pruss-Ustun, A., Hales,
      S., Portier, C.J. Estimating the global public health implications of electricity and coal
      consumption. Environmental Health Perspectives 2011 119 (6): 821-6
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15.   McHale CM, Zhang L, Lan Q, Vermeulen R, Li G, Hubbard AE, Porter KE, Thomas R,
      Portier CJ, Shen M, Rappaport SM, Yin S, Smith MT, Rothman N. Global gene expression
      profiling of a population exposed to a range of benzene levels. Environ Health Perspect.
      2011 May;119(5):628-34.
16.   Prause AS, Guionaud CT, Stoffel MH, Portier CJ, Mevissen M. Expression and function of
      5-hydroxytryptamine 4 receptors in smooth muscle preparations from the duodenum,
      ileum, and pelvic flexure of horses without gastrointestinal tract disease. Am J Vet Res.
      2010 Dec;71(12):1432-42.
17.   Luke, N.S., DeVito, M.J., Portier, C.J., El-Masri, H.A., Employing a mechanistic model
      for the MAPK pathway to examine the impact of cellular all-or-none behavior on overall
      tissue response, Dose-Response 2010 8(3): 347-67.
18.   Crump, KS, Chen, C., Chiu, W.A., Louis, T.A., Portier, C. J., Subramaniam, R.P., Wgite,
      P.D., What role for biologically-based Dose-Response Models in Estimating Low-Dose
      Risk. Env. Health Persp. 2010 118(5):585-8
19.   Parham F, Austin C, Southall N, Huang R, Tice R, Portier C. Dose-Response modeling of
      High-Throughput Screening Data. J Biomol Screen. 2009 14(10), 1216-27
20.   Hines RN, Sargent D, Autrup H, Birnbaum LS, Brent RL, Doerrer NG, Cohen Hubal EA,
      Juberg DR, Laurent C, Luebke R., Olejniczak K, Portier CJ, Slikker W. Approaches for
      assessing risks to sensitive populations: lessons learned from evaluating risks in the
      pediatric population. Tox. Sci. 2010 113 (4), 4-26.
21.   Portier, C. Toxicological decision making on hazards and risks – status quo and the way
      forward: current concepts and schemes of science-driven decision making – an overview.
      Human and Experimental Toxicology 2009 28(2-3), 123-125
22.   Prause, A.S., Stoffel, M.H., Portier, C.J., Mevissen, M., Expression and function of 5-HT7
      receptors in smooth muscle preparation from equine duodenum, ileum, and pelvic flexure,
      Research in Veterinary Science 2009 87(2), 292-299
23.   Boyd, W.A., Smith, M. V., Kissling, G. E., Rice, J., R., Snyder, D. W., Portier, C. J.,
      Freedman, J. H. Application of a Mathematical Model to Describe the Effects of
      Chlorpyrifos on Caenorhabditis elegans Development, PLoS ONE 2009 4(9): e7024.
      doi:10.1371/journal.pone.0007024
24.   Smith MV, Boyd WA, Kissling GE, Rice JR, Snyder DW, et al. A Discrete Time Model
      for the Analysis of Medium-Throughput C. elegans Growth Data. PLoS ONE 2009 4(9):
      e7018. doi:10.1371/journal.pone.0007018
25.   Gohlke, J. M., Stockton, P.S., Sieber, S., Foley, J., Portier, C. J. AhR-mediated gene
      expression in the developing mouse telencephalon. Reproductive Toxicology 2009 (in
      press) doi:10.1016/j.reprotox.2009.05.067
26.   Thomas, R., Gohlke, J., Parham, F., Smith, M., Portier, C. (2009) Choosing the right path:
      enhancement of biologically-relevant sets of genes or proteins using pathway structure.
      Genome Biology 2009 10(4), R44.
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27.   Julia M Gohlke, Reuben Thomas, Yonqing Zhang, Michael C Rosenstein, Allan P Davis,
      Cynthia Murphy, Carolyn J Mattingly, Kevin G Becker, Christopher J Portier, Genetic and
      Environmental Pathways to Complex Disease. BMC Systems Biology 2009 May 5, 3:46.
28.   Schmitz, A., Portier, C. J., Thurmann, W., Theurillat, R., Mevissen, M. Stereoselective
      biotransformation of ketamine in equine liver and lung microsomes. J. Vet. Pharm. And
      Therapeutics 2008 31 (5): 446-455
29.   Xia, M; Huang, R; Witt, KL; Southall, N; Fostel, J; Cho, MH; Jadhav, A; Smith, CS;
      Inglese, J; Portier, CJ; Tice, RR; Austin, CP Compound cytotoxicity profiling using
      quantitative high-throughput screening. Env. Health Perspectives 2008 116 (3): 284-291
30.   Gohlke, J. M., Armant, O., Parham, F., M., Smith, M., V., Zimmer, C., Castro, D., S.,
      Nguyen, L., Parker, J., S., Gradwohl, G., Guillemot, F., Portier, C. J. Characterization of
      proneural gene regulatory network during mouse telencephalon development., BMC
      Biology 2008 6 (15)
31.   Subramaniam, R. P., Chen, C., Crump, K. S., Devoney, D., Fox, J., F., Portier, C. J.,
      Schlosser, P. M., Thompson, C. M., White, P. Uncertainties in Biologically-based
      modeling of formaldehyde-induced respiratory cancer risk: Identification of key issues.
      Risk Analysis 2008 28(4): 907-923
32.   Buehler, M., Steiner, A., Meylan, M., Portier, C. J., and Mevissen, M., In vitro effects of
      bethanechol on smooth muscle preparations obtained from abomasal fundus, corpus and
      antrum of dairy cows. Research in Vet. Sci. 2008 84 (3), 444-451
33.   Barton, H.A., W.A. Chiu, R.W. Setzer, M.E. Andersen, A.J. Bailer, F.Y. Bois, R.S.
      Dewoskin, S. Hays, G. Johanson, N. Jones, G. Loizou, R.C. Macphail, C.J. Portier, M.
      Spendiff, and Y.M. Tan, Characterizing Uncertainty and Variability in Physiologically-
      based Pharmacokinetic (PBPK) Models: State of the Science and Needs for Research and
      Implementation. Toxicol Sciences 2007 99 (2) 395-402.
34.   Pfeiffer, J.B., M. Mevissen, A. Steiner, C.J. Portier, and M. Meylan, In vitro effects of
      bethanechol on specimens of intestinal smooth muscle obtained from the duodenum and
      jejunum of healthy dairy cows. Am J Vet Res, 2007. 68(3): p. 313-22.
35.   Smith, M., Miller, C., Kohn, M., Walker, N.J., Portier, C. J., Absolute estimation of initial
      concentrations of amplicon in a real-time PT-PCR process, BMC Bioinformatics 2007 8(1),
      409
36.   Toyoshiba, H., Sone, H., Yamanaka, T., Parham, F., Irwin, R., Boorman, G., and Portier,
      C. Gene network analysis suggests differences between high and low doses of
      acetaminophen. Toxicology and Applied Pharmacology 2006 215 (3), 306-316
37.   Knobloch M, Portier CJ, Levionnois OL, Theurillat R, Thormann W, Spadavecchia C,
      Mevissen M. Antinociceptive effects, metabolism and disposition of ketamine in ponies
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            APPENDICES
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Differences in the carcinogenic                                                                                   supports that substance’s potential to
                                                                                                                  cause or not cause cancer in humans.
                                                                                                                     For Monograph 112,2 17 expert scien-
evaluation of glyphosate between the                                                                              tists evaluated the carcinogenic hazard for

International Agency for Research on                                                                              four insecticides and the herbicide glypho-
                                                                                                                  sate.3 The WG concluded that the data

Cancer (IARC) and the European Food                                                                               for glyphosate meet the criteria for classi-
                                                                                                                  ﬁcation as a probable human carcinogen.

Safety Authority (EFSA)                                                                                              The European Food Safety Authority
                                                                                                                  (EFSA) is the primary agency of the
                                                                                                                  European Union for risk assessments
Christopher J Portier,1 Bruce K Armstrong,2 Bruce C Baguley,3                                                     regarding food safety. In October 2015,
                                                                                                                  EFSA reported4 on their evaluation of the
Xaver Baur,4 Igor Belyaev,5 Robert Bellé,6 Fiorella Belpoggi,7                                                    Renewal Assessment Report5 (RAR) for
Annibale Biggeri,8 Maarten C Bosland,9 Paolo Bruzzi,10                                                            glyphosate that was prepared by the
Lygia Therese Budnik,11 Merete D Bugge,12 Kathleen Burns,13                                                       Rapporteur Member State, the German
                                                                                                                  Federal Institute for Risk Assessment
Gloria M Calaf,14 David O Carpenter,15 Hillary M Carpenter,16                                                     (BfR). EFSA concluded that ‘glyphosate is
Lizbeth López-Carrillo,17 Richard Clapp,18 Pierluigi Cocco,19                                                     unlikely to pose a carcinogenic hazard to
Dario Consonni,20 Pietro Comba,21 Elena Craft,22                                                                  humans and the evidence does not
                                                                                                                  support classiﬁcation with regard to its
Mohamed Aqiel Dalvie,23 Devra Davis,24 Paul A Demers,25                                                           carcinogenic potential’. Addendum 1 (the
Anneclaire J De Roos,26 Jamie DeWitt,27 Francesco Forastiere,28                                                   BfR Addendum) of the RAR5 discusses the
Jonathan H Freedman,29 Lin Fritschi,30 Caroline Gaus,31                                                           scientiﬁc rationale for differing from the
                                                                                                                  IARC WG conclusion.
Julia M Gohlke,32 Marcel Goldberg,33 Eberhard Greiser,34                                                             Serious ﬂaws in the scientiﬁc evaluation
Johnni Hansen,35 Lennart Hardell,36 Michael Hauptmann,37                                                          in the RAR incorrectly characterise the
Wei Huang,38 James Huff,39 Margaret O James,40 C W Jameson,41                                                     potential for a carcinogenic hazard from
                                                                                                                  exposure to glyphosate. Since the RAR is
Andreas Kortenkamp,42 Annette Kopp-Schneider,43 Hans Kromhout,44                                                  the basis for the European Food Safety
Marcelo L Larramendy,45 Philip J Landrigan,46 Lawrence H Lash,47                                                  Agency (EFSA) conclusion,4 it is critical
                                                                                                                  that these shortcomings are corrected.
Dariusz Leszczynski,48 Charles F Lynch,49 Corrado Magnani,50
Daniele Mandrioli,51 Francis L Martin,52 Enzo Merler,53                                                           THE HUMAN EVIDENCE
Paola Michelozzi,54 Lucia Miligi,55 Anthony B Miller,56                                                           EFSA concluded ‘that there is very limited
                                                                                                                  evidence for an association between
Dario Mirabelli,57 Franklin E Mirer,58 Saloshni Naidoo,59                                                         glyphosate-based      formulations     and
Melissa J Perry,60 Maria Grazia Petronio,61 Roberta Pirastu,62                                                    non-Hodgkin lymphoma (NHL), overall
Ralph J Portier,63 Kenneth S Ramos,64 Larry W Robertson,65                                                        inconclusive for a causal or clear associa-
                                                                                                                  tive relationship between glyphosate and
Theresa Rodriguez,66 Martin Röösli,67 Matt K Ross,68 Deodutta Roy,69                                              cancer in human studies’. The BfR
Ivan Rusyn,70 Paulo Saldiva,71 Jennifer Sass,72 Kai Savolainen,73                                                 Addendum ( p. ii) to the EFSA report
                                                                                                                  explains that ‘no consistent positive asso-
Paul T J Scheepers,74 Consolato Sergi,75 Ellen K Silbergeld,76                                                    ciation was observed’ and ‘the most
Martyn T Smith,77 Bernard W Stewart,78 Patrice Sutton,79                                                          powerful study showed no effect’. The
Fabio Tateo,80 Benedetto Terracini,81 Heinz W Thielmann,82                                                        IARC WG concluded there is limited evi-
                                                                                                                  dence of carcinogenicity in humans which
David B Thomas,83 Harri Vainio,84 John E Vena,85 Paolo Vineis,86                                                  means “A positive association has been
Elisabete Weiderpass,87 Dennis D Weisenburger,88                                                                  observed between exposure to the agent
Tracey J Woodruff,89 Takashi Yorifuji,90 Il Je Yu,91 Paola Zambon,92                                              and cancer for which a causal interpret-
                                                                                                                  ation is considered by the Working Group
Hajo Zeeb,93 Shu-Feng Zhou94                                                                                      to be credible, but chance, bias or con-
                                                                                                                  founding could not be ruled out with rea-
The International Agency for Research on                 agents that cause cancer in humans and                   sonable conﬁdence.”1
Cancer (IARC) Monographs Programme                       has evaluated about 1000 agents since                       The ﬁnding of limited evidence by the
identiﬁes chemicals, drugs, mixtures,                    1971. Monographs are written by ad hoc                   IARC WG was for NHL, based on high-
occupational exposures, lifestyles and per-              Working Groups (WGs) of international                    quality case control studies, which are
sonal habits, and physical and biological                scientiﬁc experts over a period of about                 particularly valuable for determining the
                                                         12 months ending in an eight-day                         carcinogenicity of an agent because their
                                                         meeting. The WG evaluates all of the                     design facilitates exposure assessment and
For numbered afﬁliations see end of article.             publicly available scientiﬁc information on              reduces the potential for certain biases.
Correspondence to Dr Christopher J Portier,
                                                         each substance and, through a transparent                The Agricultural Health Study6 (AHS)
Environmental Health Consultant, Thun, CH 3600,          and rigorous process,1 decides on the                    was the only cohort study available pro-
Switzerland; cportier@me.com                             degree to which the scientiﬁc evidence                   viding information on the carcinogenicity
                                                  Portier CJ, et al. J Epidemiol Community Health August 2016 Vol 70 No 8                                 741
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of glyphosate. The study had a null              or above the limit dose/maximum toler-           EC regulations cited in the RAR18 (see
ﬁnding for NHL (RR 1.1, 0.7 1.9) with            ated dose (MTD), lack of preneoplastic           p.375). Trend tests are more powerful
no apparent exposure response relation-          lesions and/or being within historical           than pairwise comparisons, particularly
ship in the results. Despite potential           control range’. The IARC WG review               for rare tumours where data are sparse.
advantages of cohort versus case control         found a signiﬁcant positive trend for renal      Historical control data should be from
studies, the AHS had only 92 NHL cases           tumours in male CD-1 mice,12 a rare              studies in the same time frame, for the
in the unadjusted analysis as compared to        tumour, although no comparisons of any           same animal strain, preferably from the
650 cases in a pooled case control ana-          individual exposure group to the control         same laboratory or the same supplier and
lysis from the USA.7 In addition, the            group were statistically signiﬁcant. The         preferably reviewed by the same patholo-
median follow-up time in the AHS was             WG also identiﬁed a signiﬁcant positive          gist.17 18 While the EFSA ﬁnal peer
6.7 years, which is unlikely to be long          trend for hemangiosarcoma in male CD-1           review4 mentions the use of historical
enough to account for cancer latency.8           mice,13 again with no individual exposure        control data from the original laboratory,
   The RAR classiﬁed all of the case             group signiﬁcantly different from con-           no speciﬁcs are provided and the only
control studies as ‘not reliable,’ because,      trols. Finally, the WG also saw a signiﬁ-        referenced historical control data24 are in
for example, information on glyphosate           cant increase in the incidence of                the BfR addendum.5 One of the mouse
exposure, smoking status and/or previous         pancreatic islet cell adenomas in two            studies12 was clearly done before this his-
diseases had not been assessed. In most          studies in male Sprague-Dawley rats.14–16        torical control database was developed,
cases, this is contrary to what is actually      In one of these rat studies, thyroid gland       one study (Sugimoto. Unpublished, 1997)
described       in     the      publications.    adenomas in females and liver adenomas           used Crj:CD-1 mice rather than Crl:CD-1
Well-designed case control studies are           in males were also increased. By the IARC        mice, and one study13 did not specify the
recognised as strong evidence and rou-           review criteria,1 this constitutes sufﬁcient     substrain and was reported in 1993 (prob-
tinely relied on for hazard evaluations.9 10     evidence in animals.                             ably started prior to 1988). Hence, only a
The IARC WG carefully and thoroughly                The IARC WG reached this conclusion           single study (Unknown. Unpublished,
evaluated all available epidemiology data,       using data that were publicly available in       2009) used the same mouse strain as the
considering the strengths and weaknesses         sufﬁcient detail for independent scientiﬁc       cited historical controls, but was reported
of each study. This is key to determining        evaluation (a requirement of the IARC            more than 10 years after the historical
that the positive associations seen in the       Preamble1). On the basis of the BfR              control data set was developed.
case control studies are a reliable indica-      Addendum, it seems there were three add-            The RAR dismissed the slightly
tion of an association and not simply due        itional mouse studies and two additional         increased tumour incidences in the studies
to chance or methodological ﬂaws. To             rat studies that were unpublished and            considered because they occurred “only at
provide a reasonable interpretation of the       available to EFSA. Two of the additional         dose levels at or above the limit dose/
ﬁndings, an evaluation needs to properly         studies were reported to have a signiﬁcant       maximum tolerated dose (MTD)”, and
weight studies according to quality rather       trend for renal tumours, one in CD-1 mice        because there was a lack of preneoplastic
than simply count the number of positives        (Sugimoto. 18-Month Oral Oncogenicity            lesions. Exceeding the MTD is demon-
and negatives. The two meta-analyses             Study in Mice. Unpublished, designated           strated by an increase in mortality or
cited in the IARC Monograph11 are excel-         ASB2012 11493 in RAR. 1997), and one             other serious toxicological ﬁndings at the
lent examples of objective evaluations and       in Swiss-Webster mice (Unknown. A                highest dose, not by a slight reduction in
show a consistent positive association           chronic feeding study of glyphosate              body weight. No serious toxicological
between glyphosate and NHL.                      (roundup technical) in mice. Unpublished,        ﬁndings were reported at the highest
   The ﬁnal conclusion5 (Addendum 1,             designated ABS2012 11491 in RAR.                 doses for the mouse studies in the RAR.
p.21) that “there was no unequivocal evi-        2001). One of these studies (Sugimoto.           While some would argue that these high
dence for a clear and strong association of      Unpublished, 1997) also reported a signiﬁ-       doses could cause cellular disruption (eg,
NHL with glyphosate” is misleading.              cant trend for hemangiosarcoma. The              regenerative hyperplasia) leading to
IARC, like many other groups, uses three         RAR also reported two studies in CD-1            cancer, no evidence of this was reported
levels of evidence for human cancer data.1       mice showing signiﬁcant trends for malig-        in any study. Finally, a lack of preneoplas-
Sufﬁcient evidence means ‘that a causal          nant lymphoma (Sugimoto. Unpublished,            tic lesions for a signiﬁcant neoplastic
relationship has been established’ between       1997; Unknown. Glyphosate Technical:             ﬁnding is insufﬁcient reason to discard the
glyphosate and NHL. BfR’s conclusion is          Dietary      Carcinogencity     Study     in     ﬁnding.
equivalent to deciding that there is not         the Mouse. Unpublished, designated
sufﬁcient evidence. Legitimate public            ABS2012 11492 in RAR. 2009).                     MECHANISTIC INFORMATION
health concerns arise when ‘causality is            The RAR dismissed the observed trends         The BfR Addendum dismisses the IARC
credible’, that is, when there is limited evi-   in tumour incidence because there are no         WG ﬁnding that ‘there is strong evidence
dence of carcinogenicity.                        individual treatment groups that are sig-        that glyphosate causes genotoxicity’ by
                                                 niﬁcantly different from controls and            suggesting that unpublished evidence not
EVIDENCE FROM ANIMAL                             because the maximum observed response            seen by the IARC WG was overwhelm-
CARCINOGENICITY STUDIES                          is reportedly within the range of the his-       ingly negative and that, since the reviewed
EFSA concluded ‘No evidence of carcino-          torical control data (Table 5.3 1, p.90).        studies were not done under guideline
genicity was conﬁrmed by the majority of         Care must be taken in using historical           principles, they should get less weight. To
the experts (with the exception of one           control data to evaluate animal carcino-         maintain transparency, IARC reviews only
minority view) in either rats or mice due        genicity data. In virtually all guide-           publicly available data. The use of conﬁ-
to a lack of statistical signiﬁcance in pair-    lines,1 17 18 scientiﬁc reports19 and            dential data submitted to the BfR makes it
wise comparison tests, lack of consistency       publications20–23 on this issue, the recom-      impossible for any scientist not associated
in multiple animal studies and slightly          mended ﬁrst choice is the use of concur-         with BfR to review this conclusion.
increased incidences only at dose levels at      rent controls and trend tests, even in the       Further weakening their interpretation,
742                                                                              Portier CJ, et al. J Epidemiol Community Health August 2016 Vol 70 No 8
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the BfR did not include evidence of                      where ﬁnancial support, conﬂicts of inter-            studies, hemangiosarcoma in two
chromosomal damage from exposed                          est and afﬁliations of authors are fully dis-         mouse studies and malignant lymph-
humans or human cells that were high-                    closed. This is in direct contrast to the             oma in two mouse studies. Thus, EFSA
lighted in Tables 4.1 and 4.2 of the IARC                IARC WG evaluation listing all authors,               incorrectly discarded all ﬁndings of
Monograph 3                                              all publications and public disclosure of             glyphosate-induced cancer in animals
   The BfR conﬁrms ( p.79) that the                      pertinent conﬂicts of interest prior to the           as chance occurrences.
studies evaluated by the IARC WG on                      WG meeting.27                                     ▸ EFSA ignored important laboratory
oxidative stress were predominantly posi-                   Several guidelines have been devised for           and human mechanistic evidence of
tive but does not agree that this is strong              conducting careful evaluation and analysis            genotoxicity.
support for an oxidative stress mechan-                  of carcinogenicity data, most after con-          ▸ EFSA conﬁrmed that glyphosate
ism. They minimise the signiﬁcance of                    sultation with scientists from around the             induces oxidative stress but then,
these ﬁndings predominantly because of a                 world. Two of the most widely used                    having dismissed all other ﬁndings of
lack of positive controls in some studies                guidelines in Europe are the OECD guid-               possible carcinogenicity, dismissed this
and because many of the studies used gly-                ance on the conduct and design of                     ﬁnding on the grounds that oxidative
phosate formulations and not pure gly-                   chronic toxicity and carcinogenicity                  stress alone is not sufﬁcient for car-
phosate. In contrast, the WG concluded                   studies17 and the European Chemicals                  cinogen labelling.
that ( p.77) ‘Strong evidence exists that                Agency      Guidance      on     Commission          The most appropriate and scientiﬁcally
glyphosate, AMPA and glyphosate-based                    Regulation (EU) No 286/2011;18 both are           based evaluation of the cancers reported
formulations can induce oxidative stress’.               cited in the RAR. The methods used for            in humans and laboratory animals as well
From a scientiﬁc perspective, these types                historical controls and trend analysis are        as supportive mechanistic data is that gly-
of mechanistic studies play a key role in                inconsistent with these guidelines.               phosate is a probable human carcinogen.
distinguishing between the effects of mix-                  Owing to the potential public health           On the basis of this conclusion and in the
tures, pure substances and metabolites.                  impact of glyphosate, which is an exten-          absence of evidence to the contrary, it is
   Finally, we strongly disagree that data               sively used pesticide, it is essential that all   reasonable to conclude that glyphosate
from studies published in the peer-                      scientiﬁc evidence relating to its possible       formulations should also be considered
reviewed literature should automatically                 carcinogenicity is publicly accessible and        likely human carcinogens. The CLP
receive less weight than guideline studies.              reviewed transparently in accordance with         Criteria18 (Table 3.6.1, p.371) allow for a
Compliance with guidelines and Good                      established scientiﬁc criteria.                   similar classiﬁcation of Category 1B when
Laboratory Practice does not guarantee                                                                     there are ‘studies showing limited evi-
validity and relevance of the study design,              SUMMARY                                           dence of carcinogenicity in humans
statistical rigour and attention to sources              The IARC WG concluded that glyphosate             together with limited evidence of carcino-
of bias.25 26 The majority of research after             is a ‘probable human carcinogen’, putting         genicity in experimental animals’.
the initial marketing approval, including                it into IARC category 2A due to sufﬁcient            In the RAR, almost no weight is given
epidemiology studies, will be conducted                  evidence of carcinogenicity in animals,           to studies from the published literature
in research laboratories using various                   limited evidence of carcinogenicity in            and there is an over-reliance on non-
models to address speciﬁc issues related to              humans and strong evidence for two car-           publicly     available    industry-provided
toxicity, often with no testing guidelines               cinogenic mechanisms.                             studies using a limited set of assays that
available. Peer-reviewed and published                   ▸ The IARC WG found an association                deﬁne the minimum data necessary for
ﬁndings have great value in understanding                    between NHL and glyphosate based              the marketing of a pesticide. The IARC
mechanisms of carcinogenicity and should                     on the available human evidence.              WG evaluation of probably carcinogenic
be given appropriate weight in an evalu-                 ▸ The IARC WG found signiﬁcant car-               to humans accurately reﬂects the results of
ation based on study quality, not just on                    cinogenic effects in laboratory animals       published scientiﬁc literature on glypho-
compliance with guideline rules.                             for rare kidney tumours and heman-            sate and, on the face of it, unpublished
                                                             giosarcoma in two mouse studies and           studies to which EFSA refers.
GENERAL COMMENTS                                             benign tumours in two rat studies.               Most of the authors of this commentary
Science moves forward on careful evalua-                 ▸ The IARC WG concluded that there                previously expressed their concerns to
tions of data and a rigorous review of                       was strong evidence of genotoxicity           EFSA and others regarding their review of
ﬁndings, interpretations and conclusions.                    and oxidative stress for glyphosate,          glyphosate28 to which EFSA has published
An important aspect of this process is                       entirely from       publicly available        a reply.29 This commentary responds to
transparency and the ability to question or                  research, including ﬁndings of DNA            the EFSA reply.
debate the ﬁndings of others. This ensures                   damage in the peripheral blood of                The views expressed in this editorial are
the validity of the results and provides a                   exposed humans.                               the opinion of the authors and do not
strong basis for decisions. Many of the                     The RAR concluded5 (Vol. 1, p.160)             imply an endorsement or support for
elements of transparency do not exist for                that ‘classiﬁcation and labelling for car-        these opinions by any organisations to
the RAR.5 For example, citations for                     cinogenesis is not warranted’ and ‘glypho-        which they are afﬁliated.
almost all references, even those from the               sate is devoid of genotoxic potential’.
open scientiﬁc literature, have been                     ▸ EFSA4 classiﬁed the human evidence
                                                                                                           Author afﬁliations
redacted. The ability to objectively evalu-                  as ‘very limited’ and then dismissed          1
                                                                                                             Environmental Health Consultant, Thun, Switzerland
ate the ﬁndings of a scientiﬁc report                        any association of glyphosate with            2
                                                                                                             The University of Sydney, Sydney, New South Wales,
requires a complete list of cited support-                   cancer without clear explanation or           Australia
                                                                                                           3
ing evidence. As another example, there                      justiﬁcation.                                   The University of Auckland, Auckland, New Zealand
                                                                                                           4
                                                                                                             Charité University Medicine Berlin, Berlin, Germany
are no authors or contributors listed for                ▸ Ignoring established guidelines cited in        5
                                                                                                             Cancer Research Institute, Bratislava, Slovak Republic
either document, a requirement for publi-                    their report, EFSA dismissed evidence         6
                                                                                                             Sorbonne Universités, UPMC Univ Paris 06,
cation in virtually all scientiﬁc journals                   of renal tumours in three mouse               UMR8227, Roscoff, France

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     Health/Lippincott Williams & Wilkins, 2008:x, 758 p.            the National Toxicology Program 12th Report on                 Carcinogenicity of Glyphosate by EFSA and BfR.
11   Schinasi L, Leon ME. Non Hodgkin lymphoma and                   Carcinogens: Workshop Summary; Washington DC:                  2016. 1/13/2016. http://www.efsa.europa.eu/sites/
     occupational exposure to agricultural pesticide                 National Academies Press, 2014.                                default/ﬁles/EFSA response Prof Portier.pdf




Portier CJ, et al. J Epidemiol Community Health August 2016 Vol 70 No 8                                                                                                                745
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Comments of Christopher J. Portier, PhD.
USEPA (EPA-HQ-OPP-2016-0385-0094)
Glyphosate Issue Paper: Evaluation of Carcinogenic Potential
October 4, 2016

Disclaimer: This work was done with my own resources and on my own time. I have
received no reimbursement for any of these comments and no other party has
contributed to the drafting of these comments. These comments are solely my opinion
and my responsibility.

General Comments and Overall Summary

My comments on the glyphosate review by the USEPA (EPA-HQ-OPP-2016-0385-0094)
is rather long and detailed. Realizing that the time and energies of the Science Advisory
Panel (SAP) are limited, I will summarize my findings here. Each summarized finding is
linked to the line(s) in my more technical review for those who wish to see more details.
Because of my own limited time, I have chosen to focus my comments on the human
evidence and the animal carcinogenicity evidence, foregoing the review of the other
evidence presented. However, I will note that after reading the review on the
mechanistic evidence relating to genotoxicity and oxidative stress, I still agree with the
findings from the IARC Working Group that there is strong evidence that these
mechanisms are operable.

Human Evidence Findings

   1. The meta-analyses are improperly characterized by the EPA (lines 21-33)
   2. The exposure-response relationship in the Agricultural Health Study (AHS) has
      greater weight than in the other studies, but has problems of its own (lines 39-
      45)
   3. It is not clear in which direction possible confounding would alter the relative
      risks (lines 61-66) although possible confounding is an issue (line 68).
   4. Recall bias is a concern, especially with the case-control studies (lines 70-72)
   5. The EPA speculates without data that the more positive studies should have had
      lower relative risks than other studies (lines 77-80)
   6. The follow-up time in the AHS study is likely to be too short to have seen an
      impact of the magnitude seen in the case-control studies and EPA does a poor
      job of characterizing the data they used to reach an opposite conclusion (lines
      85-109)
   7. The EPA speculates that earlier years of exposure prior to the start of the AHS
      would have effectively expanded the time on study in the AHS without any solid
      basis (lines 111-114)
   8. The Bradford-Hill criteria outlined in the 1997 Guidelines for Carcinogenic Risk
      Assessment (GCRA) support a conclusion that a causal association in the
      epidemiology data is credible, but that chance, bias and or confounding could
      possibly explain the results. (lines 116-127)
   9. EPA’s interpretation that “the association between glyphosate exposure and risk
       of NHL cannot be determined based on the available data” does not correctly


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       characterize the human data presented. A better interpretation is that “a
       positive association has been observed between exposure to the agent and
       cancer for which a causal interpretation is considered to be credible, but
       chance, bias or confounding could not be ruled out with reasonable
       confidence”. This is the interpretation given these data by the IARC Working
       Group (lines 129-139)




Animal Carcinogenicity Data Findings

   1. EPA’s QCAR sets clear guidelines on evaluating animal cancer data with regard
      to when a high dose is exceeded (lines 151-159), how to interpret trend tests
      and pairwise comparisons (lines 163-169), how to use historical control data
      (lines 173-176) and what constitutes a valid historical control data set (180-
      182)
   2. EPA has misinterpreted the language in OCSPP 870.4200 and OCSPP 870.4300
      by assuming that an optional highest dose in an animal carcinogenicty study is
      also a threshold for inclusion of doses in their evaluation. In other words, 1000
      mg/kg/day is not an upper bound, 5% in diet is the upper bound (lines 184-210)
   3. I have individual comments on every rat study evaluated by the EPA (lines 212-
      287).
   4. EPA consistently dismisses significant findings in rat studies because of a lack of
      a preneoplastic finding (studies listed starting a lines 217, 229, 277). This
      presumes that all mechanisms by which chemicals induce tumors in animals will
      involve enough stages that there would be a histologically identifiable
      preneoplastic lesion from which final tumors are formed. This simply is not the
      case and this criteria is applied without any concern for its validity by the EPA.
   5. EPA consistently dismisses significant findings in rat studies because of a lack of
      a significant pairwise comparison even though there is a significant trend in
      violation of the GCRA (studies listed starting a lines 229, 255, 277).
   6. EPA gives less weight to responses seen at doses above 1000 mg/kg/day in all
      rat studies, even though no dose exceeds 5% of feed. Considering that these
      findings are in studies with only 50-60 animals per group, that no study appears
      to have exceeded a maximum tolerated dose (as defined by the EPA and others),
      it is not clear why EPA does not accept these findings and then do an
      appropriate margin-of-exposure evaluation or linear extrapolation from these
      data to show a lack of risk in humans.
   7. EPA’s summary, which states that “In 5 of the 9 rat studies conducted with
      glyphosate, no tumors were identified for detailed evaluation.” is misleading and
      fails to properly characterize the broad array of findings in these data (lines 291-
      322). In short, three of these studies were inadequate leaving 2 studies in
      Sprague-Dawley rats (1 positive) and four studies in Wistar rats (2 positive).
   8. With only two studies in Sprague-Dawley rats, the strong positive response seen
      for thyroid c-cell carcinomas in female rats in one of these studies should be
      considered positive and due to exposure to glyphosate (lines 324-330)


                                                                                        2
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   9. I have individual comments on every mouse study evaluated by the EPA (lines
       337-460).
   10. EPA consistently dismisses significant findings in mouse studies because of a
       lack of a preneoplastic finding (studies listed starting a lines 342, 380). This
       presumes that all mechanisms by which chemicals induce tumors in animals will
       involve enough stages that there would be a histologically identifiable
       preneoplastic leasion from which final tumors are formed. This simply is not the
       case and this criteria is applied without any concern for its validity by the EPA.
   11. EPA dismisses significant findings in ALL mouse studies because of a lack of a
       significant pairwise comparison even though there is a significant trend in
       violation of the GCRA (lines 337-460).
   12. EPA gives less weight to responses seen at doses above 1000 mg/kg/day in all
       mouse studies, even though no dose exceeds 5% of feed. Considering that these
       findings are in studies with only 50-60 animals per group, that no study appears
       to have exceeded a maximum tolerated dose (as defined by the EPA and others),
       it is not clear why EPA does not accept these findings and then do an
       appropriate margin-of-exposure evaluation or linear extrapolation from these
       data to show a lack of risk in humans.
   13. EPA uses an outside historical control dataset in one study (start line 380) to
       dismiss findings and fails to use an equally valid historical control data set
       identified by the IARC to assess the importance of renal tumors in another study
       (start line 342). A full evaluation of this second study using the historical
       control data identified by the IARC supports a strong positive finding in this
       study (lines 350-365).
   14. EPA relies on two-sided p-values for trend tests when one-sided p-values would
       be more appropriate for identifying adverse effects (lines 367-370; 410-413;
       Tables 2,4,6)
   15. EPA has serious errors in the use of a historical control population that uses data
       from animals that lived 24 months to compare to response in a study that only
       went 18 months (lines 388-408). When properly applied, the finding is
       significant compared to the historical control rate.
   16. EPA excludes three positive findings in one study, identified by the European
       Food Safety Agency for which I sent them data prior to this current EPA review
       being released (lines 425-434)
   17. EPA excludes positive results in a study in Swiss Albino mice because there is an
       infection in the animals that are not seen in any of the data evaluated by others
       and for which no documentation is provided (lines 445-460)
   18. EPA summarizes the mouse data incorrectly (as they did with rats) when they
       state that “No tumors were identified for detailed evaluation in 2 of the 6 mouse
       carcinogenicity studies.” One study had inadequate dosing and should have been
       excluded, and one study used Glyphosate trimesium salt rather than pure
       glyphosate. The remaining four mouse studies all had at least one positive
       finding (lines 464-475)
   19. EPA did not analyze the consistency across mouse studies on the findings
       relating to renal tumors. I did (Tables 1-3, lines 498-532). Note, all studies were
       adjusted to an estimated 24 month response using the poly-3 adjustment (lines
       487-517)



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   20. EPA did not analyze the consistency across mouse studies on the findings
       relating to malignant lymphomas. I did (Tables 1, 4-5, lines 536-541). Note, all
       studies were adjusted to an estimated 24 month response using the poly-3
       adjustment (lines 487-517)
   21. EPA did not analyze the consistency across mouse studies on the findings
       relating to heamngiosarcomas. I did (Tables 1, 6-7, lines 566-599). Note, all
       studies were adjusted to an estimated 24 month response using the poly-3
       adjustment (lines 487-517)
   22. Trends in male mice for malignant lymphomas and hemangiosarcomas
       remained even after doses above 1000 mg/kg/day were excluded (Tables 4-7,
       lines 536-599).
   23. My conclusion is that the mouse data clearly indicates that glyphosate can induce
       malignant lymphomas and hemangiosarcomas in male CD-1 mice, even when doses
       above 1000 mg/kg/day are eliminated. There is also a suggestion that glyphosate can
       induce hemangiomas in female CD-1 mice. The mouse data also demonstrate that
       glyphosate can induce malignant lymphomas in male CD-1 mice and male Swiss
       Albino mice. Finally, the renal tumors seen in the CD-1 mice also appear in the
       Swiss Albino mice, supporting the role glyphosate plays in inducing these tumors.
       This is clearly sufficient evidence of the carcinogenicity of glyphosate in mice. (lines
       573-600)

In summary, these data demonstrate an association in humans to NHL, evidence in rats
for thyroid tumors, and very strong evidence in mice for renal tumors,
hemangiosarcomas and malignant lymphomas. EPA’s exclusion of doses above 1000
mg/kg/day is unscientific and their argument of a lack of significance above this dose is
unsupported.

In every case where EPA could choose between a public health protective choice where
slight weaknesses in a study or a lack of a very strong finding could raise concerns
versus a choice where every study must be perfect and definitive otherwise it is not
used, EPA has chosen to discard positive findings leaving them to finally conclude there
is no concern. These data simply do not support a finding that glyphosate is “not likely
to be carcinogenic to humans”.

EPA should declare glyphosate a probable human carcinogen and go on to do a risk
assessment to determine if human exposure is sufficient to warrant concern. That
resulting risk assessment should be reviewed by the Science Advisory Panel.




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 1   DETAILED TECHNICAL REVIEW
 2
 3   Human Evidence
 4
 5   The EPA’s final conclusion on the evidence from human exposures to glyphosate and
 6   the risk of NHL is as follows:
 7
 8   Page 68: “Based on the weight-of-evidence, the agency cannot exclude chance and/or bias
 9   as an explanation for observed associations in the database. Due to study limitations and
10   contradictory results across studies of at least equal quality, a conclusion regarding the
11   association between glyphosate exposure and risk of NHL cannot be determined based on
12   the available data. The agency will continue to monitor the literature for studies and any
13   updates to the AHS will be considered when available.”
14
15   The Agency provides many reasons for this finding. I would summarize them as
16   follows:
17
18   1. “All meta-analysis estimates reported were non-statistically significant except the meta-
19   risk ratio reported by IARC (2015), which was borderline significant with the lower limit
20   of the 95% CI at 1.03”
21
22   Comment: In fact, there were three groups that did meta-analyses. Two were
23   reported as significant (Schinasi and Leon, 2014 and IARC, 2015), although the IARC
24   (2015) corrected an issue they saw with the Schinasi and Leon analysis. The IARC
25   study showed a meta-RR of 1.3 with a confidence bound of (1.03-1.65). The other
26   group (Chang and Delzel, 2016) provided four separate meta-analyses, all of which
27   are reported as having a meta-RR of 1.3 with associated confidence bounds ranging
28   from (1.0-1.6) to (1.0-1.8). Chang and Delzell presented only 1 significant digit for
29   the lower confidence bounds and since their model 1 is exactly the same as the IARC
30   model, they also had at least one significant finding. In fact they characterize their
31   findings as “we found marginally significant positive meta-RRs for the association
32   between glyphosate use and risk of NHL”. Thus, the data across all studies, when
33   combined, point to a positive association between glyphosate and NHL in humans.
34
35   2. The exposure-response relationship seen in Eriksson et al. (2008) and McDuffie et
36   al. (2001), even though significant, contradicted the exposure-response seen in the
37   Agricultural Health Study (AHS).
38
39   Comment: There were 92 cases of NHL in the AHS, with 77.2% (71 cases) having
40   some exposure, whereas the analysis of the tertiles to investigate exposure response
41   relationships, used only 61 cases. Thus, 14% of the exposed cases were excluded.
42   In comparison, both Eriksson et al. (a highly rated study by EPA) and McDuffie et al.
43   were able to characterize all exposed individuals into their exposure groupings with
44   zero loss. To characterize the exposure-response relationship in the AHS as superior
45   to the other two studies is inappropriate.
46
47   3. Control for confounding varied across studies and there is a strong potential for

                                                                                                 5
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48   confounding by co-exposures to other pesticides.
49
50   Comment: This is correct with some studies doing better than others. However, the
51   magnitude of the impact of this confounding differs by study as well. They cite the
52   one case, Eriksson where the effect estimate went from 2.02 (1.10-3.71) unadjusted
53   to 1.51 (0.77-2.94) adjusted. Others included in the meta-analysis are as follows:
54   DeRoos et al. (2005), 1.2 (0.7-1.9) unadjusted, 1.1 (0.7-1.9) adjusted; DeRoos et al.,
55   2003, 2.1 (1.1-4.0) unadjusted, 1.6 (0.9-2.8) adjusted; Hardell et al., 2002, 3.01
56   (1.08-8.52) unadjusted, 1.85 (0.55-6.20) adjusted). Orsi et al. (RR 1.0 (0.5-2.2)) and
57   McDuffie et al. (RR 1.2 (0.83-1.74)) did not do analyses adjusting for other
58   pesticides. EPA could remove these studies from the meta-analysis and redo it, but
59   it is unlikely to dramatically change the overall results.
60
61   The EPA also expressed concern that what they see as a reduction when you correct
62   for other pesticide exposures would carry over for other confounders. This is highly
63   speculative since many of the NHL patients had no exposure to glyphosate and there
64   are likely truck operators and mechanics (diesel exhaust fumes), factory workers
65   (solvents) and other outdoor workers (UV radiation) in the cases and controls and
66   the result of correcting for the confounders could go either way.
67
68   However, it is fair to say that confounding could not be ruled out in these studies.
69
70   4. Recall bias is a concern, especially in the case-control studies.
71
72   Comment: I agree.
73
74   5. The highest risk measures are coming from studies that would likely have lower
75   exposures to glyphosate.
76
77   Comment: This is entirely speculative and is based upon an ecological assessment
78   (glyphosate use has increased dramatically over time) and not upon actual data
79   pertaining to the studies at hand. Nor does it fully account for the time since first
80   exposure for the studies done with earlier cohorts.
81
82   6. The follow-up time in the DeRoos et al. (2005) study is sufficient that it should be
83   given more weight than the other studies.
84
85   Comment: As noted by Portier et al., the median follow-up time in the AHS study
86   was 6.7 years (not 7) and there is a question of whether this is long enough. EPA
87   actually provides a solid argument for why there is concern. EPA gave three
88   publications that they suggest puts the latency period for NHL between 1 and 25
89   years. Kato et al. (2005) in a high quality population-based, incidence case-control
90   study looking at the relationships between organic solvent exposure and NHL in
91   women found statistical significance only for women occupationally exposed prior
92   to 1970 (cases and controls were recruited between 1995 and 1998) and cited two
93   other studies with similar results (no reference given). They concluded this long
94   latency was either due to higher exposures prior to 1970 or “at least a 25 year
                                                                                             6
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 95   latency period is required for NHL induction by these exposures”. Weisenburger
 96   (1992), in discussing the problems with pathological identification of NHL and the
 97   known mechanisms in 1992 states that “The latency for NHL following an
 98   environmental exposure is largely unknown” then goes on to say that following
 99   chemotherapy for Hodgkin’s disease, “the median latency is 5-6 years” based upon
100   44 case reports from two publications. I was unable to get a copy of one publication,
101   but the publication by Jacquillat et al (1991) showed 24 patients, 17 of whom
102   received radiation therapy along with chemotherapy, 5 radiation alone, three
103   chemotherapy alone and one unknown. The latency ranged from 1 to 11 years in
104   this paper (median 5.5 years) and up to 16 years in the other (abstract review only)
105   These are rather extreme exposures relative to those from glyphosate and it would
106   not be surprising for the glyphosate lag time to be longer than that from
107   chemotherapy and radiation treatment, as suggested by Weisenberger et al. I was
108   unable to obtain a copy of the third paper (Fontana et al., 1998) and the abstract
109   provides no information on lag times.
110
111   The rest of the arguments are speculative dealing mostly with years of exposure
112   prior to the beginning of the AHS. Without an analysis including this prior
113   information on exposure with concurrent exposure, it is unclear that the resulting
114   relative risks would go down or up.
115
116   Summary: The conclusion by the EPA that “the association between glyphosate exposure
117   and risk of NHL cannot be determined based on the available data” fails to account for the
118   overall strength of this evidence and the nature of that evidence. Using the Bradford-Hill
119   criteria for causality described in the 2005 Guidelines for Carcinogenic Risk Assessment
120   (GCRA), I would note that the observations are consistent (relative risks are positive,
121   meta-analyses are positive), significant (in the meta-analysis), not specific (and as noted
122   in the GCRA “although the presence of specificity may support causality, its absence
123   does not exclude it”), temporally observed, shows a biological gradient, is coherent with
124   the animal evidence (discussed later), has no experimental evidence from humans, and
125   has no support from structure-activity relationships. So, is causality plausible here? Yes,
126   absolutely. Is it demonstrated? No, clearly not. Are the findings possibly the result of
127   chance, bias and or confounding? Yes, but more unlikely than likely.
128
129   The IARC Working Group concluded that there was “limited evidence of carcinogenicity in
130   humans” from exposure to glyphosate where, as defined in the IARC Preamble, limited
131   evidence means “a positive association has been observed between exposure to the
132   agent and cancer for which a causal interpretation is considered to be credible, but
133   chance, bias or confounding could not be ruled out with reasonable confidence.” This
134   is a more accurate description of these data than that used by the EPA. If chance, bias
135   and confounding could be ruled out, the IARC Working Group would have classified this
136   as a “known human carcinogen”, a much stronger finding. By arguing that “the
137   association between glyphosate exposure and risk of NHL cannot be determined based on the
138   available data”, the EPA has given no weight to the human evidence in their final
139   evaluation.
140
141   Animal Carcinogenicity Studies

                                                                                                   7
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142
143   According to the EPA, of the 9 available rat studies, 4 showed treatment related effects in
144   various organs and of the 6 mouse studies they evaluated, 4 showed treatment effects in
145   three tumors. In all cases, the EPA considers these findings to be not treatment related. I
146   will first address the interpretations of individual studies, then discuss the entire package
147   of studies.
148
149   Let’s begin by repeating guidance from the GCRA :
150
151   “Other signs of treatment-related toxicity associated with an excessive high dose may
152   include (a) significant reduction of body weight gain (e.g., greater than 10%), (b)
153   significant increases in abnormal behavioral and clinical signs, (c) significant changes in
154   hematology or clinical chemistry, (d) saturation of absorption and detoxification
155   mechanisms, or (e) marked changes in organ weight, morphology, and histopathology. It
156   should be noted that practical upper limits have been established to avoid the use of
157   excessively high doses in long-term carcinogenicity studies of environmental chemicals
158   (e.g., 5% of the test substance in the feed for dietary studies or 1 g/kg body weight for
159   oral gavage studies [OECD, 1981]).”
160
161   and
162
163    “A trend test such as the Cochran-Armitage test (Snedecor and Cochran, 1967) asks
164   whether the results in all dose groups together increase as dose increases. A pairwise
165   comparison test such as the Fisher exact test (Fisher, 1950) asks whether an incidence in
166   one dose group is increased over that of the control group. By convention, for both tests a
167   statistically significant comparison is one for which p is less than 0.05 that the increased
168   incidence is due to chance. Significance in either kind of test is sufficient to reject the
169   hypothesis that chance accounts for the result.”
170
171   and
172
173   “Generally speaking, statistically significant increases in tumors should not be
174   discounted simply because incidence rates in the treated groups are within the range of
175   historical controls or because incidence rates in the concurrent controls are somewhat
176   lower than average.”
177
178   and
179
180   “The most relevant historical data come from the same laboratory and the same supplier
181   and are gathered within 2 or 3 years one way or the other of the study under review;
182   other data should be used only with extreme caution.”
183
184   These guidelines are critical in the discussions that follow. I will note that the EPA
185   assessment cites OCSPP 870.4200 and OCSPP 870.4300 several times referring to an upper
186   limit for evaluating the high dose in a carcinogenicity study. Theses guidelines give multiple
187   guidance for how to select the appropriate dose. Here are the first two:
188
189         (i)   For risk assessment purposes, at least three dose levels should be used, in
                                                                                                   8
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190              addition to the concurrent control group. Dose levels should be spaced to
191              produce a gradation of effects. A rationale for the doses selected must be
192              provided.
193
194      (ii)    The highest-dose level should elicit signs of toxicity without substantially
195              altering the normal life span due to effects other than tumors. The highest
196              dose should be determined based on the findings from a 90–day study to
197              ensure that the dose used is adequate to assess the carcinogenic potential of
198              the test substance. Thus, the selection of the highest dose to be tested is
199              dependent upon changes observed in several toxicological parameters in
200              subchronic studies. The highest dose tested need not exceed 1,000 mg/kg/day.
201
202   Nowhere in this guidance does it state that the high dose cannot exceed 1,000
203   mg/kg/day; just that it does not need to exceed that number. The EPA notes this fact on
204   Page 69 of the Report, but then later interprets it as a hard limit for excluding doses.
205   Because other data are used to justify the high dose that have not been presented here, we
206   must assume that the highest doses used in the Guideline studies were at or near the
207   maximum-tolerated dose (MTD) and wholly appropriate for the overall evaluation. Thus,
208   1,000 mg/kg/day is not a threshold for determining where to cut off the data. The only
209   document discussing excessive doses is the QCRA which uses >5% in feed for feeding
210   studies and all doses used here are below that threshold.
211
212   Rat Studies
213
214   Burnett et al., 1979 (MRID 00105164): As noted by EPA, this study is inadequate due to
215   insufficiently high dose. This study should not be considered negative.
216
217   Lankas, 1981 (MRID 00093879): This study in Sprague-Dawley rats was considered
218   inadequate due to the highest dose being far below the MTD. However, the study did see
219   an increase in testicular tumors. These tumors were dismissed because of a non-
220   monotonic dose-response (0%, 6%, 2%, 12% in increasing dose), a lack of pre-neoplastic
221   findings and a range of historical controls (mean 4.5%, range 3.4% to 6.7%) that was
222   higher than seen in the controls, inflating the p-value (as noted in the GCRA, this
223   argument is not an acceptable argument). Nonetheless, the finding in the high exposure
224   group is clearly significant against concurrent controls and, had they presented all of the
225   historical control evidence, might have been significant there as well. Since no data for
226   this tumor is presented for any other study, it is hard to determine if this finding is unique
227   among the studies.
228
229   Stout and Ruecker, 1990 (MRID 41643801): The Sprague-Dawley rats in this study were
230   given doses considerably higher (max 1183 mg/kg/day) than those in the Lankas study and
231   was considered adequate by the EPA for evaluation, although they warn that tumor doses in
232   the highest group will be given less weight because it is so high. They found a statistically
233   significant increase in adenomas of the liver and the pancreatic islet cells in males. For
234   pancreatic tumors, EPA points to a lack of clear dose-response (2%, 18%, 10% 15%) and
235   unusually low background response (historical controls provided were 5% mean, 2.9%, 8.5%,
236   5.8%, 1.8%, 8.3%, 5.0% and 5.1%, all in control groups larger than the concurrent control in
237   this study; since 2% is near 1.8% and only 7 controls are given, this is not an unusually low
                                                                                                  9
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238   response). For liver adenomas (5%, 4%, 6%, 15%), EPA cites a lack of pairwise
239   significance, a plateau of dose-response in the middle dose groups and no preneoplastic
240   lesions as reasons to reject these findings. No historical control data is presented.
241
242   In female rats, thyroid C-cell adenomas and combined adenomas and carcinomas were
243   significantly elevated by trend test but not by pairwise comparison. Because of this, they
244   concluded “although there may be an indication of a dose-response in females, the increases
245   observed in the glyphosate treated groups were not considered to be different than those
246   observed in the concurrent controls” ignoring their Guidelines regarding “Significance in
247   either kind of test is sufficient to reject the hypothesis that chance accounts for the
248   result.” Here, preneoplastic lesions were observed, but no monotonic dose-response so
249   they were ignored. Thyroid tumors in male rats were marginally significant (p~0.08).
250
251   Atkinson et al., 1993a (MRID 496317023): No adverse effects reported in Sprague-
252   Dawley rats given doses in the same range as the Stout and Ruecker study. No data
253   provided.
254
255   Brammer, 2001 (MRID 49704601): This is a two-year study in Wistar rats which showed
256   a statistically significant trend in liver adenomas in male rats (0%, 4%, 0%, 10%) with a
257   maximum dose of 1498 mg/kg/day. EPA provides three reasons for dismissing these
258   findings: non-monotonic dose-response, higher survival in the controls, and multiple
259   comparisons p-value adjustment.
260
261   Pavkov and Wyand 1987 (MRIDs 40214007, 41209905, 41209907): This is again a study
262   in Sprague-Dawley rats (substrain given for this study). This study showed no
263   significant findings. The EPA did not comment on the dosing used, however, the
264   maximum dose used in this study was 55.7 mg/kg/day, not much difference from the
265   doses used in Burnett (30 mg/kg/day) and Lankas (34 mg/kg/day) and far lower than
266   doses showing no toxicity in Sprague-Dawley rats. This study should be considered
267   inadequate by the EPA.
268
269   Suresh, 1996 (MRID 49987401): This two-year study in Wistar rats using a maximum
270   dose of 886 mg/kg/day saw no significant increases in any tumors. Again, no details are
271   given on tumors appearing in other studies.
272
273   Enemoto, 1997 (MRID 50017103-50017105): Also conducted in Wistar rats, but with a
274   maximum dose of 1247 mg/kg/day, demonstrated no increases in tumors. Again, no
275   details are given on tumors appearing in other studies.
276
277    Wood et al., 2009a (MRID 49957404): In a last study performed in Wistar rats with a
278   maximum dose of 1229.7 mg/kg/day, a significant increase in female rat mammary tumors
279   (adenomas and carcinomas combined) was observed (4%, 6%, 2%, 16%). EPA dismissed
280   these findings based upon multiple comparisons and no pre-neoplastic lesions.
281
282   Excel, 1997: Excluded by the EPA because they had insufficient information on the study
283   and an industry-sponsored review of the literature (Greim et al., 2015) stated it was
284   “unreliable”. Greim et al. had multiple errors and considerable missing data (pointed out to
285   EPA in a previous mailing) making it an unreliable source for this decision. No information

                                                                                                10
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286   is given on this study in any available documents I was able to find including the review by
287   EFSA.
288
289
290   Summary and Comments on the Rat Studies
291
292   All told, there are 9 rat studies presented, four in Wistar rats and 5 in Sprague-Dawley rats.
293
294   EPA states that “In 5 of the 9 rat studies conducted with glyphosate, no tumors were
295   identified for detailed evaluation.”, but two of these studies have inadequate dosing to
296   identify.
297
298   They also state “Some of the tumor incidences at the highest dose tested (approaching or
299   exceeding 1,000 mg/kg/day for almost all studies) were statistically significant from
300   concurrent controls using raw (unadjusted) p-values; however, none of the pairwise
301   comparisons were found to be statistically significant following adjustment for multiple
302   comparisons, except the testicular tumors seen in a single study. Furthermore, these high-
303   dose tumors were given less weight.” However, as noted below in my calculation of the limit
304   of 5% of compound in diet, the dose can easily go over 2000 mg/kg/day before reaching this
305   value. They have confused the maximum gavage dose with the maximum dietary dose.
306   These findings should carry equal weight as all other doses.
307
308
309   Three of the Sprague-Dawley rat studies used doses so low that the statistical power to detect
310   an effect was compromised. Even still, one of these studies saw an increase in testicular
311   tumors that was not noted in any other study and could be disregarded (provided there really
312   is no response for this tumor in the other studies). In the remaining two studies
313   (Stout/Ruecker and Atkinson), the EPA argues the highest dose “exceeds the highest dose
314   recommended in the test guidelines on how to conduct carcinogenicity studies”. According
315   to Laaksonen et al. (, Lab. Anim. 47(4) 245-56, 2013), Sprague-Dawley rats eat, on average,
316   about 600g/kg/week at study start and about half that at 2 years. Based on the guidelines, 5%
317   in diet is acceptable and on a daily basis would be between 2.1 g/kg/day to 4.3 g/kg/day; thus
318   the <2 g/kg/day used in these two studies should be acceptable. This argument is not
319   supported for these studies. These two studies differed on their findings of cancer with
320   Atkinson negative for all cancers and Stout/Ruecker positive for two cancers, one in females
321   and one in males. The remaining reasons for dismissing these findings include a lack of
322   preneoplastic findings and a non-monotonic dose-response.
323
324   The thyroid tumors in female rats Stout/Ruecker) should be considered a positive finding.
325   The dose-response is clear and the marginal findings in males should increase the concern for
326   this tumor. There is no reason to believe that adenomas and carcinomas MUST arise from
327   preneoplastic lesions in thyroid C-cell tumors. The rates from the other study for these
328   tumors are no presented, but even if they had been, how do you judge one positive study
329   against one negative study? The public protective decision in this case should be to conclude
330   these tumors arose as a function of exposure to glyphosate.
331
332   The remaining tumors can be debated; in all cases where a decision could go either way, EPA
333   dismisses findings rather than accepts them.
334
335   Mouse Studies
                                                                                                       11
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336
337   Reyna and Gordon, 1973 (MRID 00061113): This study is new to the EPA assessment. This
338   study used doses as high as 50 mg/kg/day, far below the maximum doses used in the other
339   studies that were below the maximum tolerated dose. In essence, this study is inadequate and
340   should not be used for making a decision.
341
342   Knezevich and Hogan, 1983 (MRID 00130406): This is the first 24 month study in CD-1
343   mice at dietary doses of up to 6069 mg/kg/day according to EPA. EPA does not show their
344   conversion from ppm in feed to mg/kg/day so it is unknown why this number is different
345   from the European Food Safety Authority (EFSA) which lists the highest dose as 5874
346   mg/kg/day. The actual high dose used, according to EFSA, was 30,000 ppm or 3% in feed,
347   below the EPA threshold given in the GCRA. According to EPA, “No effect on survival was
348   observed” suggesting this high dose did not exceed the MTD.
349
350   This study saw an increase in kidney tubular cell adenomas and carcinomas (2%, 0%, 0%,
351   6%), a very rare tumor in these mice. Four reasons were given for discounting this finding:
352   “1) renal tubular cell tumors are spontaneous lesions for which there is a paucity of
353   historical control data for this mouse stock; 2) there was no statistical significance in a
354   pairwise comparison of treated groups with the concurrent controls and there was no
355   evidence of a statistically significant linear trend; 3) multiple renal tumors were not found in
356   any animal; and 4) compound-related nephrotoxic lesions, including pre-neoplastic changes,
357   were not present in male mice in this study”. In fact, the one-sided p-value (alternative is an
358   increased risk) for this study was 0.03. In 1986, the EPA did have an adequate historical
359   control population for these tumors and found they were highly statistically significant. The
360   IARC also identified an adequate historical control population (Chandra and Frith, 1994)
361   who reported only 1 tumor in 725 CD-1 mice also supporting a highly significant finding. As
362   noted earlier, the second reason violates the QCRA if the one-sided test is applied. The third
363   argument is not supported with such a small number of affected animals and a very rare
364   tumor and the fourth reason, while arguable, presumes there would be a preneoplastic lesion
365   rather than a unique mutational event to begin the cancer process.
366
367   Note: The raw p-value presented in Table 4.12 is for a two-sided test, a one-sided test is more
368   appropriate here and has a raw p-value of 0.034. If the true control rate is 0.0014 as noted by
369   Chandra and Frith (1994), the probability of seeing a finding more extreme than the one
370   noted here is 0.0017. Even if the background is as high as 1%, the p-value would be 0.026.
371
372   Atkinson, 1993b (MRID 49631702): This 24 month study in CD-1 mice showed an increase
373   in hemangiosarcomas (0%, 0%, 0%, 9%) which was statistically significant (p=0.003) with a
374   marginally significant comparison between control and high dose of 0.053. The only
375   negative comment given by the EPA on this study was “however, the incidence of
376   hemangiosarcomas at the high-dose was not statistically significant when compared to the
377   concurrent controls”, thus excluding the finding from the trend test because of a non-
378   significant pairwise test, in violation of the QCRA.
379
380   Wood et al., 2009b (MRID 49957402): This study, also in CD-1 mice, was for 80 weeks
381   (approximately 18 months) with a high dose in males of 810 mg/kg/day (again, not exceeding
382   the 5% dose in feed). There was no effect on survival suggesting the study did not exceed
383   the MTD. There was a monotonic increase in lung adenocarcinomas (10%, 10%, 14%, 22%)
384   and a monotonic increase in malignant lymphomas (0%, 2%, 4%, 10%). For the lung
385   cancers, the EPA again argued a lack of significance for pairwise comparisons (in violation
                                                                                                   12
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386   of their QCRA) and there was no evidence of progression from adenomas to carcinomas.
387
388   For the malignant lymphomas, the EPA noted that “For this strain of mouse, the mean
389   incidence for untreated animals is approximately 4.5% (range: 1.5%-21.7%) based on
390   historical control data from Charles River (59 studies performed from 1987-2000; Giknis
391   and Clifford, 2005) and Huntingdon Laboratories (20 studies from 1990-2002; Son and
392   Gopinath, 2004).” These controls are not from the same laboratory at the same time, but
393   EPA did paraphrase the QCRA noting that these data “should be used with caution” whereas
394   the GCRA states “other data should be used only with extreme caution”. In this case they
395   did neither. The paper by Son and Gopinath documents the numbers of tumors seen in
396   animals that die prior to 80 weeks out of 1453 males in 20 control groups. They saw a
397   total of 36 animals with lymphomas, for a raw rate of 2.4%; however this is a lower
398   bound on the rate since they did not look at all animals at 80 weeks to get obtain the
399   number that are alive and having a tumor. It is not clear how EPA interpreted these
400   numbers in their presentation. The study by Giknis and Clifford (2005) had 52 studies
401   (not 59) and only 26 of them were for 18 months; the rest were for 2 years and these last
402   26 would be inappropriate as a historical control. The numbers cited by the EPA (“4.5%
403   (range: 1.5%-21.7%)”) are directly out of Giknis and Clifford for all 52 studies and the range
404   fails to include the 11 studies with no tumors (lower end of range is 0). In the 26 studies
405   ending at 18 months, Giknis and Clifford saw tumor incidence as follows (0/60, 0/50,
406   0/50, 0/50, 0/50, 0/50, 0/50, 0/50, 1/69, 1/50, 1/50, 1/50, 1/50, 1/50, 1/50, 1/50, 2/60,
407   2/59, 2/53, 2/50, 2/47, 2/46, 3/60, 3/59, 4/49, 7/50) thus ranging from 0% to 14% with a
408   weighted mean of 2.5%.
409
410   NOTE: The p-value sited by EPA for the trend test is the two-sided p-value; a one sided
411   p-value is more appropriate and the correct value is 0.0043. If you assume that 2.5% is
412   the historical control rate, the probability of seeing a more significant finding that the one
413   seen in this study is 0.0079.
414
415   Sugimoto, 1997 (MRID 50017108 - 50017109): In another study in CD-1 mice (with sub
416   strain noted), mice were given, for 18 months, a maximum dose of 40,000 ppm of glyphosate
417   which is 4% in the diet, again below the 5% in feed set by the QCRA. The second highest
418   dose was 0.8% in diet. This study demonstrated a clear dose-response for hemangioma in
419   female mice (0%, 0%, 4%, 10%) with a p-value for trend of p=0.002 by EPA’s calculation.
420   There were no treatment effects on survival suggesting this dose did not exceed the MTD.
421   This tumor was not considered treatment related by the EPA because of no pairwise
422   significance with the high dose versus control using a multiple comparisons analysis (the
423   uncorrected p-value is 0.028 and the corrected p-value is 0.055).
424
425   What is not mentioned by the EPA but was evaluated by the EFSA, was the dose-response
426   trend for hemangiosarcoma in male mice for which the one-sided p-value for trend is 0.008.
427   Here the responses are 0%, 0%, 0% and 4%, a very low response rate. However, this is only
428   an 18 month study, so low rates of tumors are to be expected.
429
430   What is also not mentioned are the malignant lymphomas and kidney tumors also found in
431   males in this study (EFSA, 2015). The renal tumors had rates of 0%, 0%, 0%, 4% (the same
432   as the hemangiosarcomas in males) with a p-value for trend of 0.008. The malignant
433   lymphomas had rates of 4%, 4%, 0%, 12% with a p-value for trend of 0.008. I will compare
434   these rates to those seen in the other studies later.
                                                                                                 13
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435
436   Pavkov and Turnier, 1987 (MRIDs 40214006, 41209907): This is a two-year chronic toxicity
437   study in CD-1 mice with a maximum dose of 991 mg/kg/day. They list this study as
438   completely negative for any cancer findings. However, this study evaluated Glyphosate
439   trimesium salt (52.6% pure). No details on this study are provided by the EPA and I could
440   find no other regulatory body that has reviewed this study nor is it listed in the Greim et al.
441   (2015) manuscript. It is also the only carcinogenicity study with such a low percentage of
442   pure glyphosate.
443
444
445   Kumar, 2001: This 18-month chronic carcinogenicity study in Swiss Albino mice with
446   high-dose exposures of 10,000 ppm (1% diet) was excluded by the EPA “due to the
447   presence of a viral infection within the colony, which confounded the interpretation of the
448   study findings”. No information on this viral infection is given in the EPA Assessment. It
449   is not possible to determine where this information on a viral infection came from. In
450   the most recent draft classification document on glyphosate by the European Chemical
451   Agency, they state that “in the study report itself, there was no evidence of health
452   deterioration due to suspected viral infection and, thus, the actual basis of EPA’s decision
453   is not known” when referring to this study. The only reference I can find is from the
454   paper by Greim et al. who down-rated the study “based on speculation of a viral infection
455   within the colony”.
456
457   This study is important as they saw increases in kidney tumors (0%, 0%, 2%, 4%) and
458   malignant lymphomas (20%, 30%, 32%, 38%) with one-sided p-values for trend of 0.04
459   and 0.05 respectively. While these are not strikingly strong p-values, they show a
460   consistency in the male mouse data for these tumors.
461
462   Summary and Comments on the Mouse Studies
463
464   EPA concluded that “No tumors were identified for detailed evaluation in 2 of the 6 mouse
465   carcinogenicity studies.” One of these mouse studies should have been excluded because of
466   the low doses used in the study. The other study has no details provided by the EPA or any
467   other regulatory body and uses Glyphosate trimesium salt (52.6% pure).
468
469   EPA then concluded “In the remaining 4 mouse studies, 3 observed a statistically significant
470   trend in tumor incidences in the hemangiosarcomas, lung adenomas, malignant lymphomas
471   or hemangiomas; however, the agency determined that none of the tumors observed in the
472   mouse are treatment related.” In fact, there were 5 additional studies since they excluded the
473   one study in Swiss Albino mice because of an infection in the study animals that appears to
474   be speculative. Let’s consider these 5 remaining studies. Since the hemangiomas only
475   occurred in one study in female mice, I will not discuss it further.
476
477   Table 1 provides a summary of the findings in the 5 studies for which I could find sufficient
478   data to make a comparison across the three main tumor findings in male mice: renal tumors,
479   hemangiosarcoms and malignant lymphomas. A review of all of the studies in one simple
480   picture illustrates the consistency of the findings across the various studies. Now, let’s
481   compare the actual tumor rates to see how they compare.
482


                                                                                                  14
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603   1.      Portier CJ, Hedges JC, Hoel DG. Age-specific models of mortality and tumor
604   onset for historical control animals in the National Toxicology Program's carcinogenicity
605   experiments. Cancer Res (1986) 46(9):4372-8. PubMed PMID: 3731095.
606   2.      Bailer AJ, Portier CJ. Effects of treatment-induced mortality and tumor-induced
607   mortality on tests for carcinogenicity in small samples. Biometrics (1988) 44(2):417-31.
608   PubMed PMID: 3390507.
609   3.      Portier CJ, Bailer AJ. Testing for increased carcinogenicity using a survival-
610   adjusted quantal response test. Fundam Appl Toxicol (1989) 12(4):731-7. PubMed PMID:
611   2744275.
612




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 Figure 1: Tree Plot of Epidemiology Studies




                                                Chang and Delzell (2016)
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Figure 2: Renal tumors in male mice poly-3
 adjusted showing individual dose groups
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Figure 4: Malignant lymphomas in male mice poly-3
     adjusted showing individual dose groups
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Figure 7: Hemangiosarcomas in male CD-1 mice
poly-3 adjusted showing individual dose groups
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BAuA
Federal Institute for Occupational Safety and Health
Federal Office for Chemicals
Friedrich-Henkel-Weg 1-25 44149
Dortmund, Germany

RE: CLH Report for Glyphosate, EC Number 213-997-4

Dear Sirs,

Below are my comments on the evaluation of carcinogenicity in the CLH Report for
Glyphosate (the Report), EC Number 213-997-4, prepared by the Federal Institute
for Occupational Safety and Health (BAuA). In my comments, you will see that I
disagree with the conclusions on the human epidemiological data and that I find
serious flaws in the evaluation of the animal carcinogenicity data. I have also
prepared a pooled analysis of the animal carcinogenicity data that clearly indicates
the hemangiosarcomas and malignant lymphomas show statistically significant
trends even when excluding doses above 1000 mg/kg/day.

I am also including several supplemental files with this submission including all
cited papers, the computer code I used to produce the pooled analysis, and the
computer code I used to calculate statistical significance for testing the observed
data sets against the historical controls. I have also included a manuscript by Ghisi
et al. (2016) that does a meta-analysis on the ability of glyphosate to induce
micronuclei.

What I found most disturbing with this submission is that, despite our previous
concerns about the EFSA conclusions on carcinogenicity, the review continues to
disregard guidance set forth by ECHA, OECD, IARC and others on how to evaluate
carcinogenicity data, especially regarding the use of the limited evidence category for
the human data, the appropriate use of historical controls and the proper use of
findings of a positive trend in an animal cancer study.

In my opinion, having reviewed a large number of compounds for carcinogenicity
and having read both the Report and the ECHA Guidelines, glyphosate should be
classified into Group 1b.

Sincerely,
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Prof. Christopher J. Portier
Thun, Switzerland
cportier@mac.com
+41 79 605 79 58
July 8, 2016


Human Evidence

On page 93 of the Report, the human evidence regarding glyphosate carcinogenicity
is summarized as follows:

“Epidemiological studies revealed partly contradictory results. However, in most
studies, no association with an exposure to glyphosate could be established. In
particular, the largest study, i.e., the AHS (see above), was negative. Taken together,
the epidemiological data does not provide convincing evidence that glyphosate
exposure in humans might be related to any cancer type. Epidemiological studies are
of limited value for detecting the carcinogenic potential of an active substance in plant
protection products since humans are never exposed to a single compound alone. Thus,
the results of the studies are associated to different formulations containing
glyphosate or mixtures of different active substances.”

The first sentence claims the results are contradictory. This is only true if classify
each study is classified as significant or non-significant. Examining the numerical
findings presents a different picture. Table 1 lists the 8 studies (of sufficient quality
to be utilized) that evaluated the relationship between non-Hodgkin lymphoma
(NHL) and exposure to glyphosate. Simply looking to see if the studies tend to have
a relative risk above or below 1 shows the studies to be consistently positive across
the board with the exception of the AHS exposure-response analysis (that had
problems with classifying the exposure) and the Orsi et al study (that had a relative
risk of exactly 1). This is quite clearly illustrated using the tree plot in Figure 1.

The sentence ‘Taken together, the epidemiological data does not provide convincing
evidence that glyphosate exposure in humans might be related to any cancer type.’ is
difficult to accept given that the three meta-analyses, all including the AHS study,
show a statistically significant association between use of glyphosate pesticides and
NHL in humans (Table 2). Finally, the statement that “the results of the studies are
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associated to different formulations containing glyphosate or mixtures of different
active substances.” is not supported by actual data so this is speculation and not fact.

In “Guidance on the application of the CLP criteria – Version 4.1”, Annex I: 3.6.2.2.3
states that “The terms 'sufficient' and 'limited' have been used here as they have been
defined by the International Agency for Research on Cancer (IARC) and read as
follows: ... limited evidence of carcinogenicity: a positive association has been observed
between exposure to the agent and cancer for which a causal interpretation is
considered to be credible, but chance, bias or confounding could not be ruled out with
reasonable confidence.” The meta-analyses indicate that a positive association has
been observed so the only reason you would have for not classifying the human
evidence as limited is that you believe the causal relationship is not credible or that
the bias and/or confounding is so bad as to make these studies worthless. This is
clearly not the case. It is likely that the decision is being skewed by placing too much
emphasis on the AHS study; the meta-analysis is designed to avoid this problem.

Finally, this paragraph also implies that human epidemiology data will never be of
importance in evaluating a pesticide because the pure compound is not used on
humans. Such a statement is not scientifically sound and fails to use the science to
address the safety of the public.

Mouse Carcinogenicity Data

Also on page 93 of the Report, the data on the carcinogenicity of glyphosate in mice
is summarized.

“In the mouse, the incidences in malignant lymphoma, in renal tumours and
haemangiosarcoma in male animals were considered in detail. Slightly higher
incidences when compared with concurrent controls were confined to very high dose
levels above the OECD-recommended limit dose of 1000 mg/kg bw/day and exceeding
the MTD. In addition, the outcome of statistical tests was contradictory. Mostly, but not
always, trend tests revealed statistical significance but pairwise comparisons failed to
detect a significant difference relative to the control group. The reported incidences of
all three tumour types fell within their historical control range which were, however,
of variable reliability. If the four studies in CD-1 mice are considered together, it
becomes apparent that all tumours were observed also in the control groups and in
some groups receiving lower doses in at least one concurrent study. Furthermore, the
results were not consistent with regard to dose responses. To conclude, there is not
enough evidence to consider the tumours in mice as treatment-related.”

It is unusual to have four studies in the same species and strain for an evaluation. It
is possible to make direct comparisons between the studies and even pool the data
for a combined analysis. Table 3 quickly summarizes the findings from the four
studies in CD-1 mice and the one study in Swiss mice. One thing that stands out in
Table 3 is that the studies were conducted for either 18 months or 24 months. This
is a critical difference that does not get much discussion in the Report.
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Cancer increases in risk generally as a power of length of exposure (Portier, Hedges
and Hoel, 1986). This relationship was used to develop a means to adjust the length
of time an animal is on a study, enabling a scientist to determine risk at the end of
two-years, the typical time used for animal bioassays (Bailer and Portier (1988) and
Portier and Bailer (1988)). This is called the Poly-3 adjustment. The US National
Toxicology Program uses the Poly-3 test to evaluate significance in their animal
bioassays. Now you will note that three of the mouse studies were only conducted
for 18 months. (Comparing 18 month studies with 24 month studies without
making an adjustment for the differences in length of exposure is like comparing
cancer rates in 40 year-olds exposed for 25 years to cancer rates in 65 year-olds
exposed for 50 years and concluding they are not consistent with each other; the
conclusion is meaningless because the correct evaluation was not done.) Thus, in
order to compare all 5 studies, we must use the Poly-3 adjustment to extrapolate the
18 month studies to estimate what we think the cancer risk would have looked like
at 24 months. The adjustment decreases the number of animals without tumors in
all groups by (18/24)3.. The p-values for both the unadjusted trend test and the
poly-3 adjusted trend test are given in Table 4 for male mouse renal tumors.

 As an example of how the Poly-3 adjustments work, consider a comparison of the
high-dose renal tumor response in the 1983 study (3/50=6%) to the high-dose
response in the 1997 study (2/50=4%). In the 1997 study, 48 animals had no
tumors at 18 months; the poly-3 adjustment reduces this to 20.25 leading to an
incidence estimate of 2/22.25=9%. Because the Poly3 test effectively reduces the
number of animals on study, even though the incidence estimate goes up, the p-
value for the trend test could go down. Numerous evaluations of the validity of the
poly-3 adjustment have been published in the peer-reviewed literature and it seems
to work very well.

Now that the lengths of the studies have been adjusted, the next question to ask is
whether this dose-response is consistent across all of the studies or whether there
are anomalies. Combining all of the studies into one pooled analysis (Table 5, Line
1) and performing a trend analysis on the pooled data yields highly significant
findings (Table 5, Line 1). Excluding the Swiss Albino mouse study (2001) and only
using the CD-1 mice also yields a significant trend (Table 5, Line 3). Repeating these
analyses with the Poly-3 adjusted data does not alter the significant findings. Poly-3
adjusted dose-response for renal tumors in the entire set of mouse studies is shown
in Figure 2. Here, each dose-response point from each study is plotted along with
the 95% confidence bound around the response. It is somewhat hard to see that
there is a pattern here that is consistent. To make it easier to see, I pooled all the
controls into one group, pooled the animals given doses between 0<dose≤300 in a
second group, and similarly for animals given doses between 300<dose≤1500 and
dose>1500. These results are plotted against the mean dose in each set of pooled
doses in Figure 3 (the horizontal blue lines show the range of the doses that were
combined). The trend in the data is more evident in Figure 3 than in Figure 2. The
pooled data sets were also analyzed by the unadjusted and poly-3 adjusted trend
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tests and shown to be significant (Table 5, Lines 2 and 4). Finally, as noted in the
Report, it seems that all of the response is in doses above 1000 mg/kg/day. After
removing all doses above 1000 mg/kg/day and repeating all of the analyses, the
results of the analysis are shown in Table 5, Lines 5-8. Without the doses above
1000 mg/kg/day, the effect disappears.

Tables 6 and 7 repeat these analyses for malignant lymphomas and Figures 4, 5, and
6 show the resulting plots of the data. In Figure 4, it is easily seen that the Swiss
mice had a very different background tumor rate compared to the CD-1 mice so for
the remaining two Figures (5 and 6), only CD-1 mice are plotted. Because of the
different backgrounds between the Swiss mice and the CD-1 mice, when they are all
combined, the joint analysis is not significant (Table 7, lines 1 and 2). Removing the
Swiss mouse study and only evaluating the CD-1 mice leads to highly significant
trends in all analyses (Table 7, lines 3-8). A significant trend remains even after
removing the doses>1000 (Table 7, lines 5-8) suggesting this is not a high-dose only
effect. This is very clear when you examine Figure 7.

Tables 8 and 9 repeat these analyses for hemangiosarcomas and Figures 7 and 8
show the resulting plots of the data. The findings in the Swiss mouse were unclear
in the reporting so these tables only contain analyses of the CD-1 mouse data. All
analyses are highly significant (Table 9) and they remain significant if doses>1000
are excluded (Table 9, lines 3 and 4). So again, this is not a high dose-only effect.

With these analyses, certain things are clear. The statement “If the four studies in
CD-1 mice are considered together, it becomes apparent that all tumours were
observed also in the control groups and in some groups receiving lower doses in at
least one concurrent study.” is highly misleading. Combining all four studies in CD-1
mice leads to very strong statistical significance in the data. Also, “Furthermore, the
results were not consistent with regard to dose responses.” is also incorrect and not
actually supported by the data. Finally, the statement “Slightly higher incidences
when compared with concurrent controls were confined to very high dose levels above
the OECD-recommended limit dose of 1000 mg/kg bw/day and exceeding the MTD.”
while partially correct is also very misleading. When doses above 1000 mg/kg/day
are excluded, the pooled data from the four CD-1 mouse studies remain significant
for both the malignant lymphomas and the hemangiosarcomas. Also, the OECD-
recommended limit is not the MTD (maximum tolerated dose) and showing
exceedance of an MTD requires more information than simply that the dose was
large.

Given a careful, objective evaluation of these data, I strongly suggest you change
your conclusion from the mouse studies from “To conclude, there is not enough
evidence to consider the tumours in mice as treatment-related.” to “To conclude,
there is enough evidence to consider the tumours in mice as treatment-related.”

Finally, a few comments on the reviews of the individual studies starting on page 67
of the Report.
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Page 68 - “Obviously, the carcinogenicity study in Swiss albino mice by Kumar (2001,
ASB2012-11491) revealed an increase in malignant lymphoma incidence over the
control at the top dose level of around 1460 mg/kg bw/day in both sexes but the
background (control) incidence was also quite high. In fact, at least in males, the
number of affected animals in the control groups was markedly higher in this strain
than in three studies in CD-1 mice. It must be emphasised that this tumour is quite
common in ageing mice and that Swiss mice are frequently affected (for details, see
below). In this study, malignant lymphoma accounted for 54.6% of the total number of
tumours when all groups are considered together.” Without actually using historical
controls, an attempt is made here to downplay the significance of this finding by
saying the concurrent control was high. And then it is not clear at all why the 54.6%
figure is put into this paragraph. Is this study positive? Yes. Are there flaws in this
study? No. Why does this Report then downplay this finding? Especially when you
see similar findings in the other studies?

Page 68 -“In the most recent study in CD-1 mice by Wood et al. (2009, ASB2012-
11490), there was a higher incidence of the same tumour type in high dose males
(5/51 vs. 0/51 in the control group). Likewise, in the study by Sugimoto (1997,
ASB2012-11493), there were a higher number of male mice affected at the
exaggerated dose level of 40000 ppm (approx. 4350 mg/kg bw/day) than in the
control group (6/50 vs. 2/50). In the study by Atkinson et al. (1993, TOX9552382), in
contrast, there was no dose response and the incidence in the control group was
similar to that at the top dose level.” Regardless, this entire paragraph is attempting
to compare control animals ranging over 16 years with differing terminal sacrifice
times and from different laboratories. Such a comparison is inappropriate because
of the known drift in strains over time and increasing tumor risk with age. The
OECD guidelines make this very clear.

Page 69 – “The trend test also provided a p-value above the significance level of 0.05,
most probably because of the high control incidence (see Table 33).” The p-value for
trend is 0.0535122, technically above 0.05, but it is misleading when trying to
compare across studies not to mention that this is almost significant.

Page 69 - “In contrast, re-analysis of the studies by Wood et al. (2009, ASB2012-
11490) and Sugimoto (1997, ASB2012-11493) showed statistically significant
increases with dose for male CD-1 mice in the trend test (Table 34 and Table 35) but a
rather low or even “zero” incidence in the control groups might be behind this finding.”
Where are the historical controls to support the speculation in the last part of this
sentence? And of course the formal statistical analysis to go with it. Finally, as
noted in the Report, OECD guidelines, IARC guidelines, NTP guidelines and others,
the concurrent control is the best to use for evaluating a study.

Page 69 – “This result was confirmed by the chi-square test. Also for this comparison,
the very low control incidence (0/51) should be taken into consideration.” Again,
where are the historical controls to support this statement?
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Page 71 – “It may be concluded that the statistical significance of the suspected
increase in malignant lymphoma in the various studies depends very much on the
statistical method that is used for data analysis.” This is usually the case; that is why
the OECD guidelines make it clear that if either the trend test or the pairwise
comparison is positive, the findings should be considered positive.

Page 71 – “When the trend test is applied, the studies by Wood et al. (2009, ASB2012-
11490) and Sugimoto (1997, ASB2012-11493) provide evidence of an effect which was
not the case when pairwise comparison was performed. In contrast, the increase in the
study of Kumar (2001, ASB2012-11491) was not confirmed neither by the trend test
nor by a different pairwise test than the Z-test that had been used first.” From my
Table 6, there are two significantly positive studies, two studies with a marginal p-
value and one study that would be positive if not for the highest dose dropping
down. As noted in the Report, there was a drop in weight gain in the 1993 which
could explain the drop in tumors at the highest exposure group (animals with
reduced caloric intake are less likely to get tumors).

Page 71 – “In the studies by Wood et al. (2009, ASB2012-11490) and by Atkinson et al.
(1993, TOX9552382) in CD-1 mice, comparable top doses of 810 or 1000 mg/kg
bw/day were administered and a similar incidence of malignant lymphoma was noted
in high dose males (5/51 or 6/50, respectively). However, the control group incidences
were clearly different (0/51 vs. 4/50) resulting in a positive trend test in the study by
Wood et al. (2009, ASB2012-11490) only.” The 1993 study was 24 months whereas
the 2009 study was 18 months; it is not surprising the control tumor counts are
higher in the 1993 study. What is surprising (and statistically significant) are the 6
tumors at the high dose in the 2009 study after only 18 months. And of course, this
is another inappropriate comparison of control incidence over a 16 year timeframe.
And finally, none of this is statistically significant.

Page 71 – “Thus, if all four studies in CD-1 mice are taken together, there is no
consistent dose response.” See my formal analysis of this question.

Page 71 – “Nonetheless, it seems well in line with information that was found in the
literature providing confirmation that Swiss mice are prone to developing
lymphoreticular tumours. According to older articles, control incidences in male mice
of Swiss or Swiss-derived strains may reach 18–27.5% and exceed 36% in females
(Sher, 1974, Z22020; Roe and Tucker, 1974, ASB2015-2534; Tucker, 1979, Z83266). In
a more recent publication, Tadesse-Heath et al. (2000, ASB2015-2535) even
mentioned a nearly 50% lymphoma (mostly of B cell origin) incidence in a colony of
CFW Swiss mice but also emphasised the contribution of widespread infections with
murine oncogenic viruses to the high but remarkably variable incidence of tumours of
the lymphoreticular system in this species.” Why are there guidelines if they are not
used? Again, an argument is being made about historical controls using data which
does not match OECD guidance (even bringing in Swiss-derived strains). And, if
there are had historical control values from the lab, giving all five numbers and
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some description of the studies (18 months or 24 months?) would seem to be in
order.

Page 72 – “However, in the study report itself, there was no evidence of health
deterioration due to suspected viral infection and, thus, the actual basis of EPA’s
decision is not known.” The entire discussion about infections is, at best, absurd if
there is no evidence. Inclusion of this text is simply an attempt to discredit the
study.

Page 72 – “It ranged from 3.85% to 19.23% in the control groups from 12 studies that
had been performed between 1992 and 1998 (Kitazawa, 2013, ASB2014-9146). Thus,
the 12% incidence at the top dose level in the study with glyphosate was well covered
by the range even though it was above the mean value of 6.33%.” 12 studies with a
mean of 6.33% and a range of 3.85 to 19.23 is an extremely skewed population. One
study had 3.85% and one had 19.23 %; 12 x 6.33%=75.96 so the remaining 10
studies, in order to get an average of 6.33% would need to add up to 52.54 or 5.25%
per study on average. Just from the math, it appears the 19.23% control is an
outlier. Regardless, for sake of transparency, the actual rates should be given and
assurances be given that they are all from studies of 18 months and not 24 months.
And finally, a formal statistical analysis against the historical controls should be
conducted. To illustrate; if the historical background is 6.33% and is based upon 50
animals in each control group and the controls are binomially distributed, then the
probability of randomly seeing an outcome with a trend statistic equal to or larger
than the one observed in this study is p=0.02. MATLAB code is provided that makes
this calculation.

Page 72 – “Unfortunately, for the study of Wood et al. (2009, ASB2012-11492), the
submitted historical control data was not particularly useful for the assessment.” Stop
with this statement; everything else written is an inappropriate use of historical
control data and should be ignored.

Page 73 – “On balance, based on uncertainties with regard to partly contradictory
study outcomes depending on the statistical method applied, inconsistent dose
response in the individual studies, and a highly variable tumour incidence as suggested
by historical control data, it is not likely that glyphosate has induced malignant
lymphoma in mice. A possible role of oncogenic viruses should not be ignored.
Moreover, human relevance of such an effect, if occurring only as a high-dose
phenomenon as it was the case here, is considered equivocal.” On balance, this entire
paragraph is a wrong. The study outcomes are not contradictory (follow OECD
guidance and it is simple), does response is not inconsistent (see my analysis),
tumor incidence is not highly variable when properly adjusted for time on study
differences and the entire historical control discussion is either inappropriate or
inadequately applied.

Page 74 -“Even though no historical control data from the performing laboratories
was provided, a simple comparison of the control groups in the individual studies with
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glyphosate suggests that renal tumours may occur in untreated control males at a
similar incidence than in the groups receiving very high doses.” This is a misleading
comment. First, no formal analysis of historical control data has been undertaken
and, as we stated in our paper (Portier et al., 2016), your own guidelines provide
guidance on how to obtain and use historical control data; this has not been done
here. I am also surprised to see the statement that “no historical control data from
the performing laboratories was provided” when in response to a letter sent to
Commissioner Andriukaitis, the EFSA Executive Director, Professor Url, wrote “The
Peer Review Report (EFSA, 2015b) confirms that EFSA conducted a specific check
regarding the use of historical control data, requested additional information during
the clock-stop procedure and only considered valid the historical control data from the
performing laboratory in line with the international recommendations”. Which is it?
Does the Report rely on valid historical control data from the performing
laboratories or not?

Page 75 - “Even if not fully comparable because of the strain differences, it should be
remembered that the top dose incidence of 2/50 in this study was the same as seen in
CD-1 mice in the study by Atkinson et al. (1993, TOX9552382) in the control and low
dose groups.” Why even include this sentence? They are not comparable.

Page 76 – “Even though there was no clear dose response, it may be assumed that
glyphosate (acid) when administered at high doses might produce mucosal irritation.”
So, if I am reading this right, statistically significant positive cancer results are being
dismissed based on non-statistically significant non-cancer results that have a
questionable linkage to the cancer results. Does this seem reasonable? I guess not
since this appears in the next papagraph “However, it is questionable if irritation
would sufficiently explain tumour formation in the kidney.”.

Page 76 – “The top dose finding of 2/50 in the study by Sugimoto (1997, ASB2012-
11493) is at the upper edge of adenoma frequency. In the study by Knezevich and
Hogan (1983, TOX9552381) which is not actually covered by the timeframe of the
historical database, the adenoma incidence (2%) at the top dose level would be inside
the historical range whereas a carcinoma incidence of 4% was above.” Again, an
improper use of historical controls. These are not appropriate for the 1983 study
but are used anyway. For the 1997 study, only controls in mice sacrificed at 18
months should be used, mice sacrificed at 24 months will likely have greater
incidence. This is quite evident when one looks at hemangiosarcomas in male mice
in the Giknis and Clifford report (attached). Exactly half of the studies went 18
months, 24 went 2 years and the remaining two went 97 and 100 weeks. Hence this
historical control dataset is inappropriate for this comparison. However, even if it
were, the findings would still be significant. The paper gives a mean background
level for adenomas of 0.24% and for adenocarcinoma of 0.14% for a combined
background of 0.38%. The probability of seeing a dose-response trend equal to or
larger than what was seen in the 1997 study is 0.01, a significant finding. The p-
value for the 1983 study would be even smaller.
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Page 77 – “Even the incidences of affected animals at exaggerated doses exceeding the
OECD-recommended limit of 1000 mg/kg bw/day and also the MTD were not
statistically significantly increased when compared with the concurrent controls.” As
mentioned earlier in this document, if either test is positive, the findings should be
considered positive so the second half of this sentence is inappropriate. How did
“there is some evidence that the MTD was exceeded in both studies at the highest dose
level” (Page 76) become absolute certainty about exceeding the MTD?

Page 77 – “Even the incidences at exaggerated doses are covered by the historical
control range.” As noted earlier, this finding is not supported.

Page 77 – “No pre-neoplastic kidney lesions have been observed in treated animals.”
Following this logic, the high dose animals got tumors by some unknown
mechanism related to exceeding the MTD and that unknown mechanism did not
damage the kidneys in any other animals enough to show preneoplastic effects.
What is this mechanism and where is the evidence suggesting such a mechanism
exists? And how does this statement “However, it is questionable if irritation would
sufficiently explain tumour formation in the kidney.” fit in to this theory?

Page 77 – “There is no plausible mechanism” Following the logic again, some
unknown mechanism related to exceeding the MTD caused the tumors at the highest
doses and because there is no mechanism, the results should be dismissed.

Page 78 – “According to Atkinson et al. (1993, TOX9552382), the historical control
incidence in the performing laboratory ranged from 0/50 to 4/50 and, thus, would
cover the incidence at the top dose level.” Inadequate documentation of the historical
control data makes it impossible to address this statement. The actual counts and
ages at terminal sacrifice for the historical controls should be provided. As shown
earlier, range is an inappropriate way to utilize historical controls. This is a clear
example of a lack of transparency.

Page 78 – “Historical control data provided by Charles River indicate a very variable
incidence of haemangiosarcoma. On different sites of the body, tumours of this type
were seen in untreated control animals in 8 of 52 studies.” In this case, Giknis and
Clifford give the actual values for each of their control groups. For
hemangiosarcomas, there were zero tumors in all 26 studies terminated at 18
months, and only 8 of the remaining 26 studies that went two years had
hemangiosarcomas. Thus, the 18 month 1997 study is well outside the range of the
historical controls.

Page 78 – “Furthermore, since Sugimoto (1997, ASB2012-11493) employed a more
than four times higher top dose than Atkinson et al. (1993, TOX9552382), a markedly
higher haemangiosarcoma incidence would have been expected if this tumour was in
fact treatment-related.” Again, this is a comparison of an 18 month study to a 24
month study. The finding that the 24 month 1993 study has an 8% response at a
dose of 1000 mg/kg/day while the 18 month 1997 study has a 4% response at a 4-
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fold higher dose is not unexpected.
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   Figure 1: Tree Plot of Epidemiology Studies




                                               Chang and Delzell (2016)
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Figure 2: Renal tumors in male mice poly-3
 adjusted showing individual dose groups
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Figure 4: Malignant lymphomas in male mice poly-3
     adjusted showing individual dose groups
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Figure 7: Hemangiosarcomas in male CD-1 mice
poly-3 adjusted showing individual dose groups
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Response to comments prepared by Christopher Portier (dated October 4, 2016)
                   for the glyphosate EPA SAP meeting

                                 Robert E. Tarone

Dr. Portier claims to show highly significant dose-response relationships between
glyphosate exposure and renal tubule tumors, lymphomas, and
hemangiosarcomas among male mice in analyses summarizing five mouse
carcinogenicity studies. His conclusion is flawed, because of the use of
inappropriate statistical methods and the omission of relevant tumor data.

Dr. Portier’s analyses are based on the Cochran-Armitage trend test statistic and
the poly-3 trend test statistic. The p-values reported for both test statistics in
Portier’s comments are based on their asymptotic standard normal distributions
(i.e., they provide approximate tests). This can be OK (i.e., the approximate p-
values may be somewhat close to exact p-values) when there are sufficient
numbers of animals with tumors, or when the dose levels are approximately
evenly spaced. Neither is the case with the glyphosate mouse studies. The tumor
rates are very low and the doses are nowhere near equally spaced. Because
glyphosate was given at such high exposure levels, particularly in the highest dose
groups, the test statistics are extremely skewed – i.e., they come nowhere near
being distributed as standard normal variables.

I can give an example based on the Cochran-Armitage test statistic, for which
both the exact p-value and its standard normal approximation can be computed
(all p-values presented below were calculated using StatXact®, version 9).
Consider the p-value of 0.008 for the mouse renal tumors in the 1997 CD-1 mouse
study reported in Table 2 of Portier’s comments. The corresponding tumor rates
were 0/50, 0/50, 0/50 and 2/50. Calculating the Cochran-Armitage test statistic
using dose levels 0, 165, 838, 4348 gives an exact one-sided p-value of 0.062 and
an approximate one-sided p-value of 0.0078.

The small approximate p-values in Portier’s tables frequently reflect the extreme
skewness of the test statistics because of the large highest dose level. The use of
approximate tests results in summary p-values for renal tumors and lymphomas
in male mice that are too small because of the failure of the asymptotic normal
distribution to approximate the exact distribution of the test statistics.
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Based on the data in Table 6 of Portier’s comments there might be reason for
concern about a possible association between glyphosate exposure and
hemangiosarcomas in male mice. The table shows that very few
hemangiosarcomas were observed, but that all but one were observed in the
highest exposure groups. The table, however, omits all hemangiosarcomas
reported in the 2001 Swiss mouse study and the 2009 CD-1 mouse study.
Hemangiosarcomas are reported by organ or system in the summary tables for
these 2 studies, and it will be assumed that no animal has more than one
hemangiosarcoma in the calculation of tumor rates. For the 2001 Swiss mouse
study (study 13 in the 2015 Critical Reviews in Toxicology review paper by Greim,
et al.) the hemangiosarcoma rates for males are 0/50, 0/50, 2/50, and 0/50. For
completeness, the hemangiosarcoma rates for females in this Swiss mouse study
are 1/50, 1/50, 0/50, and 0/50. For the 2009 CD-1 mouse study (study 14 in the
Greim et al. review) the hemangiosarcoma rates for males are 2/51, 1/51, 2/51,
and 1/51. Again for completeness, the hemangiosarcoma rates for females in this
CD-1 mouse study are 1/51, 1/51, 1/51, and 1/51. Thus, the hemangiosarcoma
data omitted from Table 6 provide no support for an increase in
hemangiosarcomas at highest exposure levels in male mice, and provide no
support at all for an increase in hemangiosarcoma rates in glyphosate-exposed
females (consistent with the other 3 mouse studies).

In his comments, Portier expresses the opinion that two-sided tests are not
appropriate in evaluating the rodent glyphosate studies. There is no statististical
justification for this view. Perhaps in situations in which the type of tumor being
evaluated is vanishingly rare, such a claim could be supported. The role of the
nominal significance level is to protect against false positive findings in both
directions (i.e., direct association of tumor rates with dose level and inverse
association of tumor rates with dose level). Several of the trend test statistics in
the glyphosate rodent studies are in the direction of an inverse association
between exposure level and tumor rate, and, in fact, the one-sided exact p-value
of the Cochran-Armitage trend test for renal tumors in the 1993 CD-1 mouse
study (Table 2) is 0.042 in the direction of an inverse association. For
hemangiosarcomas in male mice, the exact one-side p-values for a positive trend
for the five studies in Table 6 are 0.503, 0.004, 0.062, 0.50, and 0.65, with the
approximate test statistic in the direction of an inverse association between
glyphosate level and hemangiosarcoma rate for three of the five studies. A
number of inverse associations are observed in the individual glyphosate rodent
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studies, and accordingly, two-sided p-values should be used in summarizing the
results of these studies.

An appropriate statistical analysis based on exact p-values because of the small
numbers of animals with tumors and the skewed distribution of the test statistics
would not provide convincing evidence that glyphosate induces renal tumors,
lymphomas, or hemangiosarcomas in male mice.
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Supplemental Comments on USEPA (EPA-HQ-OPP-2016-0385-0094) (11/16/2016)                    1

Comments of Christopher J. Portier, PhD.
USEPA (EPA-HQ-OPP-2016-0385-0094)
Glyphosate Issue Paper: Evaluation of Carcinogenic Potential
Response to comments prepared by Robert E. Tarone (dated October 27, 2016)
November 16, 2016

Disclaimer: This work was done with my own resources and on my own time. I have
received no reimbursement for any of these comments and no other party has
contributed to the drafting of these comments. These comments are solely my opinion
and my responsibility.

Dr. Tarone has 3 main points to make in his comments regarding my evaluation of the mouse
carcinogenicity data on glyphosate. I will take these in reverse order.

   1. Dr. Tarone contends that the use of one-sided p-values is not justified. The purpose
      of this hazard evaluation is to determine if exposure to glyphosate is a carcinogenic
      hazard; it is not to determine if glyphosate can either reduce tumor rates or increase
      tumor rates. Thus, the justification for the use of a one-sided test is based upon the
      alternative of interest.
   2. Dr. Tarone contends I have not used the data on hemangiosarcomas from the studies
      by Kumar (2001) and Wood et al. (2009). In fact, I did include the numbers by
      Wood et al. (2009) based on the numbers provided in Table 5.3-1 in the EFSA
      Renewal Assessment Report, Addendum I (8/31/2015) which records zero tumors in
      all groups exposed to glyphosate. The discrepancy between the numbers of EFSA
      and those of Dr. Tarone have to do with the inclusion of hemangiosarcomas in liver
      and kidney which do not appear to be included in the pathology designated as
      “hemangiosarcoma of multiple organs”. This also appears to be the case in the
      historical control data set referenced in the EFSA Table 5.3.1 and cited by the EPA
      (Giknis and Clifford, 2005). I suggest EPA clarify this issue for the SAP. I did not
      use the data from Kumar (2001) because I did not have it at the time I first did this
      analysis; that is corrected below.
   3. Dr. Tarone contends that, by not using the exact p-values, I am overstating
      the significance of the observed trends. He then goes on to cite some
      examples of where this changes the results and finally concludes that “An
      appropriate statistical analysis based on exact p-values because of the small
      numbers of animals with tumors and the skewed distribution of the test
      statistics would not provide convincing evidence that glyphosate induces renal
      tumors, lymphomas, or hemangiosarcomas in male mice.” While I agree with
      Dr. Tarone that, in cases where tumors are rare, the approximate p-value can
      overstate the significance of the findings, I strongly disagree with his final
      conclusion. Dr. Tarone has failed to address all of the analyses considered in
      my comments, and in doing so, has mislead the reader to believe all
      significance disappears. This is not the case as I now demonstrate.

       The spreadsheet attached (“AllTestValues.xlsx”) to this set of comments re-
       evaluates all of the analyses in my previous comments using the chi-squared
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       test with the one-sided approximate p-value), the exact test1, and an
       evaluation against the use of a historical control frequency of tumors2 using
       the numbers presented in the EFSA Table 5.3-1 and also cited by the EPA
       (Giknis and Clifford, 2005). Note that there are problems with the use of
       these historical control values in the analyses as noted in my previous
       comments. However, they are sufficient for the analysis being provided here
       and demonstrate why a careful evaluation against historical controls is
       necessary.

       For renal tumors, all of the individual studies for which the p-value was less
       than 0.05 for the approximate test have p-values greater than 0.05 and less
       than 0.065 for the exact test. Thus, we go from 3 significant studies to 3
       marginal studies. However, there are a few important issues to consider on
       these numbers. The study by Sugimoto (1997) is the most extreme outcome
       possible and it is not possible with only 2 tumors to get a p-value smaller
       than the 0.059 value with the exact test. Similar statements hold true for the
       1983 study and the 2001 study. The point is that for rare tumors, the exact
       test has a limited ability to identify a positive finding even though it uses the
       exact p-value. Thus, doing a direct evaluation against the historical controls
       is warranted. The historical control test shows statistical significance
       identical for all of the tests to those in my previous comments. Especially
       clear is the findings from analyzing all of the data simultaneously.

       For Malignant Lymphomas, all analyses are marginal for the 1993 study and
       significant for the 1997 and 2009 studies. The results for the 1983 study do
       not change and the results for the 2001 study is mixed. In general, the
       findings for all of the analyses presented in my previous comments are less
       significant, but still support an overall conclusion of a positive response for
       malignant lymphomas, especially where all of the CD-1 mice are combined
       for analysis.

       Finally, for Hemangiosarcomas, after including the findings from the Kumar,
       2001 study, there are very minor differences in the overall significance of the
       findings regardless of the method used to compute the p-values. For the

1 The exact test p-value was calculated using a permutation approach where 20,000

random data sets with the same fixed number of total tumors as the original data set
were analyzed and compared to the original one-sided Z-statistic for the trend test.
The p-value for this test is based upon the fraction of the 20,000 experiments
resulting in a Z-statistic greater than or equal to that observed in the original data
set.
2 The p-value for the historical control test was calculated by randomly generating

10,000 datasets under the null hypothesis of no difference in tumor response across
all groups with a true p-value equal to the historical control values. The p-value for
this test is based upon the fraction of the 10,000 experiments resulting in a Z-
statistic greater than or equal to that observed in the original data set.
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       1997 study, we again have a case where the smallest p-value possible from
       the exact test is the one given. The findings for the combined analyses of all
       of the studies do not change and remain clearly significant.

In summary, even with the use of the p-values from the exact test, the only
conclusion that can be drawn from the mouse carcinogenicity data is that there is
“very strong evidence in mice for renal tumors, hemangiosarcomas and malignant
lymphomas. EPA’s exclusion of doses above 1000 mg/kg/day is unscientific and their
argument of a lack of significance above this dose is unsupported.”
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Comments on the laboratory animal carcinogenicity studies evaluated in
EPA’s Glyphosate Issue Paper: Evaluation of Carcinogenic Potential, and
an assessment of the comments by Dr. Christopher Portier on these studies

                         by Joseph K. Haseman
                       J. K. Haseman Consulting
                          November 20, 2016

   I. Introduction

Because of my many years of experience working with the National
Toxicology Program (NTP) in the design, analysis and interpretation of their
rodent cancer bioassays, I was asked to examine a document entitled
“Glyphosate Issue Paper: Evaluation of Carcinogenic Potential”, prepared
by the EPA, whose purpose is to assess the carcinogenic potential of
glyphosate for human health. The document deals with epidemiology,
laboratory animal cancer, and genetic toxicity studies, but the rodent cancer
data will be the focus of my comments. I will also comment on Dr.
Christopher Portier’s evaluation and statistical analysis of the glyphosate
laboratory animal cancer data and his critique of the EPA report.

   II. EPA’s evaluation of the glyphosate rodent cancer data

The EPA evaluated six mouse and nine rat glyphosate carcinogenicity
studies. No significant increasing trends in tumor incidence were seen in
three of the mouse studies, while three studies showed isolated statistically
significant (p<0.05) trends - hemangiomas in one study, hemangiosarcomas
in in a second study, and malignant lymphoma in a third study. This third
study also showed a statistically significant trend for lung adenocarcinoma,
but this trend was not statistically significant when all lung tumors were
considered (i.e., lung adenoma or adenocarcinoma combined).

In five of the nine rat studies, no significant carcinogenic effects were found.
The other four studies showed isolated statistically significant trends, but in
different tumor types that were also different from the tumor types that
produced significant trends in mice – one study showed a significant trend
for testis tumors, a second for thyroid c-cell tumors, a third for liver tumors,
and a fourth for mammary gland tumors. The second study cited above also
showed a statistically significant trend for liver adenoma, but no significant
trend for all liver tumors (adenoma or carcinoma combined).
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Based on these results, the EPA concluded that “Based on the weight-of-
evidence, the agency has determined that any tumor findings observed in the
rat and mouse carcinogenicity studies for glyphosate are not considered
treatment-related. Tumor findings observed at the highest doses tested were
also not reproduced in studies in the same animal strain at similar or higher
doses. Furthermore, even if the high-dose tumors were considered treatment-
related, these findings are not considered relevant for human health risk
assessment based on the use pattern and potential exposures for glyphosate.”

   III. Dr. Portier’s evaluation of the glyphosate rodent cancer data

The EPA’s conclusion given above disagrees with the International Agency
for Research on Cancer (IARC), who in March, 2015 concluded that
glyphosate was a probable human carcinogen (Group 2A), based in part on
“sufficient” evidence of carcinogenicity in laboratory animals.

Dr. Christopher Portier played a key role in IARC’s classification of
glyphosate as a Group 2A probable human carcinogen, so it is not surprising
that his report (dated 10-4-16) disagrees with the EPA’s assessment of
glyphosate, and he defends IARC’s classification of glyphosate as a
probable human carcinogen. My comments will focus on those portions of
Dr. Portier’s report that deal with the rodent cancer studies.

I have many major concerns with Dr. Portier’s report. For example,

(i) his statistical analyses of tumor trends is an approximate rather than an
exact trend test, and this approximate test can exaggerate the statistical
significance of trends (especially for rare tumors) by as much as 10 fold;

(ii) Dr. Portier misuses poly-3 tumor rates in several ways. First of all, his
“poly-3 tumor rates” for the 24 month studies are nothing more than the
overall observed tumor rates – there is no survival adjustment at all.
For the 18 month studies, Dr. Portier’s “poly-3 tumor rates” are nothing
more than the observed overall tumor rates extrapolated to 24 months by a
poly-3 adjustment that erroneously assumes that all tumor-free animals in
the 18 month study survived until the end of the study;

(iii) his attempts to pool tumor data across unrelated studies are fatally
flawed and greatly exaggerate the significance of the pooled data;
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(iv) he attributes various actions and statistical evaluations of the data to the
EPA that were in not in fact carried out;

(v) his efforts to incorporate historical control data into the overall
evaluation are flawed;

(vi) he underestimates the importance of pre-neoplastic lesions in the
development of cancer; and

(vii) he apparently fails to appreciate that the frequency of significant
increasing trends in tumor incidence across the 15 glyphosate studies is
totally consistent with chance expectation. Moreover, the significant trends
that were observed showed no consistency regarding the target site or type
of “carcinogenic effect”.

Dr. Portier presents 23 specific points of emphasis concerning the EPA’s
animal carcinogenicity data findings. The most important of these are

Point 4 [echoed in Point 10]: “EPA consistently dismisses significant
findings in rat [and mouse] studies because of a lack of a preneoplastic
finding.”

Response – Pre-neoplastic lesions are important for certain tumor types, and
should be considered in an overall weight of evidence evaluation of the data,
especially for marginal increases in tumor incidence. For example, when
interpreting (and dismissing the biological significance of) the marginal
increase in kidney tumors seen in male mice in the 1983 Monsanto
(Knezevich and Hogan) glyphosate study, Dr. Robert Squire, a world-
renowned expert in rodent pathology, stated “I know of no instance where a
renal carcinogen was given at a dose sufficient to induce tumors without also
inducing tubular toxicity and hyperplasia”.

Point 5 [echoed in Point 11 for mice]: “EPA consistently dismisses
significant findings in rat studies because of a lack of a significant pairwise
comparison even though there is a significant trend.”

Response - I agree with Dr. Portier that a trend test is more sensitive than
pairwise comparisons for detecting carcinogenic effects, and the focus of my
comments will be on the trend tests. One of my most important findings
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(discussed later in this report) is that the frequency of statistically significant
(p<0.05) trends across the 15 glyphosate studies is actually lower than
chance expectation. Moreover, there is no consistency to the significant
trends that are observed. Thus, the “significant trends” are most likely due
to chance, not to glyphosate.

Point 8: “The strong positive response seen for thyroid c cell carcinomas in
female rats in one of these studies [Stout and Reucker] should be considered
positive”.

Response - This “strong positive response” noted by Dr. Portier is a single
carcinoma in the mid dose group! I suspect that Dr. Portier intended to refer
to thyroid c cell adenoma, but this pattern of response (2/57 - 2/60 - 6/59 -
6/55) is hardly a “strong positive response”. Even when the carcinoma in
the mid dose group is included, the overall incidence of thyroid c cell tumors
(2/57 -2/60 - 7/59 - 6/55) in female rats is only barely significant by a trend
test (p=0.042; see Table 4.7 of the EPA report) and this non-monotonic
pattern of tumor response does not support Dr. Portier’s conclusion on page
11 that “the dose response is clear.”

This is exactly the sort of marginal tumor trend that is likely due to chance
because of the large number of tumor types/sites evaluated in nine rat studies
and also because the concurrent control tumor rate appears to be abnormally
low. The control rate of thyroid c cell tumors in female rats in the Lankas
study (the only other rat study for which I have complete tumor incidence
data) is 6/47, which is actually greater than the thyroid c-cell tumor rate seen
in the high dose group in the Stout and Ruecker study.

Dr. Portier concludes (page 11) that this single marginal trend is the only
definitive carcinogenic effect seen in the nine rat studies of glyphosate. In
my view, the overall scientific weight of evidence is overwhelming that this
marginal trend is due to chance and not to glyphosate.

Points 13 and 15: The EPA misuses historical control data.

Response - Ironically, it is Dr. Portier who misuses historical control data, at
least as it relates to renal tumors. The historical control database that he uses
for the Monsanto (1983) male mouse glyphosate study is inappropriate
because the kidneys from the historical control database were not as
carefully scrutinized as the kidneys from the Monsanto study, and thus the
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historical data will almost certainly under-report the tumor rate that would
be found with a more rigorous histopathology evaluation.

That is, the original kidney slides from the Monsanto study received an
additional level of review (revealing a tumor in the control group that had
been missed from the initial routine examination), and additional step
sections of the kidney were also taken and examined for possible tumors.
This additional rigor was not present in the historical control data, so using
this database as a reference point provides an “apples vs. oranges”
comparison, unless one re-evaluates the historical control data with the same
rigor used in the Monsanto glyphosate study, including additional kidney
step sections to look for additional tumors.

Point 14: “EPA relies on two-sided p-values for trend tests when one-sided
p-values would be more appropriate for identifying adverse effects” (a point
made multiple times in his report).

Response - Dr. Portier’s assertion that the EPA is using two-sided trend tests
for the statistical analysis of tumor trends is incorrect. The EPA report
clearly states: “In the current evaluation, the Cochran-Armitage Test for
Trend (Snedecor and Cochran, 1967; one-sided) was used.” I could find no
mention in the EPA report of any use of two-sided tests.

I suspect that Dr. Portier is trying to understand why his trend test p values
are so much more significant than the EPA’s when they are applying the
same trend test to the same tumor data. However, the answer is not one-
sided vs. two -sided tests; rather it is approximate vs. exact tests.

Dr. Portier (and IARC) used an approximate one-sided trend test, which can
greatly exaggerate the statistical significance of the trend, especially for rare
tumors, whereas I have confirmed (at least for the rare tumors) that the trend
test p values reported by the EPA are one-sided p values from an exact trend
test. There is no need to carry out flawed approximate tests that exaggerate
statistical significance, when exact tests are available.

The exaggerated statistical significance associated with the use of
approximate trend tests can be extreme. For example, in the 1983 Monsanto
male mouse study, even a single tumor in the high dose group would have
been sufficient for the approximate Cochran-Armitage trend test to indicate


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a statistically significant (p=0.045) trend (see Appendix A), whereas the
exact trend test p value is p = 50/198 or p = 0.25. That is a huge difference!

Some might argue that no one would ever use an approximate trend test
when there were only 1 or 2 total tumors across all the dosed and control
groups (and the exact trend test is so easy to calculate), and even if they did,
they would certainly recognize this error and discount the exaggerated
statistical significance associated with the approximate trend test.

They would be wrong.

Twice Dr. Portier applied the approximate trend test to a “two-tumor trend”
(i.e., 0/50 - 0/50 - 0/50 - 2/50) and then regarded the exaggerated p value
(p=0.008) to be both a biological and statistically significant response (renal
tumors in his Table 2 and hemangiosarcoma in his Table 6). However, the
exact trend test p value in both cases is

                 p = (50/200) x (49/199) or p = 0.062,

which is not even significant at the p<0.05 level.

The exaggerated statistical significance associated with Dr. Portier’s
approximate trend test is exacerbated by the unequal spacing of the doses.
This is illustrated below by a comparison of exact and approximate trend
tests applied to the two-tumor trend of 0/50 - 0/50 -0/50 - 2/50 for three
different dose metrics.

                           Trend test p values
Doses                     Exact      Approximate
0, 8, 9, 10               p=0.062     p=0.122
0, 1, 2, 3                p=0.062     p=0.029
0, 1, 2, 100              p=0.062     p=0.007

This comparison illustrates another serious flaw associated with the
approximate trend test used by Dr. Portier and IARC when applied to rare
tumors. Under the null hypothesis of no treatment effect, the probabilities
associated with the possible distributions of tumors across groups should not
depend upon the doses used (which are assumed under the null hypothesis to
have no effect on tumor incidence). The actual doses are relevant to the
ranking of the possible distributions of tumors regarding a possible treatment
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effect, but the doses should have no influence on the actual probabilities of
the various tumor distributions under the null hypothesis. This explains why
the exact p values are the same in the example above, regardless of dose.
Note, however, that the approximate trend test p values in this example
depend upon the dose metric and vary by a factor of nearly 20.

Another example: the EPA Cochran-Armitage trend test for the Monsanto
kidney tumor data (1/49, 0/49, 1/50, 3/50) indicates a non-significant trend
(p=0.065; see EPA’s Table 4.12), whereas Dr. Portier’s (and IARC’s) trend
test analysis of the same data indicates a significant trend (p=0.03; see his
Table 2). Dr. Portier incorrectly asserts that this is because the EPA is using
a two-sided test. However, the real reason is that the EPA is using an exact
trend test, while Dr. Portier and IARC are using an approximate test.

Incidentally, if a dose metric of equally spaced doses had been used (which
would be reasonable, since the doses are approximately equally spaced on a
log scale), then the trend in kidney tumors noted above would not be
significant (p=0.082) even by Dr. Portier’s flawed approximate trend test.

Finally, the Pathology Working Group (PWG), who examined carefully the
kidney tumors in the 1983 Monsanto male mouse study “firmly” and
“unanimously”, agreed that “the incidences of renal tubular-cell neoplasms
in this study are not compound related.”

The trend test p values for the kidney tumor rates in the other studies
reported by Dr. Portier are also exaggerated, as is demonstrated below.

Year of study      Kidney tumor rates      Cochran-Armitage trend test p values
                                                Approximate1 Exact
1983               1/49 - 0/49 - 1/50 - 3/50        0.03       0.065
1997               0/50 - 0/50 - 0/50 - 2/50       0.008       0.062
2001               0/49 - 0/49 - 1/50 - 2/50        0.04       0.063
1
    as reported by Dr. Portier in his Table 2

Note that none of these trends are statistically significant at the p<0.05 level
when an exact trend test is used. In fact, it could be argued that the most
significant trend for the kidney tumor data is the decreasing trend in kidney
tumor incidence seen in the 1993 Atkinson study: 2/50 - 2/50 - 0/50 - 0/50.
By a one-sided exact trend test that evaluates deceases in tumor incidence,
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this decrease is significant: p=0.042. By a one-sided exact trend test that
evaluates increases in tumor incidence, the p value is 0.98.

One of the most significant trends seen in all of the glyphosate studies is the
increasing trend in hemangiosarcomas in male mice in the 1993 Atkinson
study. Dr. Portier and the EPA disagree regarding the denominators for the
tumor rates (compare EPA’s Table 4.14 with Dr. Portier’s Table 6,) but to
illustrate the exaggerated significance of Dr. Porter’s p value, I will assume
that his tumor rates are correct: 0/50 - 0/50 - 0/50 - 4/50. It is very easy to
calculate the exact trend test p value for this distribution of tumors. It is

 P = (50 x 49 x 48 x 47)/(200 x 199 x 198 x 197) or p=0.004

In his Table 6, Dr. Portier reports the p value for this trend to be p=0.0004,
which exaggerates by a factor of 10 the exact p value for this trend!

Dr. Portier’s statistical analysis also misuses the (survival-adjusted) poly-3
test, a test which he himself developed. For example, in the last column of
his Tables 2, 4, and 6, he reports the results of two trend tests, one a
Cochran-Armitage trend test based on the observed tumor rates, and the
other supposedly a poly-3 trend test based on the poly-3 tumor rates.

However, this is very misleading. Application of the poly-3 test requires
individual animal survival and tumor data. Since Dr. Portier almost
certainly did not have this information, he could not carry out a meaningful
poly-3 test. Instead, his “poly-3 test” for the 24 month mouse studies is
apparently nothing more than a repeat of the Cochran-Armitage trend test
applied to the observed tumor rates. This is confirmed by the fact that the p
values for the unadjusted and poly-3 adjusted tumor trends are identical for
all the 24 month studies reported in Dr. Portier’s Tables 2, 4, and 6. This is
also confirmed by the fact that the graphs of his “poly-3 rates” from the 24
month studies (see http://eomsociety.org/images/PDF/PortierOLII.pdf) are
clearly the observed tumor rates. Thus, for the 24 month studies his “poly-3
tests” make no adjustment for survival at all.

For the 18 month studies, Dr. Portier’s “poly-3 tumor rates” are nothing
more than the observed overall tumor rates extrapolated to 24 months by a
poly-3 adjustment that erroneously assumes that all tumor-free animals in
the 18 month study survived until the end of the study. Thus, this “Portier
extrapolation tumor rate” has little scientific relevance, since many animals
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died before 18 months, and their survival times are not taken into account, as
they must be in the calculation of an appropriate poly-3 tumor rate. This
matter is discussed more fully in Appendix B.

Points 16-18: Dr. Portier opines (Point 18) that some of the 15 studies
considered by the EPA should be excluded, and that the EPA analysis should
have included some positive results that he provided to them.

Response: I leave that judgment to others. My primary analysis will be
based on the15 studies considered relevant by the EPA, and the significant
tumor trends that they identify and report. However, in response to Dr.
Portier’s Points 19-21 below, I will use only the studies that he deems
adequate when evaluating the pooling of results across studies to illustrate
how his pooling (even when limited only to the studies that he deems to be
relevant) greatly exaggerates the statistical significance of the data.

Points 19-21: “EPA did not analyze the consistency across mouse studies on
the findings relating to renal tumors…, malignant lymphomas,…and
heamngiosarcomas [sic].”

Response - In my opinion, Dr. Portier’s statistical analysis, which pools
observed and extrapolated tumor rates from five 18 and 24 month studies,
involving different strains of mice with different tumor background rates,
pathology protocols and dosage regimens, spanning a period of nearly 30
years, and incorrectly assuming that in the 18 month studies all tumor-free
animals survived until the end of the study, is fatally flawed.

Dr. Portier carries out two trend test analyses for the pooled tumor data, and
the results are reported in the final column of Tables 3, 5, and 7. The first
apparently uses observed (“original”) tumor rates from both the 18 and 24
month studies together in a single trend test, which is inappropriate and is
the same “serious error” that he attributes to the EPA’s use of historical
control data. That is, one cannot sensibly use observed tumor rates from
both 18 and 24 month studies together in a single huge trend test analysis.

The second trend test analysis claims to use a poly-3 adjustment. However,
as noted above, Dr. Portier’s graphing of these “poly-3 tumor rates” (see
http://eomsociety.org/images/PDF/PortierOLII.pdf) makes it clear that this
trend test uses observed tumor rates from the 24 month studies and the


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fatally flawed “Portier extrapolation tumor rates” from the 18 month studies.
This too is inappropriate.

Another problem is Dr. Portier’s combining of dosed groups in order to have
a manageable number of dosed groups for a trend test. He condenses the 15
dosed groups to three: 15-310, 310-1500, and >1500 mg/kg/day (see
http://eomsociety.org/images/PDF/PortierOLII.pdf).         This pooling is
inappropriate, since it (for example) regards a dose of 15 mg/kg/day in an 18
month study Swiss Webster mouse study and a dose of 300 mg/kg/day in 24
month CD-1 mouse study as equivalent doses with regard to producing a
tumor effect. The pooling of dosed groups is also subjective, so a critic
could argue that the specific choice of how the dose groups were pooled was
done after the studies were over so as to maximize the significance of the
trend.

In summary, Dr. Portier pooled tumor rates from five disparate studies of
different study lengths, with different strains of mice that used different
pathology protocols and different doses (inappropriately combining dosed
groups), using an approximate trend test that exaggerates the statistical
significance of the trend.

Dr. Portier carried out two trend tests, one based on the observed tumor rates
in the 18 and 24 month studies (which is inappropriate) and the other based
on observed tumor rates in 24 month studies and the fatally flawed Portier
extrapolation tumor rates in 18 month studies, which is also inappropriate.
Proper poly-3 adjusted tumor rates were not used in either analysis. I
strongly recommend discounting all the pooled results Dr. Portier presents in
Tables 3, 5, and 7.

My recommendations for evaluating the glyphosate rodent cancer data is
given in the following section.

   IV.    My own evaluation of the glyphosate rodent cancer data

Any global assessment of the carcinogenic potential of glyphosate in the
rodent cancer bioassays must recognize the fact that when multiple rodent
carcinogenicity studies are carried out on a specific test agent, it is inevitable
that some statistically significant (p<0.05) increasing trends in tumor
incidence will be found. Some could be due to chance; others could be
reflecting real carcinogenic effects. When making an overall weight of
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evidence decision on this matter, the following three questions should be
asked (and answered):

(1) Does the overall frequency of these significant trends exceed what would
be expected by chance alone?

(2) Regardless, is there a consistency of target sites across the studies that
show significant trends?

(3) Regardless, are there one or more tumor increases that are so strong
statistically (e.g., p<0.0001) that it would be extremely unlikely that such
responses could be a chance occurrence?

The EPA (2016) report gives 11 statistically significant (p<0.05) tumor
trends for the glyphosate mouse and rat studies, with the single strongest
trend being p=0.002 (see Tables 4.1, 4.4, 4.7 (2), 4.9, 4.10 (2), 4.14, 4.15,
4.16, and 4.17). How likely would it be to find this many significant
increasing trends in tumor incidence occurring by chance? Answering this
question requires knowledge of (1) how many studies were evaluated by the
EPA; and (2) how many trend tests were made within each study.

The EPA evaluated the results from 9 rat studies and 6 mouse studies (males
and females evaluated separately). Using tumor incidence data provided to
me from four representative glyphosate studies (the Monsanto and Sugimoto
mouse studies; the Lankas and Stout and Reucker rat studies), I determined
how many tumor types (and tumor combinations) occurred in a sufficient
number of animals to permit a meaningful application of a trend test (i.e.,
occurred in at least three animals). These are summarized in Appendix C
for mice and in Appendix D for rats. These data indicate that the numbers of
meaningful trend tests are approximately 10.5 for male mice, 15 for female
mice, 21.5 for male rats, and 25.5 for female rats.

Assuming that these data are representative of the other glyphosate studies (I
have confirmed that these values are very similar to the number of trend tests
carried out for these sex/species groups in recent NTP rodent carcinogenicity
studies), then the total number of trend tests carried out for the 15 glyphosate
rat and mouse studies was approximately {(9 x [21.5+25.5]) + (6 x [10.5 +
15])} or 576, and the number of significant (p<0.05) trends expected by
chance is approximately 576 x 0.05 or 28.8.


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This expected number of significant (p<0.05) trends is actually much greater
than the 11 significant trends given in the 2016 EPA report. Thus, even if
some of the glyphosate studies are considered inadequate, as opined by Dr.
Portier, and/or if additional positive trend tests are added in to what was
actually observed, there is no evidence that the number of significant tumor
trends found in these glyphosate studies exceeds chance expectation.

To answer the second question posed above, I focused my statistical analysis
on the number of tumor sites/types in each study that could be meaningfully
evaluated by a trend test, rather than on the actual number of trend tests. For
example, in a given study, a specific target site (e.g., liver) could have three
trend tests applied: adenoma, carcinoma, and adenoma or carcinoma
combined). When this occurred, the trend test p value for the tumor
combination was considered the “definitive” p value for that site, and the site
was counted only once, not three times.

I found that there were seven instances in which significant (p<0.05)
carcinogenic trends were observed for specific cancer sites/types in the
fifteen glyphosate studies. Interestingly, they each occurred in a separate
study, and are summarized below.

Study             Sex-species              Organ site or cancer type

Lankis           Male Rat                  Testis
Wood             Female Rat                Mammary gland
Stout            Female Rat                Thyroid gland
Brammer          Male Rat                  Liver
Sugimoto         Female mouse              Hemangioma
Wood             Male mouse                Malignant Lymphoma
Atkinson         Male mouse                Hemangiosarcoma

Using the data in Appendices C and D, we can count the total number of
tumor sites/types that can be meaningfully evaluated for trends in the four
representative glyphosate studies and use these values (which averaged 15.5
for mice and 28 for rats) to estimate the total number of tumor site/types that
could be meaningfully evaluated by trend tests in all 15 glyphosate studies.

This number of tumor sites/types [namely, (15.5 x 6) + (28 x 9) or 345] is
considerably less than the estimated number of actual trend tests given above
(576). Even so, the number of tumor sites/types that would be expected to
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show significant (p<0.05) trends by chance alone (0.05 x 345 or 17.25) is
still far in excess of what was actually observed (7).

Note that none of the seven significant (p<0.05) site-specific tumor trends
were replicated in other studies. In addition to this lack of consistency
regarding target site, note that kidney tumors do not even appear on this list,
since by an exact trend test, there were no significant (p<0.05) increasing
trends in kidney tumor incidences in any of the studies evaluated by the EPA,
although there was (arguably) a significant (p<0.05) decreasing trend in
kidney tumor incidence in one of the studies, as noted above.

To answer the third question posed above, I note that even the most
significant trend reported by the EPA (p=0.002) is not an unusual finding,
since this is similar to chance expectation of 1.15 (576 x 0.002).

Thus, the answers to the three questions posed above are No, No, and No.
This is summarized in the table below

Table 1 - Summary of the estimated number of tumor incidence trend tests
carried out in the 15 glyphosate studies evaluated by the EPA and their
comparison to chance expectation

                           Estimated        Significant (p<0.05) trends
                           Number             Expected Observed

All Trend tests               576                28.8        11

Trend tests for              345                17.25         7
unique tumor sites/types

Strongest trend (p=0.002)        1                1.15         1

Finally, we can use the data in Appendices C and D to estimate the number
of specific sites/types of cancer that in theory could show possible
carcinogenic effects when pooled over studies. This (conservative) estimate
is 61 possible carcinogenic effects: 11 in male mice, 14 in female mice, 17
in male rats, and 19 in female rats. This is a conservative estimate, since the
other 7 rat studies and 4 mouse studies not included in Appendices C and D
could add additional cancer sites/types to this list.


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Thus, even if the three “pooled” cancer target sites identified by Dr. Portier’s
fatally flawed pooled analysis summarized in his Tables 3, 5, and 7 are
considered statistically significant (p<0.05) carcinogenic effects (and I
certainly do not), this would still be consistent with chance expectation (61
x 0.05 or 3.05).

Thus, for all measures given above, the frequency of “significant trends” is
consistent with or actually less than chance expectation.


    V. Summary and Conclusions

Summary: The available data provide strong evidence that the frequency of
significant increasing trends in tumor incidence across the various
glyphosate studies is consistent with chance expectation. Moreover, the
significant trends that were observed showed no consistency regarding the
target site or type of “carcinogenic effect” across studies. Even the strongest
tumor trend observed was consistent with chance expectation.

Furthermore, I strongly disagree with Dr. Portier’s statistical analysis and
conclusions for a number of reasons, the most important of which are

(1) He uses an approximate rather than an exact trend test, and his
approximate trend test (especially for rare tumors) greatly exaggerates the
significance of the trend, by as much as 10-fold.

(2) Dr. Portier’s misuses poly-3 tumor rates. His “poly-3 tumor rates” for
the 24 month studies are apparently nothing more than the overall observed
tumor rates – there is no survival adjustment at all. For the 18 month studies,
Dr. Portier’s “poly-3 tumor rates” are nothing more than the observed
overall tumor rates extrapolated to 24 months by a poly-3 adjustment that
erroneously assumes that all tumor-free animals in the 18 month study
survived until the end of the study. Any subsequent statistical analyses
based on these flawed “poly-3 tumor rates” have little or no scientific value.

 (3) For the rat data, Dr. Portier concludes that there is only one definitive
carcinogenic effect: an increase in thyroid c-cell tumors in female rats, an
increase that he considers a “strong, clear dose response”. However, I
strongly disagree with his characterization of this marginal (p=0.04) trend
(2/57, 2/60, 7/59, 6/55), and when one considers the large number of trend
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test carried out for the rat studies, and that the concurrent control tumor rate
in this one study was abnormally low, the only scientifically defensive
conclusion is that this marginal trend is due to chance, not to glyphosate.

(4) In mice, Dr. Portier’s pooling of observed and/or Portier extrapolation
tumor rates over five disparate studies, is inappropriate for a variety of
reasons as discussed in this report. Moreover, even if an appropriate
statistical analysis had found the three pooled tumor trends evaluated by Dr.
Portier in Tables 3, 5, and 7 to be statistically significant (p<0.05), the
frequency with which these significant pooled trends occurred would still be
consistent with chance expectation.

(5) Dr. Portier’s use of historical control data is flawed, and his claim that
the EPA used 2-sided tests to evaluate tumor trends is false.

Conclusion: Based on the data given to me, the evidence is very strong that
all of the statistically significant (p<0.05) increasing trends in tumor
incidence observed in the various glyphosate rodent cancer studies are due to
chance, not to glyphosate.




Appendix A: Application of the Cochran-Armitage trend test asymptotic
approximation to hypothetical glyphosate data showing a single kidney
tumor in the high dose group (i.e., 0/49 - 0/49 - 0/50 - 1/50)


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Let m = total number of tumors (1)
Let N = total number of animals (198)
Let di denote the ith dose (0, 161, 835, 4945 mg/kg/day)*
Let xi denote the number of tumors found at the ith dose (0-0-0-1)
Let ni denote the number of animals examined at the ith dose (49-49-50-50)

Then the large sample normal approximation to the Cochran Armitage trend
test statistic can be written (see Corcoran, C.D. and Mehta, C.R. (2002).
Exact level and power of permutation, bootstrap, and asymptotic tests of
trend. Journal of Applied Statistical Methods 1: 42-51.)

Z = (T-E) / SD, where
T = sum of dixi = 4945
E = (m/N) x [sum of dini ] = 1499.44
SD = square root of {[(m(N-m))/(N(N-1))] x Sum [(di – (E/m))2 ni]} or
SD = 2027.1

Z = (4945 – 1499.44) / 2027.1 = 1.70, p=0.045

*Doses reported by the EPA for this study (see Table 4.12). The doses used
by Dr. Portier are slightly different: 157, 814, and 4841 mg/kg/day; see his
Table 2, but yield basically the same result (Z=1.70; =0.045).

Thus, by the Cochran-Armitage large sample normal approximation, even a
single tumor can be considered a “statistically significant (p<0.05) trend”.
The exact p value for this “trend” is p = 50/198 or p=0.25, not p =0.045.

The exaggerated statistical significance of the approximate Cochran
Armitage trend test can be demonstrated in another way. Suppose that the
underlying control kidney tumor rate is in the 0.3% to 1% range. Using the
Monsanto doses given above, it is easy to show that for the approximate
Cochran Armitage trend test carried out at the nominal p<0.05 level, the
actual significance level is in the 9-11% range, depending upon the exact
background tumor rate (details available upon request). This exaggerated
statistical significance is unacceptable.

Appendix B: Dr. Portier’s misuse of poly-3 tumor rates

The principle of the poly-3 tumor rate is that an animal dying early in the
study has a lower risk of tumor development than an animal surviving until
                                    16
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the end of the study. The poly-3 method adjusts downward the denominator
of the observed tumor rate by not giving full weight to the tumor-free
animals that die early in the study.

Specifically, an animal surviving until the end of the study or an animal
dying with a tumor during the study is given full weight (n=1). A tumor-
free animal dying before the end of the study is given a “weight” of the
proportion of the full study that it survived raised to the third power. For
example, if a tumor-free animal survived half of the study, it would be
“down weighted” as n=(1/2)3 or n=0.125. The sum of all the n’s would then
be the denominator of the poly-3 adjusted tumor rate. Importantly,
calculation of a poly-3 tumor rate requires knowledge of each individual
animal’s survival time and tumor status.

Dr. Portier’s misuses poly-3 tumor rates in several ways. First of all, his
“poly-3 tumor rates” for the 24 month studies are nothing more than the
overall observed tumor rates – there is no survival adjustment at all!

For the 18 month studies, Dr. Portier adjusts the observed tumor rates, but
does it incorrectly. For example, when attempting to extrapolate what a
kidney tumor rate of 2/50 seen in the high dose group in the 1997 18 month
study might have been in a 24 month study, Dr. Portier states (page 15) “in
order to compare all 5 studies, we must use the Poly-3 adjustment to
extrapolate the 18 month studies to estimate what we think the cancer risk
would have looked like at 24 months”. He further states (page 16) “In the
1997 study [high dose male mouse group], 48 animals had no tumors at 18
months; the poly-3 adjustment reduces this to 20.25 [i.e., 48 (18/24)3],
leading to an incidence estimate of 2/22.25=9%” .

However, appropriate poly-3 tumor rate calculations must be based on the
time of death of each individual animal. Dr. Portier’s calculations given
above assume that all 48 tumor-free animals in the high dose male mouse
group in the 1997 study survived until the 18 month terminal sacrifice,
which was clearly not the case. Thus, in my view, these “Portier
extrapolation tumor rates” are fatally flawed.
Appendix C: Tumors occurring with sufficient frequency for a meaningful
trend test: two representative glyphosate mouse studies

                                                 Monsanto     Sugimoto
Site/type                                         M F          M F
                                    17
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Liver                                            3* 3*        3*   1
Lung                                             3* 3*       3*    3*
Kidney                                           1 -          -    -
Bone: Osteoma/osteosarcoma                        - -        1     -
Uterus/cervix: Leiomyoma/leiomyosarcoma           - 3*        -    3*
Uterus: Endometrial adenocarcinoma                - 1         -    -
Harderian gland: adenoma                         - 1          1     1
Adrenal gland: cortical adenoma                  1 -          -     -
Adrenal gland: Benign A cell tumor                - -        -      1
Testis: interstitial cell tumor                  1 -         -      -
Mammary gland: ductal adenocarcinoma               - 1       -       -
Mammary gland: adenoma/adenocarcinoma              - -       -       2#
Skeletal muscle: Rhabdomyosarcoma                 - -         -      1
Spleen: hemangioendothelioma                       - 1        -      -
All sites: Lymphosarcoma                          1 1        -      -
All sites: Malignant lymphoma                      -   -     1      1
All sites: Liposarcoma                            1  -       -      -
All sites: Granulocytic leukemia                   - 1       -       -
All sites: Hemangioma /hemangiosarcoma            - -        1       2^

Total                                           11      15   10     15

*benign, malignant, and benign and malignant combined

#adenocarcinoma and adenoma or adenocarcinoma combined; too few
adenomas for a meaningful trend test analysis

^hemangiomas and hemangiomas or hemangiosarcomas combined; too few
hemangiosarcomas for a meaningful trend test analysis




Appendix D: Tumors occurring with sufficient frequency for a meaningful
trend test: two representative glyphosate rat studies


                                               Lankas        Stout and
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                                                          Reucker
Site/type                                       M F        M F
Pituitary gland                                 3* 3*        1 2#
Liver                                           3* 3*        3* 3*
Pancreas (islet cell)                           2# 3*       2# 1
Thyroid gland: C-cell tumors                     2# 3*     3* 2#
Thyroid gland: Follicular cell tumors            1 1        2# 1
Parathyroid gland: adenoma                       -   -       1 1
Skin: Keratoacanthoma                             -  -      1 -
Skin: Squamous cell tumors                       -    -    3* -
Subcutaneous tissue: Fibroma/fibrosarcoma        3* -      2# 2#
Subcutaneous tissue: Fibrous histiocytoma        -   -      -   1
Adrenal gland: Pheochromocytoma                  1   1     1    1
Adrenal gland: Cortical tumors                   1   3*    1    3*
Brain: Glioma                                    1   -      -   -
Brain: Astrocytoma                              -      -    1 -
Kidney: Lipoma/Liposarcoma                      -     -    1 -
Thymus: Lymphoma/Lymphosarcoma                  -    -     -    1
Uterus: Adenoma                                  -   1      - -
Uterus: Polyp                                    -   1      -   1
Ovary: Granulosa cell tumor                       - 1        - 1
Testis interstitial cell tumor                    1 -      1    -
Mammary gland: Fibroadenoma                       -   1     -   1
Mammary gland: Adenoma/adenocarcinoma            -     3* -     3*
All sites : Lipoma                                1     -   -   1
All sites: Reticulum cell sarcoma                 1     1    - -
All sites: Malignant lymphoma                      -    1    -   -

Total                                            20     26   23   25

*benign, malignant, and benign and malignant combined

#benign and benign and malignant combined; too few malignant tumors for
a meaningful trend test analysis.

                          Addendum

                       by Joseph K. Haseman
                     J. K. Haseman Consulting
                        November 23, 2016
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Today I received comments from Dr. Robert Tarone (dated 10-27-16) who
expressed concerns regarding Dr. Portier’s statistical analysis of the
glyphosate mouse data, as reported in a 10-4-16 memo. I also received a
copy of Dr. Portier’s response to these concerns, dated 11-16-16. I have the
following response to both Drs. Portier and Tarone.

Dr. Tarone’s primary criticisms echoed one of my own concerns (made
independently) that Dr. Portier’s use of an approximate rather than an exact
trend test greatly exaggerates the significance of the trend for rare tumors.
Importantly, Dr. Portier now concedes that “the approximate p-value can
overstate the significance of the findings”, although he attempts
(unsuccessfully in my view) to minimize the impact that this has on the
overall interpretation of the data.

In his latest response Dr. Portier calculates what he considers to be exact
trend test p values for the three major tumors of interest in mice. His own
calculations now confirm my conclusions given in the body of this report
that (i) the approximate trend test can exaggerate the statistical significance
of the trend by as much as 10 fold (hemangiosarcomas in the 1993 Atkinson
study); and (2) none of the three renal tumor trends that Dr. Portier
originally reported as significant (p<0.05) were actually significant at the
p<0.05 level by an exact trend test.

This second result is especially important. The kidney tumors are a
potentially important endpoint in the interpretation of the mouse study.
Rather than finding three significant (p<0.05) kidney tumor trends (one
highly significant (p<0.01) trend), Dr. Portier now concedes that none of
these three trends were actually significant (p<0.05). In fact, as noted by Dr.
Tarone (agreeing with my own calculations) the strongest trend for male
mouse kidney tumors ”is 0.042 in the direction of an inverse association.”
Had IARC realized all this at the time of their evaluation of glyphosate, it
might well have changed their overall conclusions regarding glyphosate’s
carcinogenic potential.

Dr. Portier’s “exact p values” are only “approximate” exact p values because
he needlessly (at least for the rare tumors) used a “permutation approach
where 20,000 random data sets with the same fixed number of total numbers
as the original data set” to estimate the exact p value, whereas it is trivial to
calculate the “exact” exact trend test p value for rare tumors.
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For example, for the 2001 Kumar study, the kidney tumor incidences were
0/49 – 0/49 – 1/50 – 2/50, and the exact trend test p value is simply

p=[(50 x 49 x 48)/(198 x 197 x 196)]+[(3 x 50 x 49 x 50)/(198 x 197 x 196)]

or p=0.063. Dr. Portier’s simulated “approximate” exact test p value for this
tumor trend is p=0.059.

For the 1997 Sugimoto study, the kidney tumor incidence was 0/50 – 0/50 –
0/50 – 2/50, and Dr. Portier states that “it is not possible with only 2 tumors
to get a p value smaller than the p=0.059 value with the exact test,” even
though he had previously reported this trend as being highly significant
(p=0.008). However, for this pattern of tumor incidence the exact test gives
a p value of p=(50 x 49) / (200 x 199) or p=0.062, not p=0.059, and Dr.
Portier incorrectly reports this p value to be p=0.061 in any case.

The admission by Dr. Portier that his approximate trend test can greatly
exaggerate the statistical significance of the trend is the only important
“new” result in the exchange between Drs. Portier and Tarone. Obviously, I
support Dr. Tarone’s position in this matter.

Nothing in Dr. Portier’s latest memo addresses the many other major flaws
in his statistical analysis that I laid out in the body of this report, most
importantly his miscalculation of meaningful poly-3 tumor rates and his
fatally flawed pooled analysis over studies that inappropriately pools tumor
rates and exaggerates the significance of the overall effect. In fact, Dr.
Portier’s latest calculations actually support my conclusion that the
“significant” tumor increases observed in the glyphosate rat and mouse
studies are all due to chance, not to glyphosate.




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Additional Comments of Christopher J. Portier, PhD.
USEPA (EPA-HQ-OPP-2016-0385-0094)
Glyphosate Issue Paper: Evaluation of Carcinogenic Potential
December 12, 2016

Disclaimer: This work was done with my own resources and on my own time. I have
received no reimbursement for any of these comments and no other party has
contributed to the drafting of these comments. These comments are solely my opinion
and my responsibility.

Dr. Joseph Haseman provided comments to the SAP critical of my analyses. I wish to
respond.

Major Points:

1. Dr. Haseman criticizes my use of the approximate p-value for the trend test. In my
response to Dr. Robert Tarone, I have addressed this issue in male mice by providing exact p-
values (calculated using a randomization test) for all of the tumors observed as well as
provided an analysis of the trends formally utilizing the historical controls cited by the EPA.

2. Dr. Haseman’s analysis of p-values across the fifteen studies is flawed because (1) some of
these studies are not valid tests of the compound as noted by the EFSA, EPA and others (6
valid rat studies, 5 valid mouse studies); (2) The approach does not account for rare tumors
and (3) the approach does not address the issue of the same tumor site appearing in multiple
studies in the male mouse. For example, using his methods for mice alone, you would (1)
expect 3.8 positive findings (15.5 tumors/sites x 5 studies x 0.05) and you get 3 using the
exact test and 7 using the historical control evaluation; with a significance of 0.002 or less,
you would expect 0.115 positive findings and you get 1 from EPA and 1 in the historical
control analysis (males only) while for a p-value below 0.02, you expect 1.15 positive
findings and get 4 by the exact test and 6 by the historical control test (only males, see
spreadsheet from my response to Dr. Tarone); (3) for the pooled analysis, you would expect
25*0.05=1.25 significant at p=0.05 and my analysis shows 3. Thus, if you ask the question, is
glyphosate positive in mice, the answer is yes, whereas the answer in rats is probably no.

3. Dr. Haseman’s dismissal of the tumor findings in mice fails to clarify the picture. For
tumors with low historical control rates, the exact test has very limited power and it is where
historical controls should be used to calculate the p-value for the response. For example, the
p-value of 0.062 calculated by Dr. Haseman and approximated by me as 0.059 for the 2 renal
tumors in the high dose of the Kumar et al. study is the smallest p-value possible under the
exact test as this is the most extreme case for a marginal of two tumors (a condition of the
exact test); using historical control data yields a p-value of 0.011. The historical control data
set I used here was that cited by EPA. The IARC used different historical controls but for
simplicity in my presentation, I used the historical controls cited by EPA. For this rare
tumor, the p-value calculated by the historical controls is p<0.01 in 3 studies. This is even
more obvious for hemangiosarcomas where the historical control base cited by the EPA
shows no tumors in 26 control groups for 18 months yet the Sugimoto study saw 2 tumors in
the high dose group; using combined 18 month and 24 month historical control values, I still
get a p-value of 0.021. If nothing else, the SAP should request that EPA use a formal test of
significance of historical controls in these evaluations.
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4. The EPA draft document compares the results from the 18 month mouse studies with those
of the 24 month studies and concludes they are inconsistent. The analysis presented with the
poly-3 adjusted pooled data is an attempt to address this question rigorously; if the studies
were indeed inconsistent, then any trend in the data should be removed by the pooled
analysis. Dr. Haseman’s comments fail to address these arguments by the EPA and provide
no alternative method to assess the question of consistency. I believe this analysis is
appropriate.

Minor Points:

1. The Poly-3 adjustments are used appropriately. EPA based their analysis on total number
of animals under study and did not provide the actual survival for the animals. The analysis
was simply an attempt to make the 18-month studies match the 24-month studies. There was
no attempt to hide the fact that the 24-month study denominators would not change. This is a
minor point since studies with and without the Poly-3 adjustment gave effectively the same
results.

2. The randomization test (20,00 random samples) I used to estimate the exact p-value for the
trend test is sufficient to give reasonable p-values. While it is simple to calculate p-values for
responses at the extreme (e.g. only 2 tumors in the highest dose group), this is much more
difficult for the pooled data and I did not have access to a program to calculate truly exact p-
values. The randomization test was applied to all of my exact analyses.

3. Dr. Haseman is not actually reviewing the EPA evaluation but focuses only on my
analyses. Both he and Dr. Tarone correctly point out the flaws in using the approximate
trend test p-value. What he fails to see are the limitations of any of these tests for rare tumors
and that using historical control data, the last 2 columns in the spreadsheet for my response to
Dr. Tarone, shows these limitations. He does not address any of the additional concerns I
have about missed data, inappropriate use of historical control data, inappropriate exclusion
of the high-dose data, etc. in my original comments on the EPA evaluation.

4. I did not play a significant role in the IARC review; I was an invited specialist. In that
capacity, I did not write any of the report or participate in the final discussion to list
glyphosate as a "Probable Human Carcinogen”. The positive findings for renal tubule
adenomas (0/49, 0/49, 1/50, 3/50) in the Knezevich and Hogan study used by the IARC
Working Group was based upon the approximate p-value and historical control data but is
also significant under the exact test (EPA combines adenomas and carcinomas which resulted
in 1 tumor in the control group and an exact p-value of 0.062 compared to the IARC Working
Group p-value for adenomas alone of 0.02 against the concurrent control and <0.001 against
the historical controls). The finding of a significant effect on hemangiosarcomas in the
Atkinson et al. study is significant by the exact test (p=0.004) and the test against historical
controls (p<0.001). The IARC could only evaluate 2 of the mouse studies since there was
insufficient documentation available for the remaining studies.
